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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                       )
    In re:                                                             ) Chapter 11
                                                                       )
    CINEWORLD GROUP PLC, et al.,1                                      ) Case No. 22-90168 (MI)
                                                                       )
                                       Debtors.                        ) (Jointly Administered)
                                                                       )

                DEBTORS’ APPLICATION FOR ENTRY OF AN ORDER
              AUTHORIZING THE RETENTION AND EMPLOYMENT OF
         ERNST & YOUNG LLP AS TAX SERVICES PROVIDER TO THE DEBTORS


             If you object to the relief requested, you must respond in writing. Unless
             otherwise directed by the Court, you must file your response electronically at
             https://ecf.txsb.uscourts.gov/ within twenty-one days from the date this motion
             was filed. If you do not have electronic filing privileges, you must file a written
             objection that is actually received by the clerk within twenty-one days from
             the date this application was filed. Otherwise, the Court may treat the pleading
             as unopposed and grant the relief requested.

             The above-captioned debtors and debtors-in-possession (collectively, the “Debtors”) state

as follows in support of this application (this “Application”):2

                                                  Relief Requested

             1.     The Debtors seek entry of an order, substantially in the form attached hereto

(the “Order”), authorizing the retention and employment of Ernst & Young LLP (“EY LLP”) as


1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.ra.kroll.com/cineworld. The location of Debtor Cineworld Group plc’s
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 8th Floor Vantage
      London, Great West Road, Brentford, England, TW8 9AG, United Kingdom.
2     The facts and circumstances supporting this Application are set forth in (a) the Declaration of Israel Greidinger,
      Deputy Chief Executive Officer of Cineworld Group plc, in Support of the Debtors’ Chapter 11 Petitions [Docket
      No. 19] (the “Greidinger First Day Declaration”) and (b) the Declaration of James A. Mesterharm, Chief
      Restructuring Officer of Cineworld Group plc,, in Support of the Debtors’ Chapter 11 Petitions and First Day
      Motions [Docket No. 80] (together with the Greidinger First Day Declaration, the “First Day Declarations”), each
      incorporated by reference herein. Capitalized terms used but not otherwise defined herein shall have the meanings
      ascribed to them in the First Day Declarations or the Engagement Letters (as defined herein), as applicable.
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the Debtors’ tax services provider, in accordance with the terms and conditions set forth in that

certain agreement including that certain engagement letter between EY LLP and the Debtors,

effective as of September 7, 2022 (as may be amended, supplemented, or modified from time to

time, the “Master Services Agreement”), a copy of which is attached as Exhibit A to the Order,

and those certain statements of work pursuant to the Master Services Agreement, including the:

(a) Statement of Work - Bankruptcy Tax Advisory Services, dated September 21, 2022, (the

“Advisory SOW”); (b) Statement of Work – Tax Compliance Services #1 dated September 21,

2022 (the “First Tax Compliance SOW”); (c) Statement of Work – Tax Compliance Services #2,

dated September 21, 2022 (the “Second Tax Compliance SOW”); and, together with (a) through

(c) above, the “SOWs,” copies of which are attached to the Order as Exhibit A-1 through Exhibit

A-3, and together with the Master Services Agreement, the “Engagement Letters”). For the

reasons set forth below, the relief requested herein is in the best interest of the Debtors, their

estates, creditors, stakeholders, and other parties in interest and therefore should be granted.

       2.      In support of this Application, the Debtors rely upon, and incorporate by reference

herein, the Declaration of Molly Ericson in Support of Debtors’ Application for Entry of an Order

Authorizing the Retention and Employment of Ernst & Young LLP as Tax Services Provider to the

Debtors (the “Ericson Declaration”), which is attached hereto as Exhibit 1 and incorporated by

reference herein.



                                     Jurisdiction and Venue

       3.      The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core

proceeding pursuant to 28 U.S.C. § 157(b). The Debtors confirm their consent to the entry of a

final order by the Court.
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       4.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       5.      The bases for the relief requested herein are sections 327(a), 328(a), and 1107 of

title 11 of the United States Code (the “Bankruptcy Code”), rules 2014(a) and 2016 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 2014-1 and 2016-1 of the

Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”).

                                            Background

       6.      Cineworld Group plc (“Cineworld,” and together with its Debtor and non-Debtor

affiliates, the “Group”) is unwavering in its vision to be “The Best Place to Watch a Movie.” As

the second-largest cinema chain in the world by number of screens, the Group brings its vision to

life each day in modern cinemas with cutting-edge technology. Headquartered in Brentford,

United Kingdom, the London Stock Exchange-listed company, operating under five major brands,

employs a global workforce of approximately 30,000 employees and operates 747 locations with

9,139 screens in 10 countries.

       7.      On September 7, 2022 (the “Petition Date”), each Debtor filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code. A detailed description of the Debtors, their

businesses, and the facts and circumstances supporting the Debtors’ chapter 11 cases are set forth

in greater detail in the First Day Declarations.

       8.      On the Petition Date, the Court entered an order authorizing the joint administration

and procedural consolidation of these chapter 11 cases pursuant to Bankruptcy Rule 1015(b) and

Bankruptcy Local Rule 1015-1 [Docket No. 32]. The Debtors are operating their businesses and

managing their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. On September 23, 2022, the Office of the United States Trustee for the Southern

District of Texas (the “U.S. Trustee”) appointed an official committee of unsecured creditors (the



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“Committee”) [Docket No. 419]. No request for the appointment of a trustee or examiner has been

made in these chapter 11 cases.

        9.       The terms of this Application, as well as the terms of the Order entered with respect

to this Application, shall apply to any and all affiliates of the Debtors that have not yet filed a

voluntary petition for relief under chapter 11 of the Bankruptcy Code as of the Petition Date, but

which subsequently file such a petition during the pendency of these chapter 11 cases.

                                             Retention of EY LLP

        10.      Over the course of its relationship with the Debtors, EY LLP has developed the

necessary background to assist the Debtors in connection with the Engagement Letters. EY LLP

has also been retained in numerous prominent chapter 11 proceedings. EY LLP’s qualifications

are more fully set forth in the Ericson Declaration.

        11.      EY LLP is a member of Ernst & Young Global Limited (“EYGL”), which

encompasses a global network of independent professional services practices conducted by

separate legal entities throughout the world.3 The Debtors have determined that EY LLP has the

resources and experience necessary to perform tax related services in these chapter 11 cases.

        12.      The Debtors seek to retain EY LLP because of its existing advisory relationship

with the Debtors and EY LLP’s experience and extensive knowledge of restructuring, accounting,

tax, advisory, and related issues.            EY LLP is already familiar with the relevant financial

information and other data maintained by the Debtors and is qualified and well-positioned to

provide the services contemplated herein to the Debtors in an efficient and cost-effective manner.




3   Such legal entities are members of EYGL, a company incorporated under the laws of England and Wales and
    limited by guarantee, with no shareholders and no capital. The member firms of EYGL have agreed to operate
    certain of their professional services in accordance with agreed standards, but remain separate legal entities with
    each member firm being locally owned and managed.


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EY LLP has considerable experience providing tax and financial advisory services to businesses

in a chapter 11 environment and has been employed in numerous cases under the Bankruptcy

Code. Accordingly, the Debtors believe that EY LLP’s employment is in the best interests of the

Debtors and their estates, creditors, stakeholders, and other parties in interest.

                                          Services to Be Provided

        13.      Subject to the Court’s approval, the Debtors anticipate that EY LLP will perform

the following services (collectively, the “Services”)4 pursuant to the Engagement Letters:

    A. Advisory Services

                   a. The scope of the bankruptcy tax advisory services (the “Advisory Services”)
                      will consist of developing an understanding of the tax implications associated
                      with the Debtors’ chapter 11 filing.

                   b. EY LLP will advise the Debtors in developing an understanding of the tax
                      issues and options related to the chapter 11 filing, taking into account the
                      Debtors’ specific facts and circumstances, for U.S. federal and state and local
                      tax purposes.

                   c. EY LLP will advise on the U.S. federal and state and local income tax
                      consequences of proposed plans of reorganization, including, if necessary,
                      assisting in the preparation of IRS ruling requests regarding the tax
                      consequences of alternative reorganization structures and tax opinions.

                   d. EY LLP will understand and advise on the U.S. tax implications of
                      reorganization and/or restructuring alternatives the Debtors are evaluating
                      with existing creditors that may result in a change in the equity, capitalization,
                      and/or ownership of the shares of the Debtors and their assets. As requested,
                      EY LLP will prepare projections of future taxable income reflecting the
                      restructuring alternatives.

                   e. EY LLP will gather information, prepare calculations (“Section 382
                      Calculations”) and apply the appropriate federal and state and local tax law
                      to historic information regarding changes in the ownership of the Debtors’
                      stock to calculate whether any of the shifts in stock ownership may have
                      caused an ownership change that will restrict the use of tax attributes (such
                      as net operating loss, capital loss, credit carry forwards, and built in losses)

4   To the extent that any summary set forth herein differs from the terms of the Engagement Letters, the terms of
    the Engagement Letters shall control. Capitalized terms used but not defined in this section shall have the
    meaning assigned to them in the applicable Engagement Letters.


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          and the amount of any such limitation.

       f. EY LLP will prepare calculations and apply the appropriate U.S. federal and
          state and local tax law to determine the amount of tax attribute reduction
          related to debt cancellation income and modeling of tax consequences of such
          reduction.

       g. EY LLP will prepare tax basis balance sheets and computations of stock basis
          as of certain relevant dates for purposes of analyzing the tax consequences of
          alternative reorganization structures.

       h. EY LLP will analyze U.S. federal state and local tax treatment of:

               i. the costs and fees incurred by the Debtors in connection with the
                  bankruptcy proceedings, including tax return disclosure and
                  presentation; and

              ii. interest and financing costs related to debt subject to automatic stay,
                  and new debt incurred as the Debtors emerge from bankruptcy,
                  including tax return disclosure and presentation.

       i. EY LLP will analyze U.S. federal and state and local tax consequences of:

               i. restructuring and rationalization of intercompany accounts, and upon
                  written request, will analyze tax impacts of transfer pricing and
                  related cash management;

              ii. restructuring in the U.S. or internationally during bankruptcy,
                  including tax return disclosure and presentation;

             iii. potential bad debt and worthless stock deductions, including tax
                  return disclosure presentation; and

              iv. employee benefit plans, as requested in writing.

       j. EY LLP will advise Debtor personnel on the bankruptcy tax process and
          procedure lifecycle, the typical tax issues, options, and opportunities related
          to a chapter 11 filing, the typical impact of a chapter 11 filing on a corporate
          tax department’s operations, and leading practices for addressing such impact
          areas while operating in bankruptcy and the post-emergence period.

       k. As requested by the Debtors, EY LLP will assist with various tax, compliance
          and audit issues arising in the ordinary course of business while in
          bankruptcy, including but not limited to: IRS and/or state and local income
          and indirect tax audit defense, and compliance questions, notices or issues
          related (but not limited) to: federal, state, and local income/franchise tax,
          sales and use tax, property tax, employment tax, credit and incentive
          agreements, and unclaimed property.

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           l. If applicable, EY LLP will advise on potential alternatives and elections
              relative to the CARES Act and the Tax Cuts and Jobs Act.

           m. EY LLP will advise and/or assist, as requested and as permissible, with
              determining the validity and amount of bankruptcy tax claims or assessments,
              including but not limited to the following types of taxes: income taxes,
              franchise taxes, sales taxes, use taxes, employment taxes, property taxes,
              severance taxes, excise taxes, credit and incentive agreements, other
              miscellaneous taxes or regulatory assessments and fees, and unclaimed
              property.

           n. As requested by the Debtors, EY LLP will scope, assist, and advise on the
              potential for seeking cash tax refunds, including but not limited to the
              following types of taxes: income taxes, franchise taxes, sales taxes, use taxes,
              employment taxes, property taxes, tax credit and incentive agreements and
              unclaimed property.

           o. EY LLP will provide documentation, as appropriate or necessary, of tax
              matters, of tax analysis, opinions, recommendations, conclusions and
              correspondence for any proposed restructuring alternative, bankruptcy tax
              issue, or other tax matter described about. The Debtors will be responsible
              for all accounting and management decisions.

           p. EY LLP will assist with tax compliance issues arising in the ordinary course
              of business while in bankruptcy, including but limited to identifying proactive
              tax return disclosures and bankruptcy-specific cover letters or requests, and
              addressing notices received in bankruptcy context.

           q. As requested, EY LLP will provide support and tax analysis with respect to
              other routine federal, state and local income tax and non-income matters
              related to the ongoing operations of the Debtors that are not covered by a
              separate SOW and do not involve any significant tax planning or transactions
              outside the transactions anticipated as part of the bankruptcy.

B. Tax Compliance Services

           a. EY LLP will prepare an Amended U.S. Form 1120 (“U.S. Corporate Income
              Tax Return”) for Crown Intermediate HoldCo and its subsidiaries for the tax
              year ended December 31, 2019.

           b. EY LLP will prepare amended prior year corporate state tax returns for those
              entities and years listed on Appendix A of the First Tax Compliance SOW.

           c. EY LLP will prepare a U.S. Corporate Income Tax Return for Crown Finance
              US, Inc. and its subsidiaries for the tax year ended December 31, 2021.

           d. EY LLP will prepare a U.S. Corporate Income Tax Return for R&S Theatres,
              Inc. for the tax year ended December 31, 2021.
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                 e. EY LLP will prepare territorial and state and local tax returns for the entities
                    and jurisdictions listed in Appendix A of the Second Tax Compliance SOW
                    for the tax year ended December 31, 2021.

       14.     Should the Debtors request EY LLP to perform additional services not

contemplated by the Engagement Letters, the Debtors and EY LLP will mutually agree upon such

services and fees for those in writing, in advance. The Debtors shall file notice of any proposed

additional services and any underlying engagement agreement with the Court and serve such notice

on the U.S. Trustee, counsel for the Committee, and any party requesting notice under Bankruptcy

Rule 2002. If no such party files an objection within fourteen days of the Debtors filing such

notice, such additional services and any underlying engagement agreement may be approved by

the Court by further order without further notice or hearing.

                                  Professional Compensation

       15.     Pursuant to section 328(a) of the Bankruptcy Code, the Debtors request that the

Court approve the retention of EY LLP on the fee terms and at the rates expressed in the

Engagement Letters. The following is a brief summary of some of the more salient fee terms of

the Engagement Letters, and the Engagement Letters set forth all of the compensation and expense

reimbursement provisions that shall apply thereunder.

       16.     Provision of the Advisory Services pursuant to the Advisory SOW will be billed

based on EY LLP’s hourly rates for such Services, which currently are as follows:

                Title                                       Hourly Rate (USD)
                Partner/Principal                                $1,250
                Managing Director                                $1,150
                Senior Manager                                    $950
                Manager                                           $850
                Senior                                            $600
                Staff                                             $400

       17.     Provision of the Services pursuant to the First Tax Compliance SOW will be

provided for a fixed fee of $75,000.
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       18.     Provision of the Services pursuant to the Second Tax Compliance SOW will be

provided for a fixed fee of $195,000.

       19.     EY LLP’s fees are exclusive of taxes or similar charges, as well as customs, duties,

or tariffs imposed in respect of the Services, all of which the Debtors shall pay (other than taxes

imposed on EY LLP’s income generally).

       20.     In addition to the fees set forth above, the Debtors shall reimburse EY LLP for any

direct expenses incurred in connection with EY LLP’s retention in these chapter 11 cases and the

performance of the Services set forth in the Engagement Letters including any potential

value-added taxes (“VAT”), sales taxes, and other indirect taxes incurred in connection with the

delivery of the Services. EY LLP’s direct expenses shall include, but not be limited to, reasonable

and customary out-of-pocket expenses for items such as travel, meals, accommodations, and other

expenses (including any fees or reasonable expenses of EY LLP’s legal counsel) related to this

engagement. EY LLP will charge the Debtors for these direct expenses at EY LLP’s cost.

       21.     EY LLP will apply to the Court for allowance of compensation for Services

rendered and reimbursement of expenses incurred in connection with these chapter 11 cases,

subject to the Court’s approval and in compliance with applicable provisions of the Bankruptcy

Code, the Bankruptcy Rules, the Bankruptcy Local Rules, and any orders entered in these chapter

11 cases regarding professional compensation and reimbursement of expenses.

       22.     EY LLP will maintain records in support of any actual, necessary costs and

expenses incurred in connection with the rendering of its services in these chapter 11 cases. EY

LLP will maintain records in compliance with the Bankruptcy Code, the Bankruptcy Rules, the

Bankruptcy Local Rules, or other applicable procedures and orders of the Court for all Services

performed under the Advisory SOW. However, because EY LLP’s compensation under the First


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Tax Compliance SOW and Second Tax Compliance SOW (the “Compliance SOWs”) is a fixed

fee, the Debtors request that EY LLP’s professionals only be required to maintain records (in

summary format) of the Services rendered for the Debtors under the Compliance SOWs, including

summary descriptions of those services, the approximate time expended in providing those

services (in half-hour increments), and the identity of the professionals who provided those

services. EY LLP will present such records to this Court in its fee applications.

       23.     The hourly rates and corresponding rate structure that EY LLP will use in these

chapter 11 cases (a) are the same that EY LLP uses in similar matters regardless of whether a fee

application is required and (b) reflect EY LLP’s normal and customary billing practices for

engagements of this complexity and magnitude. These rates and the rate structure reflect complex

matters that are typically national in scope and involve great complexity, high stakes, and severe

time pressures. The hourly rates vary with the experience and seniority of the individuals assigned.

The Debtors believe that these compensation arrangements are market-based and reasonable

considering EY LLP’s vast knowledge and experience.

       24.     The Debtors believe the Engagement Letters and the fees contemplated therein are

consistent with, and typical of compensation arrangements entered into by EY LLP and other

comparable firms in connection with the rendering of similar services under similar circumstances.

The terms and conditions in the Engagement Letters are reasonable, consistent with the market,

and designed to compensate EY LLP fairly for its work and to cover fixed and routine overhead

expenses.

                        Certain Provisions of the Engagement Letters

       25.     EY’s provision of Services to the Debtors is contingent upon this Court’s approval

of the terms and conditions set forth in the Engagement Letters.



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       26.     Included among the terms and conditions set forth in the Engagement Letters are

dispute resolution provisions substantially similar to the following:

               Any controversy or claim with respect to, in connection with, arising
               out of, or in any way related to this Agreement or the services
               provided hereunder (including any such matter involving any
               parent, subsidiary, affiliate, successor in interest or agent of the
               Client or its subsidiaries or of EY LLP) shall be brought in the Court
               or the applicable District Court (if such District Court withdraws the
               reference) and the parties to this Agreement, and any and all
               successors and assigns thereof, consent to the jurisdiction and venue
               of such court as the sole exclusive forum (unless such court does not
               have jurisdiction and venue of such claims or controversies) for the
               resolution of such claims, causes of action or lawsuits. The parties
               to this Agreement, and any all successors and assigns thereof,
               hereby waive trial by jury, such waiver being informed and freely
               made. If the Court or the District Court upon withdrawal of the
               reference, does not have or retain jurisdiction over the foregoing
               claims or controversies, the parties to this Agreement and any and
               all successors and assigns thereof, agree to submit first to
               nonbinding mediation; and, if mediation is not successful, then to
               binding arbitration, in accordance with the dispute resolution
               procedures set forth in the Exhibit 1 to these Terms and Conditions.
               Judgment on any arbitration award may be entered in any court
               having proper jurisdiction. The foregoing is binding upon the
               Client, EY LLP, and any all successors and assigns thereof.

       27.     The Engagement Letters may be terminated by EY LLP or the Debtors in

accordance with their terms. The Debtors or EY LLP may terminate the Engagement Letters at

any time in writing, but in any event the Engagement Letters will terminate upon the effective date

of the Debtors’ confirmed plan of reorganization, the liquidation of the Debtors’ assets under

chapter 11 or 7 of the Bankruptcy Code, or otherwise. Notwithstanding such termination,

however, the Debtors’ estates will remain obligated to pay all accrued fees and expenses as of the

effective date of such termination. Moreover, as detailed therein, certain other terms of the

Engagement Letters will continue (either indefinitely or for a specified period of time) following

termination.



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                                    EY LLP’s Disinterestedness

        28.     In connection with the proposed retention by the Debtors in these chapter 11 cases,

EY LLP received and reviewed a list of parties in interest (the “Parties in Interest”) from the

Debtors. To the extent that EY’s review of relationships with the Parties in Interest indicated that

EY has in the recent past, or currently has, a client relationship with the Parties in Interest in matters

unrelated to these chapter 11 cases, it is indicated in Schedule 1 attached to the Ericson Declaration.

        29.     To the best of EY LLP’s knowledge and except to the extent disclosed herein and

in the Ericson Declaration, EY LLP: (a) is a “disinterested person” within the meaning of

section 101(14) of the Bankruptcy Code; (b) does not hold or represent an interest adverse to the

Debtors’ estates; and (c) has no connection to the Debtors, their creditors, or their related parties.

To the extent EY LLP discovers any new relevant facts or relationships bearing on the matters

described herein during the period of EY LLP’s retention, EY LLP will promptly inform the Court

as required by Bankruptcy Rule 2014(a).

        30.     On or about August 18, 2022, EY LLP submitted an invoice to Debtor Regal

Cinemas, Inc. in the amount of $150,000 for bankruptcy tax advisory services (the “Retainer”).

On or about August 30, 2022, EY LLP received the Retainer payment from Debtor Regal Cinemas,

Inc. As of the Petition Date, the balance of the Retainer was $150,000. EY LLP shall apply

$122,553 from the Retainer toward fees and expense reimbursements for bankruptcy tax advisory

services that EY LLP provided to Debtor Regal Cinemas, Inc. between August 18, 2022 and the

Petition Date, and the remaining $27,447 from the Retainer to post-petition fees and expense

reimbursements that the Debtors are authorized to pay to EY LLP for bankruptcy tax advisory

services during these chapter 11 cases.

        31.      During the ninety days before the Petition Date, the Debtors paid approximately

$753,081.94 to EY LLP, of which $150,000 constituted the Retainer.
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        32.    For these reasons, to the best of the Debtors’ knowledge, information, and belief,

and based on the Ericson Declaration, none of EY LLP’s past or current engagements would or

appear to create an interest materially adverse to the interests of the Debtors, creditors, or equity

security holders in these chapter 11 cases. Therefore, EY LLP is disinterested and holds no

materially adverse interest to the Debtors’ estates.

                                    No Duplication of Services

        33.    The Debtors intend that the services of EY LLP will complement, and not duplicate,

the services rendered by any other professional retained in these chapter 11 cases. To the best of

the Debtors’ knowledge, EY LLP understands that the Debtors have retained, and may retain.

additional professionals during the term of the engagement and will work cooperatively with such

professionals to integrate any respective work conducted by the professionals on behalf of the

Debtors.

                                          Basis for Relief

        34.    The employment and retention of EY LLP under the terms described herein is

appropriate under sections 327(a) and 1107(b) of the Bankruptcy Code. Section 327(a) of the

Bankruptcy Code empowers the trustee, with the Court’s approval, to employ professionals “that

do not hold or represent an interest adverse to the estate, and that are disinterested persons, to

represent or assist the trustee in carrying out the trustee’s duties under this title.” 11 U.S.C.

§ 327(a). Section 101(14) of the Bankruptcy Code defines a “disinterested person” as a person

that:

               (a)     is not a creditor, an equity security holder, or an insider;

               (b)     is not and was not, within two years before the date of the filing of the
               petition, a director, officer, or employee of the debtor; and

               (c)    does not have an interest materially adverse to the interest of the estate or
               of any class of creditors or equity security holders, by reason of any direct or

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               indirect relationships to, connection with, or interest in, the debtor, or for any other
               reason.

11 U.S.C. § 101(14).

       35.     Further, section 1107(b) of the Bankruptcy Code provides that “a person is not

disqualified for employment under section 327 of this title by a debtor in possession solely because

of such person’s employment by or representation of the debtor before the commencement of the

case.” 11 U.S.C. § 1107(b). EY LLP’s prepetition relationship with the Debtors is therefore not

an impediment to EY LLP’s retention as the Debtors’ post-petition provider of tax and advisory

services.

       36.     Section 328(a) of the Bankruptcy Code authorizes the employment of a professional

person “on any reasonable terms and conditions of employment, including on a retainer . . . .”

11 U.S.C. § 328(a). The terms and conditions of EY LLP’s retention as described herein are

reasonable and in keeping with the terms and conditions typical for engagements of this size and

character. It is reasonable for the Debtors to seek to retain and employ EY LLP to serve as their

provider of tax and advisory services on the terms and conditions set forth herein.

       37.     EY LLP intends to apply for compensation for professional services rendered and

reimbursement of expenses incurred in connection with these chapter 11 cases, subject to the

Court’s approval and in compliance with applicable provisions of the Bankruptcy Code, the

Bankruptcy Rules, the Bankruptcy Local Rules, and any other applicable procedures and orders of

the Court, with certain limited modifications.

       38.     Specifically, the Debtors request that the requirements of Bankruptcy Rule 2016 be

tailored to the nature of EY LLP’s engagement and its compensation structure with respect to the

Compliance SOWs. EY LLP has requested, pursuant to section 328(a) of the Bankruptcy Code,

payment of its fees on a fixed-rate and hourly basis and the payment of the fees described in the

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Engagement Letters, which, as set forth above, is customary in the financial services industry.

Additionally, it is not the general practice of financial services firms to keep detailed time records

similar to those customarily kept by attorneys for flat rate Services. As discussed above, however,

EY LLP’s personnel in these chapter 11 cases will keep summary time records in half-hour

increments describing their daily activities and the identity of persons who performed such tasks

for Services performed under the Compliance SOWs. As such, the Debtors request modification

of the requirements under Bankruptcy Rule 2016.

                                               Notice

       39.     The Debtors will provide notice of this Application to the following parties or their

respective counsel: (a) the U.S. Trustee; (b) the holders of the 30 largest unsecured claims against

the Debtors (on a consolidated basis); (c) counsel to the Committee; (d) the agent under the

Prepetition Priming Facility, and counsel thereto; (e) the agent under the Prepetition Legacy Term

Facilities, and counsel thereto; (f) the agent under the Revolving Credit Facility, and counsel

thereto; (g) counsel to the ad hoc group of Prepetition Revolving Lenders; (h) counsel to the Ad

Hoc Term Loan Group; (i) the agent under the Settlement Facility, and counsel thereto; (j) counsel

to lenders under the Settlement Facility; (k) the trustee under the Convertible Bonds, and counsel

thereto; (l) counsel to the ad hoc group of holders of Convertible Bonds; (m) the agent under the

DIP Facility, and counsel thereto; (n) the Office of the United States Attorney for the Southern

District of Texas; (o) the state attorneys general for states in which the Debtors conduct business;

(p) the Internal Revenue Service; (q) the Securities and Exchange Commission; (r) the

Environmental Protection Agency; (s) other governmental agencies having a regulatory or

statutory interest in these cases; and (t) any party that has requested notice pursuant to Bankruptcy

Rule 2002. In light of the nature of the relief requested, no further notice is required.



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       WHEREFORE, the Debtors request that the Court enter the Order granting the relief

requested herein and such other relief as the Court deems appropriate under the circumstances.

Dated: October 6, 2022                  /s/ James A. Mesterharm
Houston, Texas                           James A. Mesterharm
                                         Chief Restructuring Officer
                                         Cineworld Group Plc




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                                     Certificate of Service

        I certify that on October 6, 2022, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh
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                             Exhibit 1

                        Ericson Declaration
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                              UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                       )
    In re:                                                             ) Chapter 11
                                                                       )
    CINEWORLD GROUP PLC, et al.,1                                      ) Case No. 22-90168 (MI)
                                                                       )
                                       Debtors.                        ) (Jointly Administered)
                                                                       )

                        DECLARATION OF MOLLY ERICSON
          IN SUPPORT OF DEBTORS’ APPLICATION FOR ENTRY OF AN ORDER
                AUTHORIZING THE RETENTION AND EMPLOYMENT OF
         ERNST & YOUNG LLP AS TAX SERVICES PROVIDER TO THE DEBTORS

             I, Molly Ericson, hereby declare under penalty of perjury, pursuant to Rule 2014(a) of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), as follows:

             1.     I am a Managing Director of Ernst & Young LLP (“EY LLP”). I provide this

Declaration on behalf of EY LLP in support of the application (the “Application”) of the

above-captioned debtors (the “Debtors”) to retain EY LLP as their tax services provider pursuant

to the terms and conditions set forth in the agreements between the Debtors and EY LLP attached

to the proposed Order as Exhibit A-1 through Exhibit A-3 (collectively, the “Engagement

Letters”).2

             2.     The facts set forth in this Declaration are based upon my personal knowledge, upon

information and belief, and upon client matter records kept in the ordinary course of business that




1
     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     claims and noticing agent at https://cases.ra.kroll.com/cineworld. The location of Debtor Cineworld Group plc’s
     principal place of business and the Debtors’ service address in these chapter 11 cases is: 8th Floor Vantage London,
     Great West Road, Brentford, England, TW8 9AG, United Kingdom.
2
     Capitalized terms used but otherwise not defined herein shall have the meanings ascribed to such terms in the
     Engagement Letters.
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were reviewed by me or professionals of EY LLP and EY US LLP (as defined below) or employees

of other member firms of EYGL (as defined below) under my supervision and direction.

         3.       As set forth in further detail in the Engagement Letters, EY LLP has agreed to

provide certain tax services (the “Services”) to the Debtors in connection with these chapter 11

proceedings. A summary description of each of the Services is summarized below and more fully

described in the Engagement Letters:3

    A. Advisory Services

                     a. The scope of the bankruptcy tax advisory services (the “Advisory Services”)
                        will consist of developing an understanding of the tax implications associated
                        with the Debtors’ chapter 11 filing.

                     b. EY LLP will advise the Debtors in developing an understanding of the tax
                        issues and options related to the chapter 11 filing, taking into account the
                        Debtors’ specific facts and circumstances, for U.S. federal and state and local
                        tax purposes.

                     c. EY LLP will advise on the U.S. federal and state and local income tax
                        consequences of proposed plans of reorganization, including, if necessary,
                        assisting in the preparation of IRS ruling requests regarding the tax
                        consequences of alternative reorganization structures and tax opinions.

                     d. EY LLP will understand and advise on the U.S. tax implications of
                        reorganization and/or restructuring alternatives the Debtors are evaluating
                        with existing creditors that may result in a change in the equity, capitalization,
                        and/or ownership of the shares of the Debtors and their assets. As requested,
                        EY LLP will prepare projections of future taxable income reflecting the
                        restructuring alternatives.

                     e. EY LLP will gather information, prepare calculations (“Section 382
                        Calculations”) and apply the appropriate federal and state and local tax law
                        to historic information regarding changes in the ownership of the Debtors’
                        stock to calculate whether any of the shifts in stock ownership may have
                        caused an ownership change that will restrict the use of tax attributes (such
                        as net operating loss, capital loss, credit carry forwards, and built in losses)


3
    The summaries of certain terms of the Engagement Letters herein are qualified in their entirety by reference to the
    provisions of the Engagement Letters themselves. To the extent there is any discrepancy between the summaries
    contained in this Declaration and the terms of the Engagement Letters themselves, the terms of the Engagement
    Letters shall control.

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           and the amount of any such limitation.

        f. EY LLP will prepare calculations and apply the appropriate U.S. federal and
           state and local tax law to determine the amount of tax attribute reduction
           related to debt cancellation income and modeling of tax consequences of such
           reduction.

        g. EY LLP will prepare tax basis balance sheets and computations of stock basis
           as of certain relevant dates for purposes of analyzing the tax consequences of
           alternative reorganization structures.

        h. EY LLP will analyze U.S. federal state and local tax treatment of:

                i. the costs and fees incurred by the Debtors in connection with the
                   bankruptcy proceedings, including tax return disclosure and
                   presentation; and

               ii. interest and financing costs related to debt subject to automatic stay,
                   and new debt incurred as the Debtors emerge from bankruptcy,
                   including tax return disclosure and presentation.

        i. EY LLP will analyze U.S. federal and state and local tax consequences of:

                i. restructuring and rationalization of intercompany accounts, and upon
                   written request, will analyze tax impacts of transfer pricing and
                   related cash management;

               ii. restructuring in the U.S. or internationally during bankruptcy,
                   including tax return disclosure and presentation;

              iii. potential bad debt and worthless stock deductions, including tax
                   return disclosure presentation; and

               iv. employee benefit plans, as requested in writing.

        j. EY LLP will advise Debtor personnel on the bankruptcy tax process and
           procedure lifecycle, the typical tax issues, options, and opportunities related
           to a chapter 11 filing, the typical impact of a chapter 11 filing on a corporate
           tax department’s operations, and leading practices for addressing such impact
           areas while operating in bankruptcy and the post-emergence period.

        k. As requested by the Debtors, EY LLP will assist with various tax, compliance
           and audit issues arising in the ordinary course of business while in bankruptcy,
           including but not limited to: IRS and/or state and local income and indirect
           tax audit defense, and compliance questions, notices or issues related (but not
           limited) to: federal, state, and local income/franchise tax, sales and use tax,
           property tax, employment tax, credit and incentive agreements, and
           unclaimed property.

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           l. If applicable, EY LLP will advise on potential alternatives and elections
              relative to the CARES Act and the Tax Cuts and Jobs Act.

           m. EY LLP will advise and/or assist, as requested and as permissible, with
              determining the validity and amount of bankruptcy tax claims or assessments,
              including but not limited to the following types of taxes: income taxes,
              franchise taxes, sales taxes, use taxes, employment taxes, property taxes,
              severance taxes, excise taxes, credit and incentive agreements, other
              miscellaneous taxes or regulatory assessments and fees, and unclaimed
              property.

           n. As requested by the Debtors, EY LLP will scope, assist, and advise on the
              potential for seeking cash tax refunds, including but not limited to the
              following types of taxes: income taxes, franchise taxes, sales taxes, use taxes,
              employment taxes, property taxes, tax credit and incentive agreements and
              unclaimed property.

           o. EY LLP will provide documentation, as appropriate or necessary, of tax
              matters, of tax analysis, opinions, recommendations, conclusions and
              correspondence for any proposed restructuring alternative, bankruptcy tax
              issue, or other tax matter described about. The Debtors will be responsible
              for all accounting and management decisions.

           p. EY LLP will assist with tax compliance issues arising in the ordinary course
              of business while in bankruptcy, including but limited to identifying proactive
              tax return disclosures and bankruptcy-specific cover letters or requests, and
              addressing notices received in bankruptcy context.

           q. As requested, EY LLP will provide support and tax analysis with respect to
              other routine federal, state and local income tax and non-income matters
              related to the ongoing operations of the Debtors that are not covered by a
              separate SOW and do not involve any significant tax planning or transactions
              outside the transactions anticipated as part of the bankruptcy.

B. Tax Compliance Services

           a. EY LLP will prepare an Amended U.S. Form 1120 (“U.S. Corporate Income
              Tax Return”) for Crown Intermediate HoldCo and its subsidiaries for the tax
              year ended December 31, 2019.

           b. EY LLP will prepare amended prior year corporate state tax returns for those
              entities and years listed on Appendix A of the First Tax Compliance SOW.

           c. EY LLP will prepare a U.S. Corporate Income Tax Return for Crown Finance
              US, Inc. and its subsidiaries for the tax year ended December 31, 2021.

           d. EY LLP will prepare a U.S. Corporate Income Tax Return for R&S Theatres,
              Inc. for the tax year ended December 31, 2021.
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                 e. EY LLP will prepare territorial and state and local tax returns for the entities
                    and jurisdictions listed in Appendix A of the Second Tax Compliance SOW
                    for the tax year ended December 31, 2021.

                                  EY LLP’s Disinterestedness

       4.      Based on the connections check process described herein, to the best of my

knowledge, information, and belief, EY LLP (a) does not hold or represent an interest adverse to

the Debtors’ estates and (b) is a “disinterested person,” as such term is defined in section 101(14)

of the Bankruptcy Code, as required under section 327(a) of the Bankruptcy Code. Moreover, to

the best of my knowledge, information, and belief, EY LLP’s retention is not prohibited or

restricted by Bankruptcy Rule 5002. Accordingly, I believe that EY LLP is eligible for retention

by the Debtors under section 327(a) of the Bankruptcy Code.

       5.       On or about August 18, 2022, EY LLP submitted an invoice to Debtor Regal

Cinemas, Inc. in the amount of $150,000 for bankruptcy tax advisory services (the “Retainer”).

On or about August 30, 2022, EY LLP received the Retainer payment from Debtor Regal Cinemas,

Inc. As of the Petition Date, the balance of the Retainer was $150,000. EY LLP shall apply

$122,553 from the Retainer toward fees and expense reimbursements for bankruptcy tax advisory

services that EY LLP provided to Debtor Regal Cinemas, Inc. between August 18, 2022 and

September 7, 2022 (the “Petition Date”), and the remaining $27,447 from the Retainer to

post-petition fees and expense reimbursements that the Debtors are authorized to pay to EY LLP

for bankruptcy tax advisory services during these chapter 11 cases.

       6.       During the ninety days before the Petition Date, the Debtors paid approximately

$753,081.94 to EY LLP, of which $150,000 constituted the Retainer.

       7.      As of the Petition Date, EY LLP was owed $98,428 by the Debtors on account of

services provided by EY LLP both prior to and following the Petition Date ($98,428 for prepetition

services and $0 for post-petition services), excluding the $122,553 referenced in paragraph 5 above.
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Upon approval of EY LLP’s retention in these cases, EY LLP shall waive its right to receive any

unpaid fees incurred on the Debtors’ behalf prior to the Petition Date, except to the extent disclosed

in paragraph 5 above.

                Professional Compensation and Reimbursement of Expenses

       8.       EY LLP intends to charge the Debtors fees for the Services, as set forth in the

Engagement Letters and summarized below.

             a) With respect to bankruptcy tax advisory services, the Debtors shall pay EY LLP

                based on the actual time that EY’s professionals spend performing such services,

                billed at the following rates per hour, not including taxes:

                 Title                                        Hourly Rate (USD)
                 Partner/Principal                                 $1,250
                 Managing Director                                 $1,150
                 Senior Manager                                     $950
                 Manager                                            $850
                 Senior                                             $600
                 Staff                                              $400

             b) Provision of the Services pursuant to the First Tax Compliance SOW will be
                provided for a fixed fee of $75,000.

             c) Provision of the Services pursuant to the Second Tax Compliance SOW will be
                provided for a fixed fee of $195,000.

       9.       EY LLP’s fees are exclusive of taxes or similar charges, as well as customs, duties,

or tariffs imposed in respect of the Services, all of which the Debtors shall pay (other than taxes

imposed on EY LLP’s income generally).

       10.      In addition to the fees set forth above, the Debtors shall reimburse EY LLP for any

direct expenses incurred in connection with EY LLP’s retention in these cases and the performance

of the Services set forth in the Engagement Letters, including all taxes, which, for the avoidance

of doubt, shall include value-added taxes, sales taxes, and other indirect taxes. EY LLP’s direct


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expenses shall include, but not be limited to, reasonable and customary out-of-pocket expenses for

items such as travel, meals, accommodations, and other expenses (including any fees or reasonable

expenses of EY LLP’s legal counsel) related to the Services.

       11.     If EY LLP is requested or authorized by the Debtors, or is required by government

regulation, subpoena, or other legal process, to produce its documents or personnel as witnesses

with respect to the Services or the Engagement Letters, the Debtors would, so long as EY LLP is

not a party to the proceeding in which the information is sought, reimburse EY LLP for its

professional time and expenses, as well as the fees and expenses of EY LLP’s counsel, incurred in

responding to such requests.

       12.     EY LLP may receive rebates in connection with certain purchases, which are used

to reduce charges that EY LLP would otherwise pass onto its clients.

                      Certain Other Terms of the Engagement Letters

       13.     EY LLP’s provision of Services to the Debtors is contingent upon this Court’s

approval of each term and condition set forth in the Engagement Letters.

       14.     The Engagement Letters may be terminated by EY LLP or the Debtors in

accordance with their terms. The Debtors or EY LLP may terminate the Engagement Letters at

any time in writing, but in any event the Engagement Letters will terminate upon the effective date

of the Debtors’ confirmed plan of reorganization, the liquidation of the Debtors’ assets under

chapter 11 or 7 of title 11 of the United States Code (the “Bankruptcy Code”), or otherwise.

Notwithstanding such termination, however, the Debtors’ estates will remain obligated to pay all

accrued fees and expenses as of the effective date of such termination. Moreover, as described

therein, certain other terms of the Engagement Letters will continue (either indefinitely or for a

specified period of time) following termination.


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        15.      Copies of the Engagement Letters are submitted with this Declaration for approval.4

EY LLP’s provision of Services to the Debtors is contingent upon the Court’s approval of each

term and condition set forth in the Engagement Letters. Included among the terms and conditions

set forth in the Engagement Letters is language substantially similar to the following:

                 Any controversy or claim with respect to, in connection with arising
                 out of, or in any way related to this Agreement or the services
                 provided hereunder (including any such matter involving any parent,
                 subsidiary, affiliate, successor in interest or agent of the Client or its
                 subsidiaries or of EY LLP) shall be brought in the Court or the
                 applicable District Court if such District Court withdraws the
                 reference and the parties to this Agreement, and any and all
                 successors and assigns thereof, consent to the jurisdiction and venue
                 of such court as the sole exclusive forum (unless such court does not
                 have jurisdiction and venue of such claims or controversies) for the
                 resolution of such claims, causes of action or lawsuits. The parties
                 to this Agreement, and any all successors and assigns thereof,
                 hereby waive trial by jury, such waiver being informed and freely
                 made. If the Court or the District Court upon withdrawal of the
                 reference does not have or retain jurisdiction over the foregoing
                 claims or controversies, the parties to this Agreement and any and
                 all successors and assigns thereof, agree to submit first to
                 nonbinding mediation; and, if mediation is not successful, then to
                 binding arbitration, in accordance with the dispute resolution
                 procedures set forth in the Exhibit B to this Agreement. Judgment
                 on any arbitration award may be entered in any court having proper
                 jurisdiction. The foregoing is binding upon the Client, EY LLP, and
                 any all successors and assigns thereof.

                                     Ernst & Young Global Limited

        16.      The Ernst & Young global network comprises independent professional services

practices conducted by separate legal entities throughout the world. Such legal entities are

members of Ernst & Young Global Limited (“EYGL”), a company incorporated under the laws of

England and Wales and limited by guarantee, with no shareholders and no capital. The EYGL




4
    To the extent that this Declaration and the terms of the Engagement Letters are inconsistent, the terms of the
    Engagement Letters shall control.
                                                        8
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member firms have agreed to operate certain of their professional practices in accordance with

agreed standards, but remain separate legal entities.

        17.     The particular firm that the Debtors seek to retain in these chapter 11 cases, EY

LLP, is a member firm of EYGL in the United States. EY LLP does not have a parent entity, but

rather is 100% owned by its partners. EY LLP engages in the practice of public accountancy and

provides accounting and other professional services. All partners of EY LLP are Certified Public

Accountants (“CPAs”).

        18.     In addition, Ernst & Young U.S. LLP (“EY U.S. LLP”), the owners of which are

EY LLP CPA partners and non-CPA principals, is another member firm of EYGL in the United

States. EY U.S. LLP provides infrastructure and support services to EY LLP, including the

services of CPA and non-CPA personnel. In particular, EY LLP uses EY U.S. LLP personnel in

providing services to EY LLP’s clients. Such EY U.S. LLP personnel continue to be employed

by EY U.S. LLP, but work under EY LLP’s supervision in EY LLP engagements.

                                   Disclosure of Connections

        19.     In connection with EY LLP’s proposed retention by the Debtors, Debtors’ counsel

provided a list of names of parties in interest in these cases (the “PIIL”) to EY LLP on or about

August 30, 2022 and supplemented from time to time thereafter. The specific names that were set

forth on the PIIL that EY LLP received from the Debtors’ counsel are referred to herein as the

“Parties in Interest.”

        20.     EY LLP has access to a computer database (the “Database”) that contains

information about actual client engagements and potential engagement activity of all of the

member firms of EYGL.         The Database also includes the names of other parties that the

professionals on the relevant engagement team have identified as also being involved in each

engagement (e.g., adverse parties and co-clients). Thus, the Database indicates whether any
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Debtor entity is involved in an engagement by an EYGL member firm in which a Party in Interest

is a client.5

        21.      EY LLP caused the names of the Parties in Interest to be run through the Database.

The disclosure schedule annexed hereto as Schedule 1 lists the names of the Parties in Interest and

whether a client engagement has been initiated in the Database during the last three years by EY

LLP or any other EYGL member firm.

        22.      To the best of my knowledge, information and belief based on the information set

forth in the Database, none of the services rendered to Parties in Interest by EY LLP or any other

EYGL member firm have been in connection with the Debtors or these chapter 11 cases, except

as otherwise stated herein.

        23.      Additionally, EY LLP conducted a search to determine whether EY U.S. LLP (but

not any other member firm of EYGL) has paid any person or entity that is specified on the PIIL as

being a professional service provider that has been retained by a Party in Interest

(the “Party-Retained Professionals”) to provide professional services during the last three years.

Based on its search of that database, EY LLP has determined that EY U.S. LLP has paid the

following Party-Retained Professionals during the last three years for professional services: Akin

Gump Strauss Hauer & Feld LLP, AlixPartners LLP, Arnold & Porter Kaye Scholer LLP, Davis

Polk & Wardwell LLP, and Wills Towers Watson.

        24.      EY LLP cannot prohibit any other EYGL member firm from accepting any client

engagements, including in matters that may be adverse to the Debtors or their bankruptcy estates.



5
    The information in the Database is populated by the professionals who are providing services under each
    engagement. Therefore, the information in the Database may not be 100% correct with respect to all engagements,
    as human errors may occur. Furthermore, financial information pertaining to engagement activity is the
    proprietary and confidential information of each individual EYGL member firm. EY LLP may not have the right
    to access, or if accessed, disclose, such information relating to other EYGL member firms.

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Nevertheless, if EY LLP becomes aware of any such engagement by another EYGL member firm,

EY LLP will file a supplemental declaration with the Court that contains the pertinent information

that EY LLP is authorized to disclose.6 Moreover, if EY LLP becomes aware that another EYGL

member firm represents a Party in Interest in a matter that is adverse to the Debtors or their

bankruptcy estates, EY LLP will not permit anyone from such non-US EYGL member firm’s

engagement team who provides services to the Party in Interest in the adverse matter to be involved

in the Services that EY LLP provides for the Debtors during these chapter 11 cases.

        25.       In the ordinary course of business, certain EYGL member firms (the “EY Support

Firms”) provide various professional, administrative, and back office support services for

client-facing EYGL member firms throughout the world, as requested, coordinated, and directed

by such client-facing EYGL member firms (including EY LLP). An EY Support Firm assisted

EY LLP in performing EY LLP’s connections check for these chapter 11 cases. The costs paid by

EY LLP to EY Support Firms for such connections check related services will not be billed to the

Debtors. EY Support Firms do not provide client-facing services. Because the Database against

which the names of the Parties in Interest was run for EY LLP’s connections check contains client

engagement information for all client-facing EYGL member firms, no EY Support Firm will run

its own connections check or file a declaration in these chapter 11 cases.

        26.       Before the Petition Date, EY Support Firms assisted EY LLP in providing services

to the Debtors.




6
    There may be situations in which EY LLP will be unable to disclose engagements of non-US EYGL member
    firms. For example, laws or regulations applicable to a non-US EYGL member firm may preclude that firm
    from providing information regarding its client engagements to EY LLP, or applicable laws and regulations
    may prohibit disclosure. If that issue arises, EY LLP will discuss it with the U.S. Trustee to try to reach a
    resolution.
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       27.     Notwithstanding any use of EY Support Firms, EY LLP shall remain fully and

solely responsible for any liabilities and obligations in respect of EY LLP’s engagement and

Services during these chapter 11 cases.

       28.     I am informed that during these chapter 11 cases, the EYGL member firm in Israel

is expected to be engaged by non-Debtor affiliates of the Debtors to perform certain services, and

non-Debtor affiliates will pay such EYGL member firms directly for such services. EY LLP may

provide services to such EYGL member firms in connection with their performance of such

services to non-Debtor affiliates.

       29.     EY LLP and other EYGL member firms may perform services for their clients that

relate to the Debtors merely because such clients may be creditors or counterparties to transactions

with the Debtors and whose assets and liabilities may thus be affected by the Debtors’ status. The

disclosures set forth herein do not include specific identification of such services.

       30.     As part of its practice, EY LLP appears in cases, proceedings, and transactions

involving many different attorneys, financial advisors, and creditors, some of which may represent

or be parties involved in these chapter 11 cases.

       31.     EY LLP may currently be a party or participant in certain litigation matters

involving Parties in Interest, which matters are unrelated to the Debtors or these chapter 11 cases.

       32.     EY LLP does not directly hold any debt or equity securities of the Debtors. In

addition, none of the EY LLP or EY U.S. LLP professionals who are currently on the engagement

team that is providing Services to the Debtors directly hold any securities in the Debtors, but those

engagement team members may hold interests in mutual funds or other investment vehicles that

may own securities of the Debtors.




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       33.     It is possible that professionals of EY LLP and EY U.S. LLP who are not currently

on the engagement team that is providing Services to the Debtors may directly or indirectly hold

securities of the Debtors or interests in mutual funds or other investment vehicles that may own

securities of the Debtors. Additionally, EY LLP and EY U.S. LLP professionals, whether or not

on the engagement team that is providing services to the Debtors, may have economic interests in

or business associations with Parties in Interest.

       34.     To the best of my knowledge, information and belief, neither I nor the professionals

expected to assist the Debtors in these matters are connected to the Bankruptcy Judges in this

district, the U.S. Trustee, or any person employed by the U.S. Trustee as identified in the PIIL.

Moreover, to the best of my knowledge, information, and belief, EY LLP’s retention is not

prohibited by Bankruptcy Rule 5002.

       35.     Despite the efforts described above to identify and disclose connections with Parties

in Interest, because the Debtors are a large enterprise with numerous creditors and other

relationships, EY LLP is unable to state with certainty that every client representation or other

connection with Parties in Interest has been disclosed herein. If EY LLP discovers additional

information that requires disclosure, EY LLP will file supplemental disclosures with the Court.

       36.     Certain Parties in Interest are lenders to EY LLP and/or EY US LLP: Barclays

Bank PLC, HSBC Bank USA, N.A., JPMorgan Chase Bank, N.A., Wells Fargo Bank, National

Association, and Bank of America, N.A. participate in EY LLP’s and EY US LLP’s Revolving

Credit Program; EY LLP and EY US LLP have borrowed long-term debt from American General

Life Insurance Company (AIG), American International Group UK Limited (AIG), Metropolitan

Life Insurance Company (MetLife Inc.), Nuveen (Teachers Insurance and Annuity Association of




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America), and Swiss Re Life & Health America Inc. In addition, Chubb Group of Insurance

Company is a surety bond provider on behalf of EY LLP and EY US LLP.

       37.     To the best of my knowledge, information and belief, prior to the Petition Date, EY

LLP performed certain professional services for the Debtors, including tax advisory and tax

compliance services.

       38.     At the Debtors’ request following the Petition Date and prior to Court approval of

EY LLP’s engagement in these cases, EY LLP may provide, in its sole discretion, certain of the

Services described in the Engagement Letters. Thus, EY LLP requests that its retention be

authorized as of the Petition Date.

       39.     To the extent required by section 504 of the Bankruptcy Code, except as otherwise

set forth herein (e.g., if another EYGL member firm provides services to the Debtors under a

subcontracting arrangement with EY LLP), EY LLP has not shared or agreed to share any of its

compensation in connection with this matter with any other person, other than the partners,

principals, and employees of EY LLP and EY U.S. LLP.

       40.     EY LLP intends to apply to the Court for payment of compensation and

reimbursement of expenses in accordance with applicable provisions of the Bankruptcy Code, the

Bankruptcy Rules, the Bankruptcy Local Rules, and the Engagement Letters, and pursuant to any

additional procedures that may be established by the Court in these cases.




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge, information and belief.

Dated: October 6, 2022


                                                    /s/ Molly Ericson
                                                    _____________________________
                                                    Molly Ericson
                                                    Managing Director
                                                    Ernst & Young LLP




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                               Schedule 1

       Names of Parties in Interest and Whether a Connection Exists




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                                                            Results of Connections Check

No.                        Category                                     Entity Name (Full Name as per PIIL)   Connection   No Connection
 1    Debtor, Affiliates and Aliases                 13th Avenue Partners, L.L.C.                                 X
 2    Debtor, Affiliates and Aliases                 A 3 Theatres of San Antonio, Ltd.                            X
 3    Debtor, Affiliates and Aliases                 A 3 Theatres of Texas, Inc.                                  X
 4    Debtor, Affiliates and Aliases                 ACT III Cinemas, Inc.                                        X
 5    Debtor, Affiliates and Aliases                 ACT III Inner Loop Theatres, Inc.                            X
 6    Debtor, Affiliates and Aliases                 ACT III Theatres, Inc.                                       X
 7    Debtor, Affiliates and Aliases                 Apex Cinema, L.L.C.                                          X
 8    Debtor, Affiliates and Aliases                 Arboretum Cinema, L.L.C.                                     X
 9    Debtor, Affiliates and Aliases                 Asheville Cinema, L.L.C.                                     X
10    Debtor, Affiliates and Aliases                 Augustus 1 Limited                                           X
11    Debtor, Affiliates and Aliases                 Augustus 2 Limited                                           X
12    Debtor, Affiliates and Aliases                 Bagley Building Company                                      X
13    Debtor, Affiliates and Aliases                 Basildon Cinema 2 Limited                                    X
14    Debtor, Affiliates and Aliases                 Basildon Cinema Number Two 2 Limited                         X
15    Debtor, Affiliates and Aliases                 Beth Page Theatre Co., Inc.                                  X
16    Debtor, Affiliates and Aliases                 Broadway Cinema, Inc.                                        X
17    Debtor, Affiliates and Aliases                 Bromley Cinema 2 Limited                                     X
18    Debtor, Affiliates and Aliases                 Busby AssignCo, LLC                                          X
19    Debtor, Affiliates and Aliases                 Cary Cinema, L.L.C.                                          X
20    Debtor, Affiliates and Aliases                 CDD Borrower, LLC                                            X
21    Debtor, Affiliates and Aliases                 CDD Parent, LLC                                              X
22    Debtor, Affiliates and Aliases                 CDP Limited Liability Company                                X
23    Debtor, Affiliates and Aliases                 Cherrydale Cinema, L.L.C.                                    X
24    Debtor, Affiliates and Aliases                 Cinebarre, LLC                                               X
25    Debtor, Affiliates and Aliases                 Cinema 6, L.L.C.                                             X
26    Debtor, Affiliates and Aliases                 Cinemas Associates, LLC                                      X
27    Debtor, Affiliates and Aliases                 CineMedia Software, Inc.                                     X
28    Debtor, Affiliates and Aliases                 Cine-UK Limited                                              X
29    Debtor, Affiliates and Aliases                 Cineworld Cinema Properties Limited                          X
30    Debtor, Affiliates and Aliases                 Cineworld Cinemas Holdings Limited                           X
31    Debtor, Affiliates and Aliases                 Cineworld Cinemas Limited                                    X
32    Debtor, Affiliates and Aliases                 Cineworld Elite Picture Theatre (Nottingham) Limited         X
33    Debtor, Affiliates and Aliases                 Cineworld Estates Limited                                    X
34    Debtor, Affiliates and Aliases                 Cineworld Exhibition Limited                                 X
35    Debtor, Affiliates and Aliases                 Cineworld Finance Limited                                    X
36    Debtor, Affiliates and Aliases                 Cineworld Funding (Jersey) Limited                           X
37    Debtor, Affiliates and Aliases                 Cineworld Group plc                                          X
38    Debtor, Affiliates and Aliases                 Cineworld Holdings Limited                                   X
39    Debtor, Affiliates and Aliases                 Cineworld HunCo Kft.                                         X
40    Debtor, Affiliates and Aliases                 Cineworld South East Cinemas Limited                         X
41    Debtor, Affiliates and Aliases                 City Screen (3D) Limited                                     X
42    Debtor, Affiliates and Aliases                 City Screen (Aberdeen) Limited                               X
43    Debtor, Affiliates and Aliases                 City Screen (Brighton) Limited                               X
44    Debtor, Affiliates and Aliases                 City Screen (Brixton) Limited                                X
45    Debtor, Affiliates and Aliases                 City Screen (Cambridge) Limited                              X
46    Debtor, Affiliates and Aliases                 City Screen (Clapham) Limited                                X
47    Debtor, Affiliates and Aliases                 City Screen (Exeter) Limited                                 X
48    Debtor, Affiliates and Aliases                 City Screen (Liverpool) Limited                              X
49    Debtor, Affiliates and Aliases                 City Screen (Norwich) Limited                                X
50    Debtor, Affiliates and Aliases                 City Screen (Oxford) Limited                                 X
51    Debtor, Affiliates and Aliases                 City Screen (S.O.A.) Limited                                 X
52    Debtor, Affiliates and Aliases                 City Screen (Southampton) Limited                            X
53    Debtor, Affiliates and Aliases                 City Screen (Stratford) Limited                              X
54    Debtor, Affiliates and Aliases                 City Screen (Virtual) Limited                                X
55    Debtor, Affiliates and Aliases                 City Screen (York) Limited                                   X
56    Debtor, Affiliates and Aliases                 City Screen Developments Limited                             X
57    Debtor, Affiliates and Aliases                 City Screen No.2 Limited                                     X
58    Debtor, Affiliates and Aliases                 Clark-Regal LLC                                              X
59    Debtor, Affiliates and Aliases                 Classic Cinemas Limited                                      X
60    Debtor, Affiliates and Aliases                 Cobb Finance Corp.                                           X
61    Debtor, Affiliates and Aliases                 Columbia Cinema, L.L.C.                                      X
62    Debtor, Affiliates and Aliases                 Computicket Limited                                          X
63    Debtor, Affiliates and Aliases                 Consolidated Theatres Management, L.L.C.                     X
64    Debtor, Affiliates and Aliases                 Crown Finance US, Inc.                                       X
65    Debtor, Affiliates and Aliases                 Crown Intermediate Holdco, Inc                               X
66    Debtor, Affiliates and Aliases                 Crown Theatre Corporation                                    X
67    Debtor, Affiliates and Aliases                 Crown UK HoldCo Limited                                      X
68    Debtor, Affiliates and Aliases                 CS (Norwich) Limited                                         X



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                                                            Results of Connections Check

No.                        Category                                      Entity Name (Full Name as per PIIL)   Connection   No Connection
69    Debtor, Affiliates and Aliases                 Eastgate Theatre, Inc.                                        X
70    Debtor, Affiliates and Aliases                 Edwards Theatres, Inc.                                        X
71    Debtor, Affiliates and Aliases                 Empire Cinema 2 Limited                                       X
72    Debtor, Affiliates and Aliases                 Florence Theatre Corporation                                  X
73    Debtor, Affiliates and Aliases                 Frederick Plaza Cinema, Inc.                                  X
74    Debtor, Affiliates and Aliases                 Gallery Cinemas Limited                                       X
75    Debtor, Affiliates and Aliases                 Gallery Holdings Limited                                      X
76    Debtor, Affiliates and Aliases                 Garner Cinema, L.L.C.                                         X
77    Debtor, Affiliates and Aliases                 General American Theatres, Inc.                               X
78    Debtor, Affiliates and Aliases                 Great Escape LaGrange LLC                                     X
79    Debtor, Affiliates and Aliases                 Great Escape LLC                                              X
80    Debtor, Affiliates and Aliases                 Great Escape of Nitro, LLC                                    X
81    Debtor, Affiliates and Aliases                 Great Escape of O'Fallon, LLC                                 X
82    Debtor, Affiliates and Aliases                 Great Escape Theatres of Bowling Green, LLC                   X
83    Debtor, Affiliates and Aliases                 Great Escape Theatres of Harrisburg, LLC                      X
84    Debtor, Affiliates and Aliases                 Great Escape Theatres of Lebanon, LLC                         X
85    Debtor, Affiliates and Aliases                 Great Escape Theatres of New Albany, LLC                      X
86    Debtor, Affiliates and Aliases                 Great Escape Theatres, LLC                                    X
87    Debtor, Affiliates and Aliases                 Greensboro I Theatre, L.L.C.                                  X
88    Debtor, Affiliates and Aliases                 Greenville Cinema, L.L.C.                                     X
89    Debtor, Affiliates and Aliases                 Hemel Hempstead Two Cinema 2 Limited                          X
90    Debtor, Affiliates and Aliases                 High Point Cinema, L.L.C.                                     X
91    Debtor, Affiliates and Aliases                 Hollywood Theaters III, Inc.                                  X
92    Debtor, Affiliates and Aliases                 Hollywood Theaters, Inc.                                      X
93    Debtor, Affiliates and Aliases                 Hoyts Cinemas Corporation                                     X
94    Debtor, Affiliates and Aliases                 Hyattsville Cinema, L.L.C.                                    X
95    Debtor, Affiliates and Aliases                 Interstate Theatres Corporation                               X
96    Debtor, Affiliates and Aliases                 J.R. Cinemas, Inc.                                            X
97    Debtor, Affiliates and Aliases                 Job & Services Sp.z.o.o                                       X
98    Debtor, Affiliates and Aliases                 King-Reavis Amusement Company                                 X
99    Debtor, Affiliates and Aliases                 Kingstowne Cinema, L.L.C.                                     X
100   Debtor, Affiliates and Aliases                 Laurel Cinema, L.L.C.                                         X
101   Debtor, Affiliates and Aliases                 Lois Business Development Corporation                         X
102   Debtor, Affiliates and Aliases                 Loudoun County Cinema, L.L.C.                                 X
103   Debtor, Affiliates and Aliases                 Lynchburg Cinema, L.L.C.                                      X
104   Debtor, Affiliates and Aliases                 Magnolia Amusement Company                                    X
105   Debtor, Affiliates and Aliases                 McIntosh Properties, LLC                                      X
106   Debtor, Affiliates and Aliases                 Moonlight Releasing Limited                                   X
107   Debtor, Affiliates and Aliases                 Morgan Edwards Theatre Corporation                            X
108   Debtor, Affiliates and Aliases                 Mount Pleasant Cinema, L.L.C.                                 X
109   Debtor, Affiliates and Aliases                 Mt. Juliet Cinema, L.L.C.                                     X
110   Debtor, Affiliates and Aliases                 Multimatic Displays, Inc.                                     X
111   Debtor, Affiliates and Aliases                 My-San Theatre Corporation                                    X
112   Debtor, Affiliates and Aliases                 National CineMedia, LLC                                       X
113   Debtor, Affiliates and Aliases                 Newcastle Cinema 2 Limited                                    X
114   Debtor, Affiliates and Aliases                 Newman Online Limited                                         X
115   Debtor, Affiliates and Aliases                 Newnan Cinema, L.L.C.                                         X
116   Debtor, Affiliates and Aliases                 Next Generation Network, Inc.                                 X
117   Debtor, Affiliates and Aliases                 Ochtel Partnership                                            X
118   Debtor, Affiliates and Aliases                 Oklahoma Warren Theatres II, LLC                              X
119   Debtor, Affiliates and Aliases                 Oklahoma Warren Theatres, LLC                                 X
120   Debtor, Affiliates and Aliases                 Olympus Pointe Theatre Centre Investors, LLC                  X
121   Debtor, Affiliates and Aliases                 Open Road Films, LLC                                          X
122   Debtor, Affiliates and Aliases                 Open Road Releasing, LLC                                      X
123   Debtor, Affiliates and Aliases                 Orix RAM Montgomery Venture                                   X
124   Debtor, Affiliates and Aliases                 Pacific Rim Business Development Corporation                  X
125   Debtor, Affiliates and Aliases                 Park Cinema, L.L.C.                                           X
126   Debtor, Affiliates and Aliases                 Phillips Place, L.L.C.                                        X
127   Debtor, Affiliates and Aliases                 Picturehouse Bookings Limited                                 X
128   Debtor, Affiliates and Aliases                 Picturehouse Cinemas Limited                                  X
129   Debtor, Affiliates and Aliases                 Picturehouse Entertainment Limited                            X
130   Debtor, Affiliates and Aliases                 Poole Cinema 2 Limited                                        X
131   Debtor, Affiliates and Aliases                 R AND S THEATERS, INC.                                        X
132   Debtor, Affiliates and Aliases                 R.C. Cobb II, LLC                                             X
133   Debtor, Affiliates and Aliases                 R.C. Cobb, Inc.                                               X
134   Debtor, Affiliates and Aliases                 Ragains Enterprises LLC                                       X
135   Debtor, Affiliates and Aliases                 Raleigh 16 Holdings, L.L.C.                                   X
136   Debtor, Affiliates and Aliases                 Raleigh 16, LLC                                               X



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No.                        Category                                     Entity Name (Full Name as per PIIL)   Connection   No Connection
137   Debtor, Affiliates and Aliases                 RCI/FSSC, LLC                                                X
138   Debtor, Affiliates and Aliases                 RCI/RMS, LLC                                                 X
139   Debtor, Affiliates and Aliases                 Regal –18, LLC                                               X
140   Debtor, Affiliates and Aliases                 Regal Cinemas Bonds Corporation                              X
141   Debtor, Affiliates and Aliases                 Regal Cinemas Corporation                                    X
142   Debtor, Affiliates and Aliases                 Regal Cinemas Group, Inc.                                    X
143   Debtor, Affiliates and Aliases                 Regal Cinemas Holdings, Inc                                  X
144   Debtor, Affiliates and Aliases                 Regal Cinemas II, LLC                                        X
145   Debtor, Affiliates and Aliases                 Regal Cinemas, Inc.                                          X
146   Debtor, Affiliates and Aliases                 Regal CineMedia Corporation                                  X
147   Debtor, Affiliates and Aliases                 Regal CineMedia Holdings, LLC                                X
148   Debtor, Affiliates and Aliases                 Regal Distribution Holdings, LLC                             X
149   Debtor, Affiliates and Aliases                 Regal Distribution, LLC                                      X
150   Debtor, Affiliates and Aliases                 Regal Entertainment Group                                    X
151   Debtor, Affiliates and Aliases                 Regal Entertainment Holdings II LLC                          X
152   Debtor, Affiliates and Aliases                 Regal Entertainment Holdings, Inc.                           X
153   Debtor, Affiliates and Aliases                 Regal Gallery Place, LLC                                     X
154   Debtor, Affiliates and Aliases                 Regal Investment Company                                     X
155   Debtor, Affiliates and Aliases                 Regal Licensing, LLC                                         X
156   Debtor, Affiliates and Aliases                 Regal Stratford, Inc.                                        X
157   Debtor, Affiliates and Aliases                 Regal/ATOM Holdings, LLC                                     X
158   Debtor, Affiliates and Aliases                 Regal/Cinebarre Holdings, LLC                                X
159   Debtor, Affiliates and Aliases                 Regal/DCIP Holdings, LLC                                     X
160   Debtor, Affiliates and Aliases                 RegalRealty - 17, LLC                                        X
161   Debtor, Affiliates and Aliases                 Richmond I Cinema, L.L.C.                                    X
162   Debtor, Affiliates and Aliases                 Rio Rich Theatres Ventures                                   X
163   Debtor, Affiliates and Aliases                 Roanoke Cinema, L.L.C.                                       X
164   Debtor, Affiliates and Aliases                 Rock Hill Cinema, L.L.C.                                     X
165   Debtor, Affiliates and Aliases                 Silver Spring Cinema, L.L.C.                                 X
166   Debtor, Affiliates and Aliases                 Slough Movie Centre Limited                                  X
167   Debtor, Affiliates and Aliases                 Spartanburg Cinema, L.L.C.                                   X
168   Debtor, Affiliates and Aliases                 Staten Theatre Group                                         X
169   Debtor, Affiliates and Aliases                 Staten Theatre Group II                                      X
170   Debtor, Affiliates and Aliases                 Suffolk Cinema, L.L.C.                                       X
171   Debtor, Affiliates and Aliases                 TEMT Alaska                                                  X
172   Debtor, Affiliates and Aliases                 The Movie Machine, L.L.C.                                    X
173   Debtor, Affiliates and Aliases                 The Turp Company                                             X
174   Debtor, Affiliates and Aliases                 Trumball Theatre Corp.                                       X
175   Debtor, Affiliates and Aliases                 U.A.P.R., Inc.                                               X
176   Debtor, Affiliates and Aliases                 UA International Property Holding, Inc.                      X
177   Debtor, Affiliates and Aliases                 UA Mexico Holdings S.A. de C.V.                              X
178   Debtor, Affiliates and Aliases                 UA Property Holding II, Inc.                                 X
179   Debtor, Affiliates and Aliases                 UA Shor, LLC                                                 X
180   Debtor, Affiliates and Aliases                 UA Swansea, LLC                                              X
181   Debtor, Affiliates and Aliases                 UAGG Theatre Operating Corp.                                 X
182   Debtor, Affiliates and Aliases                 UATC Europe B.V.                                             X
183   Debtor, Affiliates and Aliases                 United Artists International Management Company              X
184   Debtor, Affiliates and Aliases                 United Artists Properties I Corp.                            X
185   Debtor, Affiliates and Aliases                 United Artists Properties II Corp.                           X
186   Debtor, Affiliates and Aliases                 United Artists Realty Company                                X
187   Debtor, Affiliates and Aliases                 United Artists Theatre Circuit II, LLC                       X
188   Debtor, Affiliates and Aliases                 United Artists Theatre Circuit, Inc.                         X
189   Debtor, Affiliates and Aliases                 United Artists Theatre Company                               X
190   Debtor, Affiliates and Aliases                 United Artists Theatre Group, LLC                            X
191   Debtor, Affiliates and Aliases                 United Artists/Pacific Media Joint Venture                   X
192   Debtor, Affiliates and Aliases                 United Cinema Corporation                                    X
193   Debtor, Affiliates and Aliases                 United Film Distribution Company of South America            X
194   Debtor, Affiliates and Aliases                 US 8, L.L.C.                                                 X
195   Debtor, Affiliates and Aliases                 Valeene Cinemas, LLC                                         X
196   Debtor, Affiliates and Aliases                 Wallace Theater Holdings, Inc.                               X
197   Debtor, Affiliates and Aliases                 Warren Oklahoma Theatres, Inc.                               X
198   Debtor, Affiliates and Aliases                 Williamsburg Cinema, L.L.C.                                  X
199   Debtor, Affiliates and Aliases                 Wilmington Cinema, L.L.C.                                    X
200   Debtor, Affiliates and Aliases                 1232743 B.C. LTD                                                           X
201   Debtor, Affiliates and Aliases                 Adelphi - Carlton Limited                                    X
202   Debtor, Affiliates and Aliases                 All Job Poland Sp z o.o.                                     X
203   Debtor, Affiliates and Aliases                 Atom Tickets, LLC                                            X
204   Debtor, Affiliates and Aliases                 CC Sp. z o.o.                                                X



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No.                        Category                                     Entity Name (Full Name as per PIIL)   Connection   No Connection
205   Debtor, Affiliates and Aliases                 CDD UK Borrower Limited                                                     X
206   Debtor, Affiliates and Aliases                 CDD UK Parent Limited                                                       X
207   Debtor, Affiliates and Aliases                 Cinema City Bulgaria EOOD                                    X
208   Debtor, Affiliates and Aliases                 Cinema City Cinemas Sp. z o.o                                X
209   Debtor, Affiliates and Aliases                 Cinema City Czech s.r.o.                                     X
210   Debtor, Affiliates and Aliases                 Cinema City Finance (2017) B.V.                              X
211   Debtor, Affiliates and Aliases                 Cinema City Holdco (Hungary) Kft                             X
212   Debtor, Affiliates and Aliases                 Cinema City Holding B.V.                                     X
213   Debtor, Affiliates and Aliases                 Cinema City Poland                                                         X
214   Debtor, Affiliates and Aliases                 Cinema City Poland - Sp. z o.o - CC. sp. k.                  X
215   Debtor, Affiliates and Aliases                 Cinema City Romania SRL                                      X
216   Debtor, Affiliates and Aliases                 Cinema City Slovakia s.r.o.                                                X
217   Debtor, Affiliates and Aliases                 Cinema Finco 1 Limited                                       X
218   Debtor, Affiliates and Aliases                 Cinema Finco 2 Limited                                       X
219   Debtor, Affiliates and Aliases                 Cinema Finco 3 Limited                                       X
220   Debtor, Affiliates and Aliases                 Cinema Finco 4 Limited                                       X
221   Debtor, Affiliates and Aliases                 Cinema Finco 5 Limited                                       X
222   Debtor, Affiliates and Aliases                 Cinema Finco 6 Limited                                       X
223   Debtor, Affiliates and Aliases                 Cinema Theatres Limited                                                    X
224   Debtor, Affiliates and Aliases                 Cinema-Phone Ltd                                             X
225   Debtor, Affiliates and Aliases                 Cineworld Exhibition Limited                                 X
226   Debtor, Affiliates and Aliases                 Cineworld Finance Limited                                    X
227   Debtor, Affiliates and Aliases                 City Screen (Cambridge) Limited                              X
228   Debtor, Affiliates and Aliases                 City Screen (Clapham) Limited                                X
229   Debtor, Affiliates and Aliases                 City Screen (Oxford) Limited                                 X
230   Debtor, Affiliates and Aliases                 City Screen (Southampton) Limited                            X
231   Debtor, Affiliates and Aliases                 City Screen (Virtual) Limited                                X
232   Debtor, Affiliates and Aliases                 City Screen [Bath] Limited                                   X
233   Debtor, Affiliates and Aliases                 City Screen Developments Limited                             X
234   Debtor, Affiliates and Aliases                 City Screen No.2 Limited                                     X
235   Debtor, Affiliates and Aliases                 Computicket Limited                                          X
236   Debtor, Affiliates and Aliases                 Crown NL Holdco B.V.                                                       X
237   Debtor, Affiliates and Aliases                 CS (Greenwich) Limited                                       X
238   Debtor, Affiliates and Aliases                 Digital Cinema Distribution Coalition LLC                    X
239   Debtor, Affiliates and Aliases                 Digital Cinema Implementation Partners, LLC                                X
240   Debtor, Affiliates and Aliases                 Digital Cinema Media Limited                                 X
241   Debtor, Affiliates and Aliases                 Forum Film Bulgaria EOOD                                     X
242   Debtor, Affiliates and Aliases                 Forum Film Czech s.r.o.                                      X
243   Debtor, Affiliates and Aliases                 Forum Film Limited                                           X
244   Debtor, Affiliates and Aliases                 Forum Film Poland Sp. z o.o.                                               X
245   Debtor, Affiliates and Aliases                 Forum Film Romania SRL                                                     X
246   Debtor, Affiliates and Aliases                 Forum Film Slovakia s.r.o                                    X
247   Debtor, Affiliates and Aliases                 Fórum Hungary Film Distribution Kft.                         X
248   Debtor, Affiliates and Aliases                 I.T. Planet Advertisement Ltd                                              X
249   Debtor, Affiliates and Aliases                 I.T. Poland Developments 2003 Sp. z o.o.                                   X
250   Debtor, Affiliates and Aliases                 Ipic-Gold Class Entertainment, LLC                                         X
251   Debtor, Affiliates and Aliases                 IT Magyar Cinema Moziüzemeltető és Filmforgalmazó Kft                      X
252   Debtor, Affiliates and Aliases                 Lantern Entertainment Intermediate Holdco, LLC                             X
253   Debtor, Affiliates and Aliases                 New Age Cinema Kft                                                         X
254   Debtor, Affiliates and Aliases                 New Age Media Romania SRL                                                  X
255   Debtor, Affiliates and Aliases                 New Age Media Sp. z o.o.                                     X
256   Debtor, Affiliates and Aliases                 New Cinemas Sp z.o.o.                                                      X
257   Debtor, Affiliates and Aliases                 Norma Film Limited                                           X
258   Debtor, Affiliates and Aliases                 Palace Cinemas Hungary Kft                                                 X
259   Debtor, Affiliates and Aliases                 Palace Suite, Inc.                                                         X
260   Debtor, Affiliates and Aliases                 RAM/UA-KOP, LLC                                                            X
261   Debtor, Affiliates and Aliases                 RCM Sales, Inc.                                                            X
262   Debtor, Affiliates and Aliases                 Regal Paramus Park, LLC                                                    X
263   Debtor, Affiliates and Aliases                 San Francisco Theatres, Inc.                                               X
264   Debtor, Affiliates and Aliases                 Seracus Limited                                                            X
265   Debtor, Affiliates and Aliases                 Siam UATC Company Limited                                                  X
266   Debtor, Affiliates and Aliases                 Slough Movie Centre Limited                                  X
267   Debtor, Affiliates and Aliases                 Spyglass Media Group LLC                                                   X
268   Debtor, Affiliates and Aliases                 United Artists Singapore Theatres Pte. Ltd.                                X
269   Debtor, Affiliates and Aliases                 United Stonestown Corporation                                              X
270   Debtor, Affiliates and Aliases                 Vogue Realty Company                                                       X
271   Debtor, Affiliates and Aliases                 Wallace Theaters - Guam                                                    X
272   Debtor, Affiliates and Aliases                 Wallace Theaters - Saipain, Inc.                                           X



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No.                    Category                                      Entity Name (Full Name as per PIIL)         Connection   No Connection
273 Banks                                         ABN AMRO                                                           X
274 Banks                                         ANZ Bank                                                           X
275 Banks                                         Ballard Spahr, LLP                                                               X
276 Banks                                         Bank of America                                                    X
277 Banks                                         Barclays                                                           X
278 Banks                                         Barclays Bank Plc – Prepetition Legacy Term Facilities Agent       X
279 Banks                                         Barclays Bank Plc - Prepetition Priming Facilities Agent                         X
280 Banks                                         BNY Mellon                                                         X
281 Banks                                         First Hawaiian Bank                                                X
282 Banks                                         Highbridge Capital Management, LLC                                 X
283 Banks                                         HSBC                                                               X
284 Banks                                         Prosperity Bank                                                                  X
285 Banks                                         Rocky Mountain Bank                                                              X
286 Banks                                         Signature Bank                                                     X
287 Banks                                         Wells Fargo                                                        X
288 Banks                                         Wilmington Trust, National Association                             X
289 Counsel to Ad Hoc Groups                      Akin Gump Strauss Hauer & Feld LLP – Counsel                       X
290 Counsel to Ad Hoc Groups                      Arnold & Porter Kaye Scholer LLP                                   X
291 Counsel to Ad Hoc Groups                      Davis Polk & Wardell LLP - Counsel                                 X
292 Counsel to Ad Hoc Groups                      Quinn Emanuel Urquhart & Sullivan, LLP – Counsel                   X
293 Counsel to Ad Hoc Groups                      Sullivan & Cromwell LLP                                            X
294 Current and Former Directors and Officers     Alicja Kornasiewicz                                                              X
295 Current and Former Directors and Officers     Arni Samuelsson                                                                  X
296 Current and Former Directors and Officers     Ashley Steel                                                                     X
297 Current and Former Directors and Officers     Assaf, Khalil                                                                    X
298 Current and Former Directors and Officers     Bloom, Anthony Herbert                                                           X
299 Current and Former Directors and Officers     Bouskila, Ariel Nisim                                                            X
300 Current and Former Directors and Officers     Camela Galano                                                                    X
301 Current and Former Directors and Officers     Catling, Claire                                                                  X
302 Current and Former Directors and Officers     Cohen, Shlomo Idan                                                               X
303 Current and Former Directors and Officers     Damian Sanders                                                                   X
304 Current and Former Directors and Officers     Dean Moore                                                                       X
305 Current and Former Directors and Officers     Eyre, Matthew Neil                                                               X
306 Current and Former Directors and Officers     Fusco, Vince                                                                     X
307 Current and Former Directors and Officers     Gary Begeman                                                                     X
308 Current and Former Directors and Officers     Israel Greidinger                                                                X
309 Current and Former Directors and Officers     John Curry                                                                       X
310 Current and Former Directors and Officers     John Dionne                                                                      X
311 Current and Former Directors and Officers     Kravitz, Nigel                                                                   X
312 Current and Former Directors and Officers     Kubista, Oldrich                                                                 X
313 Current and Former Directors and Officers     Manuela Van Dessel                                                               X
314 Current and Former Directors and Officers     Mark Segall                                                                      X
315 Current and Former Directors and Officers     Matt Eyre                                                                        X
316 Current and Former Directors and Officers     Michael Leffell                                                                  X
317 Current and Former Directors and Officers     Moshe (Mooky) Greidinger                                                         X
318 Current and Former Directors and Officers     Murphy, Laurence                                                                 X
319 Current and Former Directors and Officers     Nicola Hayden                                                                    X
320 Current and Former Directors and Officers     Nigel Kravitz                                                                    X
321 Current and Former Directors and Officers     Nisan Cohen                                                                      X
322 Current and Former Directors and Officers     Phil Meredith                                                                    X
323 Current and Former Directors and Officers     Polileeva, Dora                                                                  X
324 Current and Former Directors and Officers     Rahamin, Oded                                                                    X
325 Current and Former Directors and Officers     Renana Teperberg                                                                 X
326 Current and Former Directors and Officers     Scott Rosenblum                                                                  X
327 Current and Former Directors and Officers     Segal, Ohad                                                                      X
328 Current and Former Directors and Officers     Senat, Eric Hartley                                                              X
329 Current and Former Directors and Officers     Shirly Hagai                                                                     X
330 Current and Former Directors and Officers     Smith, Fiona Elizabeth                                                           X
331 Current and Former Directors and Officers     Stafford, Roddy                                                                  X
332 Current and Former Directors and Officers     Tal Soudry                                                         X
333 Current and Former Directors and Officers     Todd Boruff                                                                      X
334 Current and Former Directors and Officers     Weir, Helen Alison                                                               X
335 Current and Former Directors and Officers     Zvi, Tomer Keren                                                                 X
336 Customers with credits/returns                Alanis Ltd Matagorda                                                             X
    Employment Contractors, Unions, and Benefit
337 Providers                                     Accounting Principals                                                            X
    Employment Contractors, Unions, and Benefit
338 Providers                                     Ajilon Professional Staffing LLC / The Adecco Group                X



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No.                    Category                                         Entity Name (Full Name as per PIIL)              Connection   No Connection
      Employment Contractors, Unions, and Benefit
339   Providers                                     Aviva plc                                                                X
      Employment Contractors, Unions, and Benefit
340   Providers                                     BGT Staffing LLC                                                                       X
      Employment Contractors, Unions, and Benefit
341   Providers                                     British United Provident Association Limited                             X
      Employment Contractors, Unions, and Benefit
342   Providers                                     Canada Life                                                              X
      Employment Contractors, Unions, and Benefit
343   Providers                                     Cassey Lawson                                                                          X
      Employment Contractors, Unions, and Benefit
344   Providers                                     Ceridian                                                                 X
      Employment Contractors, Unions, and Benefit
345   Providers                                     Charlotte Moore                                                                        X
      Employment Contractors, Unions, and Benefit
346   Providers                                     Cigna                                                                    X
      Employment Contractors, Unions, and Benefit
347   Providers                                     Delta Dental                                                                           X
      Employment Contractors, Unions, and Benefit
348   Providers                                     Elizabeth Taylor                                                                       X
      Employment Contractors, Unions, and Benefit
349   Providers                                     Express Scripts                                                                        X
      Employment Contractors, Unions, and Benefit
350   Providers                                     Grosvenor Contracts Leasing Limited (Interactive Fleet Management)       X
      Employment Contractors, Unions, and Benefit
351   Providers                                     Hawaii Health Insurance                                                                X
      Employment Contractors, Unions, and Benefit
352   Providers                                     Jon Rushton Film Publicity & Distribution Consultancy Ltd                              X
      Employment Contractors, Unions, and Benefit
353   Providers                                     Korea Howard                                                                           X
      Employment Contractors, Unions, and Benefit
354   Providers                                     LHH Recruitment Solutions                                                              X
      Employment Contractors, Unions, and Benefit
355   Providers                                     Lincoln Financial                                                        X
      Employment Contractors, Unions, and Benefit
356   Providers                                     Lisa Marie Orta Akin                                                                   X
      Employment Contractors, Unions, and Benefit
357   Providers                                     Lomax Property Consultancy                                                             X
      Employment Contractors, Unions, and Benefit
358   Providers                                     Louise Repka                                                                           X
      Employment Contractors, Unions, and Benefit
359   Providers                                     Maranda Herrell                                                                        X
      Employment Contractors, Unions, and Benefit
360   Providers                                     Matchbox Cine                                                                          X
      Employment Contractors, Unions, and Benefit
361   Providers                                     MetLife                                                                  X
      Employment Contractors, Unions, and Benefit
362   Providers                                     Nest Band                                                                              X
      Employment Contractors, Unions, and Benefit
363   Providers                                     NOW CFO Consulting Firm                                                                X
      Employment Contractors, Unions, and Benefit
364   Providers                                     Paladin LLC                                                              X
      Employment Contractors, Unions, and Benefit
365   Providers                                     Parker + Lynch                                                                         X
      Employment Contractors, Unions, and Benefit
366   Providers                                     Paul Stapleton                                                                         X
      Employment Contractors, Unions, and Benefit
367   Providers                                     Pendragon                                                                X
      Employment Contractors, Unions, and Benefit
368   Providers                                     People’s Pension                                                                       X
      Employment Contractors, Unions, and Benefit
369   Providers                                     Phyllis Roper                                                                          X
      Employment Contractors, Unions, and Benefit
370   Providers                                     PlanSource                                                               X
      Employment Contractors, Unions, and Benefit
371   Providers                                     Premier Staffing Partners                                                              X
      Employment Contractors, Unions, and Benefit
372   Providers                                     Principal Financial Group                                                X



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No.                    Category                                       Entity Name (Full Name as per PIIL)   Connection   No Connection
      Employment Contractors, Unions, and Benefit
373   Providers                                     Public Data Background Reports                                            X
      Employment Contractors, Unions, and Benefit
374   Providers                                     Pure Search International Limited                                         X
      Employment Contractors, Unions, and Benefit
375   Providers                                     Randstad USA                                                              X
      Employment Contractors, Unions, and Benefit
376   Providers                                     reForum                                                                   X
      Employment Contractors, Unions, and Benefit
377   Providers                                     Sanford Technology Group                                    X
      Employment Contractors, Unions, and Benefit
378   Providers                                     SF Life                                                                   X
      Employment Contractors, Unions, and Benefit
379   Providers                                     Shear Entertainment                                                       X
      Employment Contractors, Unions, and Benefit
380   Providers                                     Standard LifeUnum                                                         X
      Employment Contractors, Unions, and Benefit
381   Providers                                     Strategic Retirement Partners                                             X
      Employment Contractors, Unions, and Benefit
382   Providers                                     TEKsystems                                                                X
      Employment Contractors, Unions, and Benefit
383   Providers                                     UKG (Ultimate Kronos Group)                                 X
      Employment Contractors, Unions, and Benefit
384   Providers                                     Vision Service Plan                                         X
      Employment Contractors, Unions, and Benefit
385   Providers                                     Wendy Mitchell                                                            X
386   Governmental and Taxing Authorities           Aberdeen City Council                                       X
387   Governmental and Taxing Authorities           Ada County Tax Collector-Prop Tax                                         X
388   Governmental and Taxing Authorities           Adams County Tax Collector                                                X
389   Governmental and Taxing Authorities           AL City of Mobile                                                         X
390   Governmental and Taxing Authorities           AL State Sales Tax Return                                                 X
391   Governmental and Taxing Authorities           Alabama Department of Labor                                               X
392   Governmental and Taxing Authorities           Alabama Department of Revenue                                             X
393   Governmental and Taxing Authorities           Alachua County Tax Collector                                              X
394   Governmental and Taxing Authorities           Alameda County                                              X
395   Governmental and Taxing Authorities           Alameda County Health Agency                                              X
396   Governmental and Taxing Authorities           Alarm Management Program of Suffolk                                       X
397   Governmental and Taxing Authorities           Alarm Reduction Unit Gainesville                                          X
398   Governmental and Taxing Authorities           Alaska Department of Labor                                                X
399   Governmental and Taxing Authorities           Alaska Department of Revenue                                              X
400   Governmental and Taxing Authorities           Albany County Department of Health                                        X
401   Governmental and Taxing Authorities           Albemarle County Fire Rescue                                              X
402   Governmental and Taxing Authorities           Albemarle County Service Authority                                        X
403   Governmental and Taxing Authorities           Alief I.S.D.                                                              X
404   Governmental and Taxing Authorities           Allen County Health Department                                            X
405   Governmental and Taxing Authorities           Allen County Treasurer                                                    X
406   Governmental and Taxing Authorities           American Samoa 15% Excise Tax Film                                        X
407   Governmental and Taxing Authorities           American Samoa Government                                                 X
408   Governmental and Taxing Authorities           Anaheim Fire & Rescue                                                     X
409   Governmental and Taxing Authorities           Anchorage Police Dept.                                                    X
410   Governmental and Taxing Authorities           Ann Harris Bennett                                                        X
411   Governmental and Taxing Authorities           Anne Arundel County Department of Public Works                            X
412   Governmental and Taxing Authorities           Anne Arundel County Health Department                                     X
413   Governmental and Taxing Authorities           AR Little Rock F&B                                                        X
414   Governmental and Taxing Authorities           AR North Little Rock F&B                                                  X
415   Governmental and Taxing Authorities           AR State Sales and Use Tax Return                                         X
416   Governmental and Taxing Authorities           Arapahoe County Treasurer                                                 X
417   Governmental and Taxing Authorities           Arizona Department of Revenue                                             X
418   Governmental and Taxing Authorities           Arkansas Department of Finance and Administration                         X
419   Governmental and Taxing Authorities           Arkansas Department of Health                                             X
420   Governmental and Taxing Authorities           Arkansas Department of Labor                                              X
421   Governmental and Taxing Authorities           Arlington County Fire Department                                          X
422   Governmental and Taxing Authorities           Arlington County Treasurer                                                X
423   Governmental and Taxing Authorities           Arlington Coutny Treasurer                                                X
424   Governmental and Taxing Authorities           Arroyo Grande Police Department                                           X
425   Governmental and Taxing Authorities           ASCAP                                                       X
426   Governmental and Taxing Authorities           Ashford Borough Council                                                   X
427   Governmental and Taxing Authorities           Ashford Borough Council, Business Grants (?)                              X



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No.                    Category                                   Entity Name (Full Name as per PIIL)      Connection   No Connection
428   Governmental and Taxing Authorities      Augusta License & Inspections Department                                       X
429   Governmental and Taxing Authorities      Augusta Planning and Development Dept.                                         X
430   Governmental and Taxing Authorities      Augusta Richmond County                                                        X
431   Governmental and Taxing Authorities      Austin Police Dept/Alarm Unit                                                  X
432   Governmental and Taxing Authorities      Austin/Travis County Health & Human Services Department                        X
433   Governmental and Taxing Authorities      Austin-Travis County Health Department                                         X
434   Governmental and Taxing Authorities      AZ State Sales and Use Tax Return                                              X
435   Governmental and Taxing Authorities      Bakersfield Farp                                                               X
436   Governmental and Taxing Authorities      Baltimore County Maryland                                                      X
437   Governmental and Taxing Authorities      Baltimore County, Maryland                                                     X
438   Governmental and Taxing Authorities      Barnstable Police Department                                                   X
439   Governmental and Taxing Authorities      Barren River District Health                                                   X
440   Governmental and Taxing Authorities      Basildon Council                                                X
441   Governmental and Taxing Authorities      BATH & N EAST SOMERSET                                          X
442   Governmental and Taxing Authorities      Beaumont Public Health Dept                                                   X
443   Governmental and Taxing Authorities      Bedford Borough Council                                         X
444   Governmental and Taxing Authorities      BEDHD                                                                         X
445   Governmental and Taxing Authorities      Bellingham Building Department                                                X
446   Governmental and Taxing Authorities      Benton County Tax Collector                                                   X
447   Governmental and Taxing Authorities      Benton County Treasurer                                                       X
448   Governmental and Taxing Authorities      Bernalillo County Treasurer                                                   X
449   Governmental and Taxing Authorities      Birmingham City Council                                         X
450   Governmental and Taxing Authorities      Blue Ridge Health District - Blue Ridge Health District                       X
451   Governmental and Taxing Authorities      Board of Equalization                                                         X
452   Governmental and Taxing Authorities      Boise City Clerk                                                              X
453   Governmental and Taxing Authorities      Bolton Council                                                                X
454   Governmental and Taxing Authorities      Bonneville County Treasurer                                                   X
455   Governmental and Taxing Authorities      Boon County Collector Of                                                      X
456   Governmental and Taxing Authorities      Boulder County Health Department                                              X
457   Governmental and Taxing Authorities      Boulder County Treasurer                                                      X
458   Governmental and Taxing Authorities      Bournemouth Christchurch and Poole Council                                    X
459   Governmental and Taxing Authorities      Bracknell Forest Council                                        X
460   Governmental and Taxing Authorities      Brent Council                                                   X
461   Governmental and Taxing Authorities      Brighton & Hove City Council                                    X
462   Governmental and Taxing Authorities      Bristol City Council                                            X
463   Governmental and Taxing Authorities      Broome County Health Department                                               X
464   Governmental and Taxing Authorities      Broward County Board of Commissioners                                         X
465   Governmental and Taxing Authorities      Broward County Board of County Commissioners                                  X
466   Governmental and Taxing Authorities      Broward County Tax Collector                                                  X
467   Governmental and Taxing Authorities      Buchanan County Collector Of                                                  X
468   Governmental and Taxing Authorities      Buckinghamshire Council                                         X
469   Governmental and Taxing Authorities      Bucks County Department of Health                                             X
470   Governmental and Taxing Authorities      Buncombe County Tax Collector                                                 X
471   Governmental and Taxing Authorities      Bureau of Employment Programs WV                                              X
472   Governmental and Taxing Authorities      Bureau of Finance                                                             X
473   Governmental and Taxing Authorities      Bureau of Taxation ME                                                         X
474   Governmental and Taxing Authorities      Burlington County Health Dept                                                 X
475   Governmental and Taxing Authorities      Burlington Township                                                           X
476   Governmental and Taxing Authorities      CA State Sales and Use Tax Return                                             X
477   Governmental and Taxing Authorities      California Department of Food & Agriculture                                   X
478   Governmental and Taxing Authorities      California State Board of Equalization                                        X
479   Governmental and Taxing Authorities      California State Franchise Tax Board (handles income tax)                     X
480   Governmental and Taxing Authorities      CAMBRIDGE CITY COUNCIL                                          X
481   Governmental and Taxing Authorities      Canyon County Tax Collector                                                   X
482   Governmental and Taxing Authorities      Cape Fear Public Utility Authority                                            X
483   Governmental and Taxing Authorities      Cardiff Council                                                               X
484   Governmental and Taxing Authorities      Carmen P. Turner, MPA                                                         X
485   Governmental and Taxing Authorities      Carroll County Health Department                                              X
486   Governmental and Taxing Authorities      Carroll County Tax Office                                                     X
487   Governmental and Taxing Authorities      Central Bucks School District                                                 X
488   Governmental and Taxing Authorities      Central District Health Department                                            X
489   Governmental and Taxing Authorities      Charles Lomeli -Solano County Tax Collector                                   X
490   Governmental and Taxing Authorities      Charlotte Alarm Management Service                                            X
491   Governmental and Taxing Authorities      Charlotte County Tax Collector                                                X
492   Governmental and Taxing Authorities      Charlotte Fire Department                                                     X
493   Governmental and Taxing Authorities      Charter Township of Commerce                                                  X
494   Governmental and Taxing Authorities      Chemung County Department of Health                                           X
495   Governmental and Taxing Authorities      Cherokee County Health Dept.                                                  X



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No.                    Category                                     Entity Name (Full Name as per PIIL)   Connection   No Connection
496   Governmental and Taxing Authorities      Chesapeake Health Department Environmental Health                             X
497   Governmental and Taxing Authorities      Chester County Health Dept.                                                   X
498   Governmental and Taxing Authorities      Chesterfield Borough Council                                                  X
499   Governmental and Taxing Authorities      Chesterfield County Treasurer                                                 X
500   Governmental and Taxing Authorities      Chesterfield Health Department                                                X
501   Governmental and Taxing Authorities      Citrus County Health Department                                               X
502   Governmental and Taxing Authorities      Citrus County Tax Collector                                                   X
503   Governmental and Taxing Authorities      City & County of Denver                                        X
504   Governmental and Taxing Authorities      City & County Of Denver Treasury Division                      X
505   Governmental and Taxing Authorities      City & County of Honolulu                                      X
506   Governmental and Taxing Authorities      City and County of Honolulu                                    X
507   Governmental and Taxing Authorities      City And County of San Francisco                                             X
508   Governmental and Taxing Authorities      City Clerk- Niagara Falls                                                    X
509   Governmental and Taxing Authorities      City of Aiken                                                                X
510   Governmental and Taxing Authorities      City of Albany                                                               X
511   Governmental and Taxing Authorities      City of Albuquerque                                                          X
512   Governmental and Taxing Authorities      City of Alhambra                                                             X
513   Governmental and Taxing Authorities      City of Alpharetta                                                           X
514   Governmental and Taxing Authorities      City of Alpharetta Georgia                                                   X
515   Governmental and Taxing Authorities      City of Alphatetta Georgia                                                   X
516   Governmental and Taxing Authorities      City of Amarillo                                                             X
517   Governmental and Taxing Authorities      City of Ammon                                                                X
518   Governmental and Taxing Authorities      City of Anaheim                                                              X
519   Governmental and Taxing Authorities      City of Apopka                                                               X
520   Governmental and Taxing Authorities      City of Arroyo Grande                                                        X
521   Governmental and Taxing Authorities      City of Asheville                                                            X
522   Governmental and Taxing Authorities      City of Atlanta                                                X
523   Governmental and Taxing Authorities      City of Auburn                                                               X
524   Governmental and Taxing Authorities      City of Auburn Admissions Return QTR                                         X
525   Governmental and Taxing Authorities      City of Augusta                                                              X
526   Governmental and Taxing Authorities      City of Austin                                                 X
527   Governmental and Taxing Authorities      City of Bakersfield                                                          X
528   Governmental and Taxing Authorities      City of Bartlesville                                                         X
529   Governmental and Taxing Authorities      City of Bellevue                                               X
530   Governmental and Taxing Authorities      City of Bellevue Admissions Return                                           X
531   Governmental and Taxing Authorities      City of Bellingham ADM Tax Return QTR                                        X
532   Governmental and Taxing Authorities      City of Bend                                                                 X
533   Governmental and Taxing Authorities      City of Berkeley                                                             X
534   Governmental and Taxing Authorities      City of Bonney Lake                                                          X
535   Governmental and Taxing Authorities      City of Bonney Lake Admissions Return QTR                                    X
536   Governmental and Taxing Authorities      City of Bossier City                                                         X
537   Governmental and Taxing Authorities      City of Boston                                                 X
538   Governmental and Taxing Authorities      City of Bowling Green Finance Department                                     X
539   Governmental and Taxing Authorities      City of Bozeman                                                              X
540   Governmental and Taxing Authorities      City of Bradenton                                                            X
541   Governmental and Taxing Authorities      City of Bradford Metropolitan District Council                               X
542   Governmental and Taxing Authorities      City of Brea                                                                 X
543   Governmental and Taxing Authorities      City of Broken Arrow                                                         X
544   Governmental and Taxing Authorities      City of Brookhaven                                                           X
545   Governmental and Taxing Authorities      City of Brownwood                                                            X
546   Governmental and Taxing Authorities      City of Buffalo                                                              X
547   Governmental and Taxing Authorities      City of Camarillo                                                            X
548   Governmental and Taxing Authorities      City of Carlsbad                                                             X
549   Governmental and Taxing Authorities      City of Carrollton                                                           X
550   Governmental and Taxing Authorities      City of Centennial                                                           X
551   Governmental and Taxing Authorities      City of Cerritos                                                             X
552   Governmental and Taxing Authorities      City of Charlotte                                              X
553   Governmental and Taxing Authorities      City of Chattanooga                                            X
554   Governmental and Taxing Authorities      City of Chesapeake                                                           X
555   Governmental and Taxing Authorities      City of Chesapeake Admissions Return                                         X
556   Governmental and Taxing Authorities      City of Chicago                                                X
557   Governmental and Taxing Authorities      City of Chicago Use Tax                                                      X
558   Governmental and Taxing Authorities      City of Christiansburg Meals Tax Return                                      X
559   Governmental and Taxing Authorities      City of Chula Vista                                                          X
560   Governmental and Taxing Authorities      City of Clovis                                                               X
561   Governmental and Taxing Authorities      City of Colonial Heights                                                     X
562   Governmental and Taxing Authorities      City of Colonial Heights F&B Return                                          X
563   Governmental and Taxing Authorities      City of Colorado Springs                                                     X



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No.                    Category                                     Entity Name (Full Name as per PIIL)      Connection   No Connection
564   Governmental and Taxing Authorities      City of Colorado Springs-Finance - City of Colorado Springs                      X
565   Governmental and Taxing Authorities      City of Columbia                                                                 X
566   Governmental and Taxing Authorities      City of Columbia F&B Return                                                      X
567   Governmental and Taxing Authorities      City of Concord                                                                  X
568   Governmental and Taxing Authorities      City of Coral Springs                                                            X
569   Governmental and Taxing Authorities      City of Coral Springs, Police Dept.                                              X
570   Governmental and Taxing Authorities      City of Corona                                                                   X
571   Governmental and Taxing Authorities      City of Corona Fire Department                                                   X
572   Governmental and Taxing Authorities      City of Costa Mesa                                                               X
573   Governmental and Taxing Authorities      City of Crystal Lake                                                             X
574   Governmental and Taxing Authorities      City of Culpeper Admissions Return                                               X
575   Governmental and Taxing Authorities      City of Dallas                                                                   X
576   Governmental and Taxing Authorities      City of Dallas Dept of Code Compliance                                           X
577   Governmental and Taxing Authorities      City of Dallas Fire Rescue Department                                            X
578   Governmental and Taxing Authorities      City of Davis                                                                    X
579   Governmental and Taxing Authorities      City of Douglasville                                                             X
580   Governmental and Taxing Authorities      City of Dublin                                                                   X
581   Governmental and Taxing Authorities      City of Eastvale                                                                 X
582   Governmental and Taxing Authorities      City of El Cajon                                                                 X
583   Governmental and Taxing Authorities      City of Escondido                                                                X
584   Governmental and Taxing Authorities      City of Escondido Fire Department                                                X
585   Governmental and Taxing Authorities      City of Eugene                                                                   X
586   Governmental and Taxing Authorities      City of Everett                                                                  X
587   Governmental and Taxing Authorities      City of Everett B&O Tax Return QTR                                               X
588   Governmental and Taxing Authorities      City of Fairbanks                                                                X
589   Governmental and Taxing Authorities      City of Fairfield                                                                X
590   Governmental and Taxing Authorities      City of Fairfield Fire Department                                                X
591   Governmental and Taxing Authorities      City of Fenton                                                                   X
592   Governmental and Taxing Authorities      City of Florence                                                                 X
593   Governmental and Taxing Authorities      City of Florence Hospitality Return                                              X
594   Governmental and Taxing Authorities      City of Flowood                                                                  X
595   Governmental and Taxing Authorities      City of Forest Acres F&B Return                                                  X
596   Governmental and Taxing Authorities      City of Fort Lauderdale                                           X
597   Governmental and Taxing Authorities      City of Fort Worth                                                              X
598   Governmental and Taxing Authorities      City of Fredericksburg                                                          X
599   Governmental and Taxing Authorities      City of Fredericksburg Admissions Return                                        X
600   Governmental and Taxing Authorities      City of Fresno                                                                  X
601   Governmental and Taxing Authorities      City of Gainesville                                                             X
602   Governmental and Taxing Authorities      City of Garden Grove                                                            X
603   Governmental and Taxing Authorities      City of Glendale                                                                X
604   Governmental and Taxing Authorities      City of Greenville                                                              X
605   Governmental and Taxing Authorities      City of Greenville F&B Return                                                   X
606   Governmental and Taxing Authorities      City of Greenwood Village                                                       X
607   Governmental and Taxing Authorities      City of Gresham                                                                 X
608   Governmental and Taxing Authorities      City of Griffin                                                                 X
609   Governmental and Taxing Authorities      City of Harrisonburg                                                            X
610   Governmental and Taxing Authorities      City of Harrisonburg Admissions Return                                          X
611   Governmental and Taxing Authorities      City of Hemet                                                                   X
612   Governmental and Taxing Authorities      City of Henderson                                                               X
613   Governmental and Taxing Authorities      City of High Point                                                              X
614   Governmental and Taxing Authorities      City of Hillsboro                                                               X
615   Governmental and Taxing Authorities      City of Hollywood                                                               X
616   Governmental and Taxing Authorities      City of Houston                                                                 X
617   Governmental and Taxing Authorities      City of Houston Department of Health & Human Servi                              X
618   Governmental and Taxing Authorities      City of Houston Sign Administration                                             X
619   Governmental and Taxing Authorities      City of Houston-Elevator                                                        X
620   Governmental and Taxing Authorities      City of Hyattsville                                                             X
621   Governmental and Taxing Authorities      City of Irvine                                                                  X
622   Governmental and Taxing Authorities      City of Issaquah                                                                X
623   Governmental and Taxing Authorities      City of Issaquah Admissions                                                     X
624   Governmental and Taxing Authorities      City of James F&B Return                                                        X
625   Governmental and Taxing Authorities      City of Johns Creek                                                             X
626   Governmental and Taxing Authorities      City of Joplin                                                                  X
627   Governmental and Taxing Authorities      City of Kelso Admissions Return                                                 X
628   Governmental and Taxing Authorities      City of Kenner                                                                  X
629   Governmental and Taxing Authorities      City of Key West                                                                X
630   Governmental and Taxing Authorities      City of Killeen                                                                 X
631   Governmental and Taxing Authorities      City of Knoxville                                                               X



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632   Governmental and Taxing Authorities      City of Knoxville Admissions Return Downtown West                            X
633   Governmental and Taxing Authorities      City of La Canada Flintridge                                                 X
634   Governmental and Taxing Authorities      City of La Habra                                                             X
635   Governmental and Taxing Authorities      City of La Verne                                                             X
636   Governmental and Taxing Authorities      City of Lacey Admissions Return                                              X
637   Governmental and Taxing Authorities      City of Lake City -Occupational License                                      X
638   Governmental and Taxing Authorities      City of Lake Wales                                                           X
639   Governmental and Taxing Authorities      City of Lakewood                                                             X
640   Governmental and Taxing Authorities      City of Lakewood Admissions Return                                           X
641   Governmental and Taxing Authorities      City of Laramie                                                              X
642   Governmental and Taxing Authorities      City of Largo Florida                                                        X
643   Governmental and Taxing Authorities      City of Las Vegas                                                            X
644   Governmental and Taxing Authorities      City of Las Vegas Business License Renewal                                   X
645   Governmental and Taxing Authorities      City of Laurel                                                               X
646   Governmental and Taxing Authorities      City of Lawrence                                              X
647   Governmental and Taxing Authorities      City of Leesville                                                           X
648   Governmental and Taxing Authorities      City of Little Rock                                                         X
649   Governmental and Taxing Authorities      City of Live Oak                                                            X
650   Governmental and Taxing Authorities      City of Live Oaks                                                           X
651   Governmental and Taxing Authorities      City of Lone Tree                                                           X
652   Governmental and Taxing Authorities      City of Long Beach                                                          X
653   Governmental and Taxing Authorities      City of Longmont                                                            X
654   Governmental and Taxing Authorities      City of Longview - Permits                                                  X
655   Governmental and Taxing Authorities      City of Longview Alarm Services                                             X
656   Governmental and Taxing Authorities      City of Los Angeles                                           X
657   Governmental and Taxing Authorities      City of Los Angeles - CUPA                                                  X
658   Governmental and Taxing Authorities      City of Louisville                                                          X
659   Governmental and Taxing Authorities      City of Lynchburg                                                           X
660   Governmental and Taxing Authorities      City of Lynnwood Admissions Return QTR                                      X
661   Governmental and Taxing Authorities      City of Mary Esther                                                         X
662   Governmental and Taxing Authorities      City of Marysville Admissions Return QTR                                    X
663   Governmental and Taxing Authorities      City of Merced                                                              X
664   Governmental and Taxing Authorities      City of Miami Beach - License Section                                       X
665   Governmental and Taxing Authorities      City of Miami Beach False Alarm                                             X
666   Governmental and Taxing Authorities      City of Middleburg Heights Admissions Return                                X
667   Governmental and Taxing Authorities      City of Midland                                                             X
668   Governmental and Taxing Authorities      City of Modesto                                               X
669   Governmental and Taxing Authorities      City of Moline                                                              X
670   Governmental and Taxing Authorities      City of Moline Food and Liquor Return                                       X
671   Governmental and Taxing Authorities      City of Moore                                                               X
672   Governmental and Taxing Authorities      City of Mountlake Terrance                                                  X
673   Governmental and Taxing Authorities      City of Mt. Juliet                                                          X
674   Governmental and Taxing Authorities      City of Mt. Pleasant Hospitality Return                                     X
675   Governmental and Taxing Authorities      City of New Rochelle                                                        X
676   Governmental and Taxing Authorities      City of New Rochelle Fire Department                                        X
677   Governmental and Taxing Authorities      City of Newnan                                                              X
678   Governmental and Taxing Authorities      City of Newport Admissions Return                                           X
679   Governmental and Taxing Authorities      City of Newport Beach                                                       X
680   Governmental and Taxing Authorities      City of Newport News                                                        X
681   Governmental and Taxing Authorities      City of Nitro                                                               X
682   Governmental and Taxing Authorities      City of Norfolk                                                             X
683   Governmental and Taxing Authorities      City of Norfolk Admissions Return                                           X
684   Governmental and Taxing Authorities      City of Norfolk Virginia                                                    X
685   Governmental and Taxing Authorities      City of Norman - Alarm                                                      X
686   Governmental and Taxing Authorities      City of Norman - Licensing                                                  X
687   Governmental and Taxing Authorities      City of North Las Vegas                                                     X
688   Governmental and Taxing Authorities      City of North Little Rock                                                   X
689   Governmental and Taxing Authorities      City of North Olmsted                                                       X
690   Governmental and Taxing Authorities      City of Oakland                                                             X
691   Governmental and Taxing Authorities      City of Ocala                                                               X
692   Governmental and Taxing Authorities      City of Oceanside                                                           X
693   Governmental and Taxing Authorities      City of Odessa                                                              X
694   Governmental and Taxing Authorities      City of OFallon                                                             X
695   Governmental and Taxing Authorities      City of Omaha                                                               X
696   Governmental and Taxing Authorities      City of Omaha False Alarm Reduction Program                                 X
697   Governmental and Taxing Authorities      City of Ontario                                                             X
698   Governmental and Taxing Authorities      City of Oregon City                                                         X
699   Governmental and Taxing Authorities      City of Oviedo                                                              X



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No.                    Category                                     Entity Name (Full Name as per PIIL)   Connection   No Connection
700   Governmental and Taxing Authorities      City of Palm Springs                                                          X
701   Governmental and Taxing Authorities      City of Pembroke Pines                                                        X
702   Governmental and Taxing Authorities      City of Philadelphia                                                          X
703   Governmental and Taxing Authorities      City of Philadelphia - U & O                                                  X
704   Governmental and Taxing Authorities      City of Pinellas Park                                                         X
705   Governmental and Taxing Authorities      City of Plantation                                                            X
706   Governmental and Taxing Authorities      City of Plantation Police Department                                          X
707   Governmental and Taxing Authorities      City of Port Orange                                                           X
708   Governmental and Taxing Authorities      City of Port Orchard Admissions Return                                        X
709   Governmental and Taxing Authorities      City of Portland                                               X
710   Governmental and Taxing Authorities      City of Portland, Portland Fire                                X
711   Governmental and Taxing Authorities      City of Poulsbo Admissions Return                                            X
712   Governmental and Taxing Authorities      City of Puyallup Admissions Return                                           X
713   Governmental and Taxing Authorities      City of Raleigh                                                              X
714   Governmental and Taxing Authorities      City of Rancho Mirage                                                        X
715   Governmental and Taxing Authorities      City of Redmond                                                              X
716   Governmental and Taxing Authorities      City of Redmond Admissions Return QTR                                        X
717   Governmental and Taxing Authorities      City of Renton                                                               X
718   Governmental and Taxing Authorities      City of Renton Admissions Return QTR                                         X
719   Governmental and Taxing Authorities      City of Richmond Heights Admissions Return                                   X
720   Governmental and Taxing Authorities      City of Riverside                                                            X
721   Governmental and Taxing Authorities      City of Roanoke F&B Return                                                   X
722   Governmental and Taxing Authorities      City of Rock Hill                                                            X
723   Governmental and Taxing Authorities      City of Rock Hill Hospitality Return                                         X
724   Governmental and Taxing Authorities      City of Rolla - Finance Dept                                                 X
725   Governmental and Taxing Authorities      City of Rolling Hills Estates                                                X
726   Governmental and Taxing Authorities      City of Roseville                                                            X
727   Governmental and Taxing Authorities      City of Roseville - Business License                                         X
728   Governmental and Taxing Authorities      City of Sacramento                                             X
729   Governmental and Taxing Authorities      City of Salem                                                                X
730   Governmental and Taxing Authorities      City of Salisbury                                                            X
731   Governmental and Taxing Authorities      City of San Antonio                                                          X
732   Governmental and Taxing Authorities      City of San Bernardino                                                       X
733   Governmental and Taxing Authorities      City of San Bernardino Fire Dept                                             X
734   Governmental and Taxing Authorities      City of San Diego                                                            X
735   Governmental and Taxing Authorities      City of San Jacinto                                                          X
736   Governmental and Taxing Authorities      City of San Marcos                                                           X
737   Governmental and Taxing Authorities      City of San Ramon                                                            X
738   Governmental and Taxing Authorities      City of Sandy Springs                                                        X
739   Governmental and Taxing Authorities      City of Santa Fe                                                             X
740   Governmental and Taxing Authorities      City of Santa Fe Farp                                                        X
741   Governmental and Taxing Authorities      City of Santa Maria                                                          X
742   Governmental and Taxing Authorities      City of Santa Maria Fire Dept.                                               X
743   Governmental and Taxing Authorities      City Of Santa Maria Utilies Department                                       X
744   Governmental and Taxing Authorities      City of Sarasota                                                             X
745   Governmental and Taxing Authorities      City of Seattle                                                X
746   Governmental and Taxing Authorities      City of Sheridan                                                             X
747   Governmental and Taxing Authorities      City of Sherwood                                                             X
748   Governmental and Taxing Authorities      City of Simi Valley                                                          X
749   Governmental and Taxing Authorities      City of Simpsonville                                                         X
750   Governmental and Taxing Authorities      City of Simpsonville Hospitality Return                                      X
751   Governmental and Taxing Authorities      City of Sonora                                                               X
752   Governmental and Taxing Authorities      City of South Gate                                                           X
753   Governmental and Taxing Authorities      City of Spartanburg F&B Return                                               X
754   Governmental and Taxing Authorities      City of Spokane                                                              X
755   Governmental and Taxing Authorities      City of Spokane Admissions Return                                            X
756   Governmental and Taxing Authorities      City of Spokane False Alarm Reduction Program                                X
757   Governmental and Taxing Authorities      City of Springfield                                                          X
758   Governmental and Taxing Authorities      City of Springfield FOG Program                                              X
759   Governmental and Taxing Authorities      City of Springfield, MA                                                      X
760   Governmental and Taxing Authorities      City of St Joseph                                                            X
761   Governmental and Taxing Authorities      City of Stockton                                                             X
762   Governmental and Taxing Authorities      City of Stoke-on-Trent                                                       X
763   Governmental and Taxing Authorities      City of Suffolk                                                              X
764   Governmental and Taxing Authorities      City of Suffolk Admissions Return                                            X
765   Governmental and Taxing Authorities      City of Suffolk Alarm Program                                                X
766   Governmental and Taxing Authorities      City of Summerville Hospitality Return                                       X
767   Governmental and Taxing Authorities      City of Sunrise                                                              X



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No.                    Category                                    Entity Name (Full Name as per PIIL)   Connection   No Connection
768   Governmental and Taxing Authorities      City of Syracuse                                                             X
769   Governmental and Taxing Authorities      City of Tallahassee                                                          X
770   Governmental and Taxing Authorities      City of Taunton                                                              X
771   Governmental and Taxing Authorities      City of Taylorsville                                                         X
772   Governmental and Taxing Authorities      City of Temecula                                                             X
773   Governmental and Taxing Authorities      City of Thousand Oaks                                                        X
774   Governmental and Taxing Authorities      City of Tigard                                                               X
775   Governmental and Taxing Authorities      City of Topeka                                                X
776   Governmental and Taxing Authorities      City of Trussville                                                          X
777   Governmental and Taxing Authorities      City of Tukwila Admissions Return                                           X
778   Governmental and Taxing Authorities      City of Tullahoma                                                           X
779   Governmental and Taxing Authorities      City of Turlock Finance Office                                              X
780   Governmental and Taxing Authorities      City of Vancouver                                             X
781   Governmental and Taxing Authorities      City of Vancouver Washington                                                X
782   Governmental and Taxing Authorities      City of Vienna West Virginia                                                X
783   Governmental and Taxing Authorities      City of Vineland New Jersey                                                 X
784   Governmental and Taxing Authorities      City of Virginia Beach                                                      X
785   Governmental and Taxing Authorities      City of Virginia Beach ADM                                                  X
786   Governmental and Taxing Authorities      City of Visalia                                                             X
787   Governmental and Taxing Authorities      City of Warrenville                                                         X
788   Governmental and Taxing Authorities      City of Warrenville F&B Return                                              X
789   Governmental and Taxing Authorities      City of Waterbury                                                           X
790   Governmental and Taxing Authorities      City of West Covina                                                         X
791   Governmental and Taxing Authorities      City of Westlake Admissions Return                                          X
792   Governmental and Taxing Authorities      City of Wichita                                                             X
793   Governmental and Taxing Authorities      City of Willoughby Admissions Return                                        X
794   Governmental and Taxing Authorities      City of Wilmington                                                          X
795   Governmental and Taxing Authorities      City of Wilsonville                                                         X
796   Governmental and Taxing Authorities      City of Winter Park Permits & Licensing Dept                                X
797   Governmental and Taxing Authorities      City of Wolverhampton Council                                 X
798   Governmental and Taxing Authorities      City of Woodstock                                                           X
799   Governmental and Taxing Authorities      City of Woodway                                                             X
800   Governmental and Taxing Authorities      City of Yorba LInda                                                         X
801   Governmental and Taxing Authorities      City of York Council                                          X
802   Governmental and Taxing Authorities      City Treasurer Fire Prevention Division                                     X
803   Governmental and Taxing Authorities      City-County Tax Collector                                                   X
804   Governmental and Taxing Authorities      Clackamas County Public Health Division                                     X
805   Governmental and Taxing Authorities      Clackamas County Tax Collector                                              X
806   Governmental and Taxing Authorities      Clark County                                                  X
807   Governmental and Taxing Authorities      Clark County Business License                                               X
808   Governmental and Taxing Authorities      Clark County CLerk                                                          X
809   Governmental and Taxing Authorities      Clark County Health Department                                              X
810   Governmental and Taxing Authorities      Clark County Sheriff's Office                                               X
811   Governmental and Taxing Authorities      Clark County Treasurer                                                      X
812   Governmental and Taxing Authorities      Clay County Collector                                                       X
813   Governmental and Taxing Authorities      Clerk of Circuit Court                                                      X
814   Governmental and Taxing Authorities      Clerk of The Circuit Court                                                  X
815   Governmental and Taxing Authorities      Cleveland County Treasurer                                                  X
816   Governmental and Taxing Authorities      Clinton County Dept. of Public Health                                       X
817   Governmental and Taxing Authorities      CO City of Centennial Sales and Use Return                                  X
818   Governmental and Taxing Authorities      CO City of Colorado Springs Sales & Use Return                              X
819   Governmental and Taxing Authorities      CO City of Denver                                                           X
820   Governmental and Taxing Authorities      CO City of Grand Junction                                                   X
821   Governmental and Taxing Authorities      CO City of Greewood Village                                                 X
822   Governmental and Taxing Authorities      CO City of Lakewood                                                         X
823   Governmental and Taxing Authorities      CO City of Lone Tree                                                        X
824   Governmental and Taxing Authorities      CO City of Longmont                                                         X
825   Governmental and Taxing Authorities      CO City of Louisville Sales & Use Return                                    X
826   Governmental and Taxing Authorities      CO City of Sheridan River Point Sales Tax                                   X
827   Governmental and Taxing Authorities      CO State Sales Tax Return                                                   X
828   Governmental and Taxing Authorities      Cobb County Business License Division                                       X
829   Governmental and Taxing Authorities      Cobb County Environmental Health                                            X
830   Governmental and Taxing Authorities      Cobb County Tax Commissioner                                                X
831   Governmental and Taxing Authorities      Cobb County Water System                                                    X
832   Governmental and Taxing Authorities      Collier County Tax Collector                                                X
833   Governmental and Taxing Authorities      Colorado Department of Public Health                                        X
834   Governmental and Taxing Authorities      Colorado Department of Public Health & Environment                          X
835   Governmental and Taxing Authorities      Colorado Department of Revenue                                              X



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No.                    Category                                  Entity Name (Full Name as per PIIL)        Connection   No Connection
836   Governmental and Taxing Authorities      Colorado Division of Oil and Public Safety                                      X
837   Governmental and Taxing Authorities      Columbia County Health Department                                               X
838   Governmental and Taxing Authorities      Columbia County Tax Collector                                                   X
839   Governmental and Taxing Authorities      Commissioner of The Revenue                                                     X
840   Governmental and Taxing Authorities      Commonwealth of Kentucky KY                                      X
841   Governmental and Taxing Authorities      Commonwealth of KY                                                             X
842   Governmental and Taxing Authorities      Commonwealth of Massachusetts                                    X
843   Governmental and Taxing Authorities      Commonwealth of Pennsylvania                                     X
844   Governmental and Taxing Authorities      Commonwealth of the Northern Mariana Islands                     X
845   Governmental and Taxing Authorities      Comptroller of the Treasury MD                                                 X
846   Governmental and Taxing Authorities      Connecticut Connecticut Department of Revenue Services                         X
847   Governmental and Taxing Authorities      Contra Costa County Tax Collector                                              X
848   Governmental and Taxing Authorities      Contra Costa Environmental Health                                              X
849   Governmental and Taxing Authorities      Cook County, Chicago, Illinois; Department of Revenue                          X
850   Governmental and Taxing Authorities      County of Albemarle                                                            X
851   Governmental and Taxing Authorities      County of Buncombe                                                             X
852   Governmental and Taxing Authorities      County of Ector                                                                X
853   Governmental and Taxing Authorities      County of Fairfax                                                              X
854   Governmental and Taxing Authorities      County of Greenville Hospitality Return                                        X
855   Governmental and Taxing Authorities      County of Greenville Treasurer                                                 X
856   Governmental and Taxing Authorities      County of Henrico F&B                                                          X
857   Governmental and Taxing Authorities      County Of Henrico Virginia                                                     X
858   Governmental and Taxing Authorities      County of Los Angeles                                            X
859   Governmental and Taxing Authorities      County Of Loudoun                                                              X
860   Governmental and Taxing Authorities      County of Loudoun Va-Treasurer                                                 X
861   Governmental and Taxing Authorities      County of Montgomery                                                           X
862   Governmental and Taxing Authorities      County Of Orange                                                 X
863   Governmental and Taxing Authorities      County of Orange - Collections                                                 X
864   Governmental and Taxing Authorities      County of Potter                                                               X
865   Governmental and Taxing Authorities      County of Richland Hospitality Return                                          X
866   Governmental and Taxing Authorities      County of Riverside                                                            X
867   Governmental and Taxing Authorities      County of Sacramento                                                           X
868   Governmental and Taxing Authorities      County of San Bernardino                                                       X
869   Governmental and Taxing Authorities      County of San Bernardino-Health Permit                                         X
870   Governmental and Taxing Authorities      County of San Diego Dept of Health                                             X
871   Governmental and Taxing Authorities      County Of San Joaquin                                                          X
872   Governmental and Taxing Authorities      County of San Luis Obispo                                                      X
873   Governmental and Taxing Authorities      County of Santa Barbara                                          X
874   Governmental and Taxing Authorities      County of Spartanburg Hospitality Return                                       X
875   Governmental and Taxing Authorities      County of Ventura                                                X
876   Governmental and Taxing Authorities      Coweta County Health Department                                                X
877   Governmental and Taxing Authorities      Cowlitz County Health Department                                               X
878   Governmental and Taxing Authorities      Cowlitz County Treasurer                                                       X
879   Governmental and Taxing Authorities      Crawley Borough Council                                          X
880   Governmental and Taxing Authorities      CT State Sales and Use Tax Return                                              X
881   Governmental and Taxing Authorities      Culpeper County Department of Health                                           X
882   Governmental and Taxing Authorities      Cuyahoga County Board of Health                                                X
883   Governmental and Taxing Authorities      Dacorum Borough Council                                          X
884   Governmental and Taxing Authorities      Dawson County Environmental Health                                             X
885   Governmental and Taxing Authorities      Dawson County Planning                                                         X
886   Governmental and Taxing Authorities      Dc Government Wholesale                                                        X
887   Governmental and Taxing Authorities      DC State Sales and Use Tax Return                                              X
888   Governmental and Taxing Authorities      DC Treasurer - Department of Consumer & Regulatory Affairs                     X
889   Governmental and Taxing Authorities      Dekalb County Department of Watershed Management                               X
890   Governmental and Taxing Authorities      Dekalb County Health Dept.                                                     X
891   Governmental and Taxing Authorities      Dekalb County Tax Commissioner                                                 X
892   Governmental and Taxing Authorities      DeKalk County Tax Commissioner                                                 X
893   Governmental and Taxing Authorities      Delaware Division of Revenue                                                   X
894   Governmental and Taxing Authorities      Delta Charter Township                                                         X
895   Governmental and Taxing Authorities      Denver Fire Department                                                         X
896   Governmental and Taxing Authorities      Deparment of Labor and Industry / Boiler Safety - Virginia                     X
897   Governmental and Taxing Authorities      Department of Assessments & Taxation                                           X
898   Governmental and Taxing Authorities      Department of Business                                                         X
899   Governmental and Taxing Authorities      Department of Business & Professional Regulation                               X
900   Governmental and Taxing Authorities      Department of Consumer & Business Serv.                                        X
901   Governmental and Taxing Authorities      Department of Consumer & Regulatory Affairs                                    X
902   Governmental and Taxing Authorities      Department of Economic Security AZ                                             X
903   Governmental and Taxing Authorities      Department of Economic Security MN                                             X



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No.                    Category                                 Entity Name (Full Name as per PIIL)     Connection   No Connection
904   Governmental and Taxing Authorities      Department of Employment and Training RI                                    X
905   Governmental and Taxing Authorities      Department of Employment and Training VT                                    X
906   Governmental and Taxing Authorities      Department of Employment Security IL                                        X
907   Governmental and Taxing Authorities      Department of Employment Security NH                                        X
908   Governmental and Taxing Authorities      Department of Employment WY                                                 X
909   Governmental and Taxing Authorities      Department of Finance Administration AR                                     X
910   Governmental and Taxing Authorities      Department of Health & Human Services                        X
911   Governmental and Taxing Authorities      Department of Homeland Security                                            X
912   Governmental and Taxing Authorities      Department of Human Resources KS                                           X
913   Governmental and Taxing Authorities      Department of Industrial Relations                                         X
914   Governmental and Taxing Authorities      Department of Industrial Relations AL                                      X
915   Governmental and Taxing Authorities      Department of Job and Family Services OH                                   X
916   Governmental and Taxing Authorities      Department of Labor                                                        X
917   Governmental and Taxing Authorities      Department of Labor - Department of Labor & Industries                     X
918   Governmental and Taxing Authorities      Department of Labor & Industries                                           X
919   Governmental and Taxing Authorities      DEPARTMENT OF LABOR & INDUSTRIES WA                                        X
920   Governmental and Taxing Authorities      Department of labor and Employment CO                        X
921   Governmental and Taxing Authorities      Department of Labor and Employment Security FL                             X
922   Governmental and Taxing Authorities      Department of Labor and Human Resources PR                                 X
923   Governmental and Taxing Authorities      Department of Labor and Industrial Relations HI                            X
924   Governmental and Taxing Authorities      Department of Labor and Industry MT                                        X
925   Governmental and Taxing Authorities      Department of Labor and Industry PA                          X
926   Governmental and Taxing Authorities      Department of Labor and Workforce Development NJ                           X
927   Governmental and Taxing Authorities      Department of Labor and Workforce Development TN             X
928   Governmental and Taxing Authorities      Department of Labor DE                                                     X
929   Governmental and Taxing Authorities      Department of labor Employment Security Division AK                        X
930   Governmental and Taxing Authorities      Department of labor GA                                                     X
931   Governmental and Taxing Authorities      Department of Labor ID                                                     X
932   Governmental and Taxing Authorities      Department of Labor LA                                                     X
933   Governmental and Taxing Authorities      Department of Labor MD                                                     X
934   Governmental and Taxing Authorities      Department of Labor ME                                                     X
935   Governmental and Taxing Authorities      Department of Labor NE                                                     X
936   Governmental and Taxing Authorities      Department of Labor NM                                                     X
937   Governmental and Taxing Authorities      Department of Labor NY                                                     X
938   Governmental and Taxing Authorities      Department of Labor SD                                                     X
939   Governmental and Taxing Authorities      Department of Labor VI                                                     X
940   Governmental and Taxing Authorities      Department of Liquor Control                                               X
941   Governmental and Taxing Authorities      Department of Public Works                                   X
942   Governmental and Taxing Authorities      Department of Revenue & Taxation SC                                        X
943   Governmental and Taxing Authorities      Department of Revenue AL                                     X
944   Governmental and Taxing Authorities      Department of Revenue and Finance IA                                       X
945   Governmental and Taxing Authorities      Department of Revenue and Taxation GU                                      X
946   Governmental and Taxing Authorities      Department of Revenue AZ                                                   X
947   Governmental and Taxing Authorities      Department of Revenue CO                                     X
948   Governmental and Taxing Authorities      Department of Revenue GA                                     X
949   Governmental and Taxing Authorities      Department of Revenue IL                                                   X
950   Governmental and Taxing Authorities      Department of Revenue IN                                                   X
951   Governmental and Taxing Authorities      Department of Revenue KS                                     X
952   Governmental and Taxing Authorities      Department of Revenue LA                                                   X
953   Governmental and Taxing Authorities      Department of Revenue MN                                                   X
954   Governmental and Taxing Authorities      Department of Revenue MO                                                   X
955   Governmental and Taxing Authorities      Department of Revenue MT                                                   X
956   Governmental and Taxing Authorities      Department of Revenue NC                                                   X
957   Governmental and Taxing Authorities      Department of Revenue NE                                                   X
958   Governmental and Taxing Authorities      Department of Revenue OR                                                   X
959   Governmental and Taxing Authorities      Department of Revenue PA                                     X
960   Governmental and Taxing Authorities      Department of Revenue Services CT                                          X
961   Governmental and Taxing Authorities      Department of Revenue WI                                                   X
962   Governmental and Taxing Authorities      Department of Tax & Revenue WV                                             X
963   Governmental and Taxing Authorities      Department of Taxation and Finance NY                                      X
964   Governmental and Taxing Authorities      Department of Taxation HI                                                  X
965   Governmental and Taxing Authorities      Department of Taxation OH                                                  X
966   Governmental and Taxing Authorities      Department of Taxation VA                                                  X
967   Governmental and Taxing Authorities      Department of Taxes VT                                                     X
968   Governmental and Taxing Authorities      Department of Treasury MI                                                  X
969   Governmental and Taxing Authorities      Department of Treasury PR                                                  X
970   Governmental and Taxing Authorities      Department of Workforce Development IN                                     X
971   Governmental and Taxing Authorities      Department of Workforce Development WI                                     X



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 No.                    Category                                   Entity Name (Full Name as per PIIL)   Connection   No Connection
972    Governmental and Taxing Authorities      Department of Workforce Services UT                                         X
973    Governmental and Taxing Authorities      Deschutes Co. Enviromental Health                                           X
974    Governmental and Taxing Authorities      Dickson City / Mid Valley School District                                   X
975    Governmental and Taxing Authorities      Dickson City Boro                                                           X
976    Governmental and Taxing Authorities      Dickson City School District                                                X
977    Governmental and Taxing Authorities      District Board of Health Mah. County                                        X
978    Governmental and Taxing Authorities      District of Columbia                                                        X
979    Governmental and Taxing Authorities      Division of Employment Security MO                                          X
980    Governmental and Taxing Authorities      Division of Hotels & Restaurants                                            X
981    Governmental and Taxing Authorities      Division of Revenue DE                                                      X
982    Governmental and Taxing Authorities      Division of Taxation NJ                                                     X
983    Governmental and Taxing Authorities      Division of Taxation RI                                                     X
984    Governmental and Taxing Authorities      Dli-Safety                                                                  X
985    Governmental and Taxing Authorities      Dorset Council                                               X
986    Governmental and Taxing Authorities      Douglas County Health Department                                           X
987    Governmental and Taxing Authorities      Douglas County Sheriff's Office                                            X
988    Governmental and Taxing Authorities      Douglas County Treasurer                                                   X
989    Governmental and Taxing Authorities      Douglas Environmental Health                                               X
990    Governmental and Taxing Authorities      Dover District Council                                                     X
991    Governmental and Taxing Authorities      Dublin City Council                                          X
992    Governmental and Taxing Authorities      Duke of Yorks Brighton                                                     X
993    Governmental and Taxing Authorities      Dundee City Council                                          X
994    Governmental and Taxing Authorities      Dupage Health Department                                                   X
995    Governmental and Taxing Authorities      Durham City Council                                                        X
996    Governmental and Taxing Authorities      Dutchess County Dept. of Health                                            X
997    Governmental and Taxing Authorities      Duval County City Of Jacksonville                                          X
998    Governmental and Taxing Authorities      Duval County Tax Collector                                                 X
999    Governmental and Taxing Authorities      East Cambridgeshire District Council                         X
1000   Governmental and Taxing Authorities      East Staffordshire Borough Council                                         X
1001   Governmental and Taxing Authorities      Eastern Idaho Public Health District                                       X
1002   Governmental and Taxing Authorities      Eaton County Clerk                                                         X
1003   Governmental and Taxing Authorities      Ector County Health Department                                             X
1004   Governmental and Taxing Authorities      EDINBOROUGH COUNCIL                                                        X
1005   Governmental and Taxing Authorities      El Dorado County Enviromental                                              X
1006   Governmental and Taxing Authorities      El Dorado County SheriffS Office                                           X
1007   Governmental and Taxing Authorities      El Paso County Health Depart                                               X
1008   Governmental and Taxing Authorities      El Paso County Treasurer                                                   X
1009   Governmental and Taxing Authorities      Employment Commission VA                                     X
1010   Governmental and Taxing Authorities      Employment Department OR                                                   X
1011   Governmental and Taxing Authorities      Employment Development Department CA                                       X
1012   Governmental and Taxing Authorities      Employment Security Commission MS                                          X
1013   Governmental and Taxing Authorities      Employment Security Commission NC                                          X
1014   Governmental and Taxing Authorities      Employment Security Commission OK                            X
1015   Governmental and Taxing Authorities      Employment Security Commission SC                                          X
1016   Governmental and Taxing Authorities      Employment Security Department WA                                          X
1017   Governmental and Taxing Authorities      Employment Security Division AR                                            X
1018   Governmental and Taxing Authorities      Employment Security Division Labor Department CT                           X
1019   Governmental and Taxing Authorities      Employment Security Division MI                                            X
1020   Governmental and Taxing Authorities      Employment Security Division NV                                            X
1021   Governmental and Taxing Authorities      Enfield Council                                              X
1022   Governmental and Taxing Authorities      EPSOM & EWELL                                                              X
1023   Governmental and Taxing Authorities      Erie County Health Department                                              X
1024   Governmental and Taxing Authorities      Essex County Council                                         X
1025   Governmental and Taxing Authorities      EXETER CITY COUNCIL                                          X
1026   Governmental and Taxing Authorities      Fairbanks North Star Borough                                               X
1027   Governmental and Taxing Authorities      Fairfax Circuit Court                                                      X
1028   Governmental and Taxing Authorities      Falkirk Council                                              X
1029   Governmental and Taxing Authorities      False Alarm Reduction Unit                                                 X
1030   Governmental and Taxing Authorities      Fishkind and Associates Inc                                                X
1031   Governmental and Taxing Authorities      FL Miami Beach Resort Tax                                                  X
1032   Governmental and Taxing Authorities      FL Miami Dade County Homeless & Spouse Abuse Tax                           X
1033   Governmental and Taxing Authorities      FL State Sales and Use Tax Return                                          X
1034   Governmental and Taxing Authorities      Flintshire County Council                                                  X
1035   Governmental and Taxing Authorities      Florida Department of Revenue                                              X
1036   Governmental and Taxing Authorities      Florida Department of State                                                X
1037   Governmental and Taxing Authorities      Floyd County Health Department                                             X
1038   Governmental and Taxing Authorities      Floyd County Treasurer                                                     X
1039   Governmental and Taxing Authorities      Fort Bend County Environmental Health Dept.                                X



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 No.                    Category                                  Entity Name (Full Name as per PIIL)        Connection   No Connection
1040   Governmental and Taxing Authorities      Fort Wayne-Allen County Department of Health                                    X
1041   Governmental and Taxing Authorities      Fort Worth Water Department                                                     X
1042   Governmental and Taxing Authorities      Frederick County Health Department                                              X
1043   Governmental and Taxing Authorities      Fredericksburg City Health Department                                           X
1044   Governmental and Taxing Authorities      Fresno County Tax Collector                                                     X
1045   Governmental and Taxing Authorities      Fresno County Treasurer                                                         X
1046   Governmental and Taxing Authorities      Fresno Fire Department                                                          X
1047   Governmental and Taxing Authorities      Fulton County Department of Health And Wellness                                 X
1048   Governmental and Taxing Authorities      Fulton County Tax Commissioner                                                  X
1049   Governmental and Taxing Authorities      Fulton County/Public Works                                                      X
1050   Governmental and Taxing Authorities      GA State Sales & Use                                                            X
1051   Governmental and Taxing Authorities      Gallatin County Treasurer                                                       X
1052   Governmental and Taxing Authorities      Gaston Co & Gastonia City                                                       X
1053   Governmental and Taxing Authorities      Gaston Co & Lowell City                                                         X
1054   Governmental and Taxing Authorities      Gaston County Tax Collection                                                    X
1055   Governmental and Taxing Authorities      Georgia Department of Labor- Safety Engineering                                 X
1056   Governmental and Taxing Authorities      Georgia Department of Public Health                              X
1057   Governmental and Taxing Authorities      Georgia Department of Revenue                                    X
1058   Governmental and Taxing Authorities      Georgia Lottery Corporation                                                    X
1059   Governmental and Taxing Authorities      Glasgow City Council                                             X
1060   Governmental and Taxing Authorities      Gloucester City Council                                                        X
1061   Governmental and Taxing Authorities      Gloucester County Department Of Health                                         X
1062   Governmental and Taxing Authorities      Gloucestershire County Council                                   X
1063   Governmental and Taxing Authorities      Grayson County Tax Assessor                                                    X
1064   Governmental and Taxing Authorities      Greene Co. Combined Health Dist.                                               X
1065   Governmental and Taxing Authorities      Greene County Collector                                                        X
1066   Governmental and Taxing Authorities      Greenwood Village                                                              X
1067   Governmental and Taxing Authorities      Guam                                                             X
1068   Governmental and Taxing Authorities      Guam Department of Environmental Health                                        X
1069   Governmental and Taxing Authorities      Guam Department of Revenue & Taxation                                          X
1070   Governmental and Taxing Authorities      Guilford County Tax Collection                                                 X
1071   Governmental and Taxing Authorities      Gwinnett County Georgia                                                        X
1072   Governmental and Taxing Authorities      Gwinnett County Tax Commissioner                                               X
1073   Governmental and Taxing Authorities      Gwinnett Environmental Health Services                                         X
1074   Governmental and Taxing Authorities      HAB-BPT                                                                        X
1075   Governmental and Taxing Authorities      Hall & Associates                                                              X
1076   Governmental and Taxing Authorities      Hall County Health Department                                                  X
1077   Governmental and Taxing Authorities      Halton Borough Council                                                         X
1078   Governmental and Taxing Authorities      Hamilton County Environmental Health                                           X
1079   Governmental and Taxing Authorities      Hamilton County Health Department                                              X
1080   Governmental and Taxing Authorities      Hamilton County Treasurer                                                      X
1081   Governmental and Taxing Authorities      Harford County Health Department                                               X
1082   Governmental and Taxing Authorities      Harford County Maryland                                                        X
1083   Governmental and Taxing Authorities      Haringey Council                                                               X
1084   Governmental and Taxing Authorities      Harlow Council                                                                 X
1085   Governmental and Taxing Authorities      Harris County M.U.D. #368                                                      X
1086   Governmental and Taxing Authorities      Harris County Public Health                                                    X
1087   Governmental and Taxing Authorities      Harris County Treasurer                                                        X
1088   Governmental and Taxing Authorities      Harrisonburg Health Dept. - Harrisonburg Health Department                     X
1089   Governmental and Taxing Authorities      Hawaii Department of Taxation                                                  X
1090   Governmental and Taxing Authorities      Hawaii District Health Office                                                  X
1091   Governmental and Taxing Authorities      Hawaii Occupational Safety & Health Division                                   X
1092   Governmental and Taxing Authorities      Hazle Twp Fire & Rescue                                                        X
1093   Governmental and Taxing Authorities      Hazleton Are SD & Hazle Township                                               X
1094   Governmental and Taxing Authorities      Hendricks County Health Department                                             X
1095   Governmental and Taxing Authorities      Henrico County Health Department                                               X
1096   Governmental and Taxing Authorities      Henry County Environmental Health                                              X
1097   Governmental and Taxing Authorities      Henry County Tax Commissioner                                                  X
1098   Governmental and Taxing Authorities      HI Department of Taxation Excise Tax Return                                    X
1099   Governmental and Taxing Authorities      HI State Sales and Use Tax Return                                              X
1100   Governmental and Taxing Authorities      Hillingdon Council                                                             X
1101   Governmental and Taxing Authorities      Hillsborough County Tax Collector                                              X
1102   Governmental and Taxing Authorities      Hinckley & Bosworth Borough Council                              X
1103   Governmental and Taxing Authorities      HM Revenue & Customs                                             X
1104   Governmental and Taxing Authorities      HM Revenue & Customs; VAT Returns & CT161 & WHT Quarterly        X
1105   Governmental and Taxing Authorities      Hooksett Fire Department                                                       X
1106   Governmental and Taxing Authorities      Hooksett Police Department                                                     X
1107   Governmental and Taxing Authorities      Howard County Dept. of FInance                                                 X



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 No.                    Category                                    Entity Name (Full Name as per PIIL)   Connection   No Connection
1108   Governmental and Taxing Authorities      Howard County Director Of Finance                                            X
1109   Governmental and Taxing Authorities      Howard County Health Department                                              X
1110   Governmental and Taxing Authorities      Hull City Council                                                            X
1111   Governmental and Taxing Authorities      Huntersville False Alarm Reduction                                           X
1112   Governmental and Taxing Authorities      Huntingdonshire District Council                              X
1113   Governmental and Taxing Authorities      ID State Sales and Use Tax Return                                           X
1114   Governmental and Taxing Authorities      Idaho State Tax Commission                                                  X
1115   Governmental and Taxing Authorities      IL City of Chicago Amusement                                                X
1116   Governmental and Taxing Authorities      IL City of Chicago Use Tax                                                  X
1117   Governmental and Taxing Authorities      IL State Sales and Use Tax                                                  X
1118   Governmental and Taxing Authorities      Illinois Department of Revenue                                              X
1119   Governmental and Taxing Authorities      Illinois Liquor Control Commission                                          X
1120   Governmental and Taxing Authorities      Illinois Metropolitan Pier and Exposition Authority                         X
1121   Governmental and Taxing Authorities      Illinois State Fire Marshall                                                X
1122   Governmental and Taxing Authorities      IN State F&B Hamilton Co                                                    X
1123   Governmental and Taxing Authorities      IN State Sales and Use Tax Return                                           X
1124   Governmental and Taxing Authorities      Indiana Alcohol & Tobacco Commission                                        X
1125   Governmental and Taxing Authorities      Indiana Department of Revenue                                 X
1126   Governmental and Taxing Authorities      Inland Revenue                                                X
1127   Governmental and Taxing Authorities      Interquest North Business Improvement District 1609                         X
1128   Governmental and Taxing Authorities      Iowa Department of Revenue and Finance                                      X
1129   Governmental and Taxing Authorities      Ipswich Borough Council                                       X
1130   Governmental and Taxing Authorities      Irish Music Rights Organisation                                             X
1131   Governmental and Taxing Authorities      IRS                                                           X
1132   Governmental and Taxing Authorities      Isle of Wight Council                                         X
1133   Governmental and Taxing Authorities      J.R. Kroll – Seminole County Tax Collector                                  X
1134   Governmental and Taxing Authorities      Jackson County Health Department                                            X
1135   Governmental and Taxing Authorities      Jackson County Treasurer                                                    X
1136   Governmental and Taxing Authorities      James City County                                                           X
1137   Governmental and Taxing Authorities      Janice A Warren Tax Collector                                               X
1138   Governmental and Taxing Authorities      Jasper County Merchant                                                      X
1139   Governmental and Taxing Authorities      Jefferson County                                                            X
1140   Governmental and Taxing Authorities      Jefferson County Department of Health                                       X
1141   Governmental and Taxing Authorities      Jefferson County Dept of Health & Environment                               X
1142   Governmental and Taxing Authorities      Jefferson Parish Sheriff's Office                                           X
1143   Governmental and Taxing Authorities      Jerry "Peanuts" Gaines Warren County Sheriff                                X
1144   Governmental and Taxing Authorities      Jersey Customs and Immigration Service                                      X
1145   Governmental and Taxing Authorities      Job Service ND                                                              X
1146   Governmental and Taxing Authorities      Joe G Tedder                                                                X
1147   Governmental and Taxing Authorities      John R. Ames, CTA                                                           X
1148   Governmental and Taxing Authorities      Johnson County Health Department                                            X
1149   Governmental and Taxing Authorities      Johnson County Treasurer                                                    X
1150   Governmental and Taxing Authorities      K. E. Coleman, MBA - K. E. Coleman, MBA                                     X
1151   Governmental and Taxing Authorities      Kanawha County Sheriff                                                      X
1152   Governmental and Taxing Authorities      Kanawha County Tax Division                                                 X
1153   Governmental and Taxing Authorities      Kanawha-Charleston Health Department                                        X
1154   Governmental and Taxing Authorities      Kansas Department of Revenue                                                X
1155   Governmental and Taxing Authorities      Kansas Dept of Agriculture                                                  X
1156   Governmental and Taxing Authorities      Kentucky Department of Revenue                                              X
1157   Governmental and Taxing Authorities      Kentucky Revenue Cabinet                                                    X
1158   Governmental and Taxing Authorities      Kentucky Revenue cabinet KY                                                 X
1159   Governmental and Taxing Authorities      Kern County Environmental Health Services Departme                          X
1160   Governmental and Taxing Authorities      Kern County Treasurer/ Tax Collector                                        X
1161   Governmental and Taxing Authorities      King County Treasury                                                        X
1162   Governmental and Taxing Authorities      Kitsap County Health District                                               X
1163   Governmental and Taxing Authorities      Kitsap County Treasurer                                                     X
1164   Governmental and Taxing Authorities      Klein ISD                                                                   X
1165   Governmental and Taxing Authorities      Knox County Health Dept.                                                    X
1166   Governmental and Taxing Authorities      Knox County Trustee                                                         X
1167   Governmental and Taxing Authorities      KS State Liquor Warren                                                      X
1168   Governmental and Taxing Authorities      KS State Sales Tax                                                          X
1169   Governmental and Taxing Authorities      KY - BOWLING GREEN                                                          X
1170   Governmental and Taxing Authorities      KY - CAMPBELL COUNTY                                                        X
1171   Governmental and Taxing Authorities      KY - FAYETTE COUNTY                                                         X
1172   Governmental and Taxing Authorities      KY - LEXINGTON - FAYETTE                                                    X
1173   Governmental and Taxing Authorities      KY - SHELBYVILLE                                                            X
1174   Governmental and Taxing Authorities      KY - WARREN COUNTY                                                          X
1175   Governmental and Taxing Authorities      KY-WILDER                                                                   X



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 No.                    Category                                  Entity Name (Full Name as per PIIL)           Connection   No Connection
1176   Governmental and Taxing Authorities      L.B. Hackney                                                                       X
1177   Governmental and Taxing Authorities      L.B. LAMBETH                                                                       X
1178   Governmental and Taxing Authorities      LA Bossier City Parish Sales and Use Tax Return                                    X
1179   Governmental and Taxing Authorities      La County Clerk                                                                    X
1180   Governmental and Taxing Authorities      LA Jefferson Parish Sales and Use Tax Return                                       X
1181   Governmental and Taxing Authorities      LA St. Tammany Parish sales                                                        X
1182   Governmental and Taxing Authorities      LA State Sales and Use Tax                                                         X
1183   Governmental and Taxing Authorities      LA Vernon City Parish Sales and Use Tax                                            X
1184   Governmental and Taxing Authorities      Lackawanna County                                                                  X
1185   Governmental and Taxing Authorities      Lackawanna County Treasurer                                                        X
1186   Governmental and Taxing Authorities      Lake County Clerk                                                                  X
1187   Governmental and Taxing Authorities      Lake County General Health Dist.                                                   X
1188   Governmental and Taxing Authorities      Lake County Health Department                                                      X
1189   Governmental and Taxing Authorities      Lake Zurich Fire Department                                                        X
1190   Governmental and Taxing Authorities      Lane County Environmental Health                                                   X
1191   Governmental and Taxing Authorities      Lane County Tax Collector                                                          X
1192   Governmental and Taxing Authorities      Lawrence County Health Department                                                  X
1193   Governmental and Taxing Authorities      Lawrence County Treasurer                                                          X
1194   Governmental and Taxing Authorities      LB OF HARINGEY                                                                     X
1195   Governmental and Taxing Authorities      LB OF SOUTHWARK                                                                    X
1196   Governmental and Taxing Authorities      Lebanon County Tax Claim                                                           X
1197   Governmental and Taxing Authorities      Ledge Light Health District                                                        X
1198   Governmental and Taxing Authorities      Lee County Tax Collector                                                           X
1199   Governmental and Taxing Authorities      Leeds City Council                                                  X
1200   Governmental and Taxing Authorities      Leicestershire County Council                                       X
1201   Governmental and Taxing Authorities      Leon County Health Department                                                     X
1202   Governmental and Taxing Authorities      Lewes and Eastbourne Councils                                                     X
1203   Governmental and Taxing Authorities      Lexington Division of Police                                                      X
1204   Governmental and Taxing Authorities      Lexington-Fayette County Health Department                                        X
1205   Governmental and Taxing Authorities      Lexington-Fayette Urban County Government                                         X
1206   Governmental and Taxing Authorities      Lincoln County Health Department                                                  X
1207   Governmental and Taxing Authorities      Linn County Environmental Health                                                  X
1208   Governmental and Taxing Authorities      Linn County Tax Collector                                                         X
1209   Governmental and Taxing Authorities      LIVERPOOL CITY COUNCIL                                              X
1210   Governmental and Taxing Authorities      Liverpool City Council                                              X
1211   Governmental and Taxing Authorities      Llandudno Town Council                                                            X
1212   Governmental and Taxing Authorities      LONDON BOR NEWHAM                                                                 X
1213   Governmental and Taxing Authorities      London Borough of Bexley                                            X
1214   Governmental and Taxing Authorities      London Borough of Bromley                                           X
1215   Governmental and Taxing Authorities      London Borough of Hounslow                                          X
1216   Governmental and Taxing Authorities      London Borough of Redbridge                                         X
1217   Governmental and Taxing Authorities      Lorain County General Health Dist.                                                X
1218   Governmental and Taxing Authorities      Los Angeles County                                                  X
1219   Governmental and Taxing Authorities      Los Angeles County Department of Public Works                                     X
1220   Governmental and Taxing Authorities      Los Angeles County Fire Department                                                X
1221   Governmental and Taxing Authorities      Los Angeles County Tax Collector                                                  X
1222   Governmental and Taxing Authorities      Los Angeles County Treasurer                                                      X
1223   Governmental and Taxing Authorities      Los Angeles Department of Building                                                X
1224   Governmental and Taxing Authorities      Loudoun County Business Tax                                                       X
1225   Governmental and Taxing Authorities      Loudoun County Health Department                                                  X
1226   Governmental and Taxing Authorities      Loudoun County Sherriffs Department                                               X
1227   Governmental and Taxing Authorities      Louisiana Department of Revenue                                                   X
1228   Governmental and Taxing Authorities      Luton Council                                                       X
1229   Governmental and Taxing Authorities      Luzerne City & Hazleton TWP                                                       X
1230   Governmental and Taxing Authorities      Lynchburg City Health Department                                                  X
1231   Governmental and Taxing Authorities      Lynn Marie Goya, County Clerk - Lynn Marie Goya, County Clerk                     X
1232   Governmental and Taxing Authorities      MA State Sales and Use Tax Return                                                 X
1233   Governmental and Taxing Authorities      Maine Revenue Services                                                            X
1234   Governmental and Taxing Authorities      Manager of Finance                                                                X
1235   Governmental and Taxing Authorities      Manatee County                                                      X
1236   Governmental and Taxing Authorities      Manchester City Council                                             X
1237   Governmental and Taxing Authorities      Maricopa County Enviro Service                                                    X
1238   Governmental and Taxing Authorities      Marion County Environmental Health                                                X
1239   Governmental and Taxing Authorities      Marion County Health Department                                                   X
1240   Governmental and Taxing Authorities      Marion County Treasurer                                                           X
1241   Governmental and Taxing Authorities      Martin County Tax Collector                                                       X
1242   Governmental and Taxing Authorities      Maryland State Comptroller                                                        X
1243   Governmental and Taxing Authorities      Massachusetts Department of Revenue                                               X



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 No.                    Category                                   Entity Name (Full Name as per PIIL)               Connection   No Connection
1244   Governmental and Taxing Authorities      Massachusetts Department of Revenue MA                                                  X
1245   Governmental and Taxing Authorities      Massillon City Health Department                                                        X
1246   Governmental and Taxing Authorities      Maui District Health Office                                                             X
1247   Governmental and Taxing Authorities      McHenry County Collector                                                                X
1248   Governmental and Taxing Authorities      Mchenry County Department of Health                                                     X
1249   Governmental and Taxing Authorities      MD State Sales and Use Tax                                                              X
1250   Governmental and Taxing Authorities      ME State Sales and Use Tax                                                              X
1251   Governmental and Taxing Authorities      Mechanical Compliance Section                                                           X
1252   Governmental and Taxing Authorities      Mecklenburg County Tax Collector                                                        X
1253   Governmental and Taxing Authorities      Medina County Health Department                                                         X
1254   Governmental and Taxing Authorities      Medway Council 2022                                                                     X
1255   Governmental and Taxing Authorities      Mendocino County                                                                        X
1256   Governmental and Taxing Authorities      Mendocino County Clerk-Recorder                                                         X
1257   Governmental and Taxing Authorities      Merced County Department of Health                                                      X
1258   Governmental and Taxing Authorities      Merced County Tax Collector                                                             X
1259   Governmental and Taxing Authorities      Mesa County Health Department                                                           X
1260   Governmental and Taxing Authorities      Mesa County Treasurer                                                                   X
1261   Governmental and Taxing Authorities      Metropolitan Area Building & Construction Contracts                                     X
                                                Metropolitan Area Building and Construction Department - Witchita,
1262   Governmental and Taxing Authorities      Kansas                                                                                 X
1263   Governmental and Taxing Authorities      Metropolitan Beer Board                                                                X
1264   Governmental and Taxing Authorities      Metropolitan Government                                                                X
1265   Governmental and Taxing Authorities      MI - GRAND RAPIDS                                                                      X
1266   Governmental and Taxing Authorities      MI - LANSING                                                                           X
1267   Governmental and Taxing Authorities      MI State Sales & Use                                                                   X
1268   Governmental and Taxing Authorities      Miami-Dade County                                                                      X
1269   Governmental and Taxing Authorities      Miami-Dade County Board of County Commissioners                                        X
1270   Governmental and Taxing Authorities      Miami-Dade Fire Rescue Department                                                      X
1271   Governmental and Taxing Authorities      Miami-Dade Police Department                                                           X
1272   Governmental and Taxing Authorities      Miami-Dade Tax Collector                                                               X
1273   Governmental and Taxing Authorities      MICHIGAN DEPARTMENT OF LABOR & ECONOMICS MI                                            X
1274   Governmental and Taxing Authorities      Michigan Department of Treasury                                                        X
1275   Governmental and Taxing Authorities      Michigan Liquor Control Commission                                                     X
1276   Governmental and Taxing Authorities      Middlesbrough Council                                                    X
1277   Governmental and Taxing Authorities      Midland County Tax Collector                                                           X
1278   Governmental and Taxing Authorities      Midland Health Department                                                              X
1279   Governmental and Taxing Authorities      Mid-Ohio Valley Health Department                                                      X
1280   Governmental and Taxing Authorities      Milton Keynes City Council                                               X
1281   Governmental and Taxing Authorities      Minnesota Department of Revenue                                                        X
1282   Governmental and Taxing Authorities      Mississippi State Department of Health                                                 X
1283   Governmental and Taxing Authorities      Mississippi Tax Commission                                                             X
1284   Governmental and Taxing Authorities      Missouri Department of Revenue                                                         X
1285   Governmental and Taxing Authorities      Missouri Division of Fire Safety                                                       X
1286   Governmental and Taxing Authorities      MKCPAYMENT - Kapolei                                                                   X
1287   Governmental and Taxing Authorities      MO - KANSAS CITY                                                                       X
1288   Governmental and Taxing Authorities      MO Division of Alcohol                                                                 X
1289   Governmental and Taxing Authorities      MO State Sales Tax                                                                     X
1290   Governmental and Taxing Authorities      Monongalia County Health Dept                                                          X
1291   Governmental and Taxing Authorities      Monroe County Health Department                                                        X
1292   Governmental and Taxing Authorities      Monroe County Tax Collector                                                            X
1293   Governmental and Taxing Authorities      Montana Department of Public Health and Human Services                                 X
1294   Governmental and Taxing Authorities      Montana Department of Revenue                                                          X
1295   Governmental and Taxing Authorities      Montgomery County                                                        X
1296   Governmental and Taxing Authorities      Montgomery County Health                                                               X
1297   Governmental and Taxing Authorities      Montgomery County Health Department                                                    X
1298   Governmental and Taxing Authorities      Montgomery County Maryland                                                             X
1299   Governmental and Taxing Authorities      Montgomery County of Maryland                                                          X
1300   Governmental and Taxing Authorities      Montgomery County Police Department                                                    X
1301   Governmental and Taxing Authorities      MS State Sales Tax                                                                     X
1302   Governmental and Taxing Authorities      Multnomah County False Alarm Reduction Program                                         X
1303   Governmental and Taxing Authorities      Multnomah County Health Department                                                     X
1304   Governmental and Taxing Authorities      Muncy School District                                                                  X
1305   Governmental and Taxing Authorities      Municipality of Anchorage                                                              X
1306   Governmental and Taxing Authorities      Nancy C. Millan- Hillsborough County Tax Collector                                     X
1307   Governmental and Taxing Authorities      Nashoba Associated Boards of Health                                                    X
1308   Governmental and Taxing Authorities      Nassau County Department of Health                                                     X
1309   Governmental and Taxing Authorities      Nassau County Health Department                                                        X
1310   Governmental and Taxing Authorities      Nassau County Police Department                                                        X



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 No.                    Category                                    Entity Name (Full Name as per PIIL)              Connection   No Connection
1311   Governmental and Taxing Authorities      Nassau County Treasurer                                                                 X
1312   Governmental and Taxing Authorities      NC ABC Commission                                                                       X
1313   Governmental and Taxing Authorities      NC DHHS / Division of Public Health - Raleigh, NC                                       X
1314   Governmental and Taxing Authorities      NC Mecklenburg County F&B Stonecrest                                                    X
1315   Governmental and Taxing Authorities      NC State Sales and Use                                                                  X
1316   Governmental and Taxing Authorities      NC Wake County F&B Brier Creek                                                          X
1317   Governmental and Taxing Authorities      NE City of Omaha Sales and Use Tax                                                      X
1318   Governmental and Taxing Authorities      NE State Sales and Use Tax Return                                                       X
1319   Governmental and Taxing Authorities      Nebraska Department of Revenue                                                          X
                                                Nemzeti Adó- és Vámhivatal Észak-budapesti Adó- és Vámigazgatósága
1320   Governmental and Taxing Authorities      Igazgató                                                                               X
1321   Governmental and Taxing Authorities      Nevada Department of Taxation                                                          X
1322   Governmental and Taxing Authorities      New Hampshire Department of Revenue - Administration Unit                              X
1323   Governmental and Taxing Authorities      New Hampshire Dept of State                                                            X
1324   Governmental and Taxing Authorities      New Hanover County Tax Department                                                      X
1325   Governmental and Taxing Authorities      New Hanover County Tax Office                                                          X
1326   Governmental and Taxing Authorities      New Jersey Department of Treasury                                        X
1327   Governmental and Taxing Authorities      New Mexico Department of Taxation and Revenue                                          X
1328   Governmental and Taxing Authorities      New Mexico Environment Department                                                      X
1329   Governmental and Taxing Authorities      New York City                                                            X
1330   Governmental and Taxing Authorities      New York Department of Taxation & Finance                                              X
1331   Governmental and Taxing Authorities      New York State Department of Labor                                                     X
1332   Governmental and Taxing Authorities      New York State Liquor Authority                                                        X
1333   Governmental and Taxing Authorities      Newcastle City Council                                                   X
1334   Governmental and Taxing Authorities      Newington Police Department                                                            X
1335   Governmental and Taxing Authorities      Newport City Council                                                                   X
1336   Governmental and Taxing Authorities      NH State Meals Tax Hoyts EFT                                                           X
1337   Governmental and Taxing Authorities      Niagara County Health Department                                                       X
1338   Governmental and Taxing Authorities      Niagara County Treasurer                                                               X
1339   Governmental and Taxing Authorities      Nj Division of Fire Safety                                                             X
1340   Governmental and Taxing Authorities      NJ State Sales and Use Tax Return                                                      X
1341   Governmental and Taxing Authorities      NM State Sales and Use Tax Return                                                      X
1342   Governmental and Taxing Authorities      Norfolk City Treasurer                                                                 X
1343   Governmental and Taxing Authorities      Norfolk Department of Public Health                                                    X
1344   Governmental and Taxing Authorities      North Carolina Department of Labor                                                     X
1345   Governmental and Taxing Authorities      North Carolina Department of Revenue                                                   X
1346   Governmental and Taxing Authorities      North Collier Fire Control                                                             X
1347   Governmental and Taxing Authorities      North Dakota State Tax Department                                                      X
1348   Governmental and Taxing Authorities      North Somerst Council                                                                  X
1349   Governmental and Taxing Authorities      Northeast Texas Public Health                                                          X
1350   Governmental and Taxing Authorities      Northern Kentucky District                                                             X
1351   Governmental and Taxing Authorities      NORWICH CITY COUNCIL                                                     X
1352   Governmental and Taxing Authorities      Nottingham City Council                                                  X
1353   Governmental and Taxing Authorities      NV State Sales and Use Tax Return                                                      X
1354   Governmental and Taxing Authorities      NY State Sales and Use Tax Return                                                      X
1355   Governmental and Taxing Authorities      NYC Department of Buildings                                                            X
1356   Governmental and Taxing Authorities      NYC Department of Finance                                                              X
1357   Governmental and Taxing Authorities      NYC Dept of Health and Mental Hygiene                                                  X
1358   Governmental and Taxing Authorities      NYC Fire Department                                                                    X
1359   Governmental and Taxing Authorities      NYC Rent Tax                                                                           X
1360   Governmental and Taxing Authorities      Oakland Business Tax                                                                   X
1361   Governmental and Taxing Authorities      Oakland County Health Division                                                         X
1362   Governmental and Taxing Authorities      Oakland County Treasurer                                                               X
1363   Governmental and Taxing Authorities      Office of Public Health; LA Department of Health (Louisiana)                           X
1364   Governmental and Taxing Authorities      Office of State Fire Marshall                                                          X
1365   Governmental and Taxing Authorities      Office of State Tax Commissioner ND                                      X
1366   Governmental and Taxing Authorities      Office of the Revenue Commissioners; Dublin, Ireland                     X
1367   Governmental and Taxing Authorities      Office of The Township Clerk                                                           X
1368   Governmental and Taxing Authorities      OH - MASSILLON                                                                         X
1369   Governmental and Taxing Authorities      OH State Sales and Use Tax Return                                                      X
1370   Governmental and Taxing Authorities      OH-AKRON                                                                               X
1371   Governmental and Taxing Authorities      OH-COLUMBUS                                                                            X
1372   Governmental and Taxing Authorities      OH-COPLEY/AKRON JEDD                                                                   X
1373   Governmental and Taxing Authorities      OH-GREEN                                                                               X
1374   Governmental and Taxing Authorities      Ohio Department of Taxation                                                            X
1375   Governmental and Taxing Authorities      Ohio Division of Liquor Control                                                        X
1376   Governmental and Taxing Authorities      OK State Sales and Use Tax Return                                                      X
1377   Governmental and Taxing Authorities      Okaloosa County Health Department                                                      X



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 No.                    Category                                    Entity Name (Full Name as per PIIL)             Connection   No Connection
1378   Governmental and Taxing Authorities      Okaloosa County Tax Collector                                                          X
1379   Governmental and Taxing Authorities      Oklahoma ABLE Commission                                                               X
1380   Governmental and Taxing Authorities      Oklahoma County Treasurer                                                              X
1381   Governmental and Taxing Authorities      Oklahoma Department of Labor                                                           X
1382   Governmental and Taxing Authorities      Oklahoma State Dept of Health                                                          X
1383   Governmental and Taxing Authorities      Oklahoma Tax Commission                                                                X
1384   Governmental and Taxing Authorities      Onondaga County Department of Health                                                   X
1385   Governmental and Taxing Authorities      Orange County Fire Authority                                                           X
1386   Governmental and Taxing Authorities      Orange County Health Care Agency                                                       X
1387   Governmental and Taxing Authorities      Orange County Tax Collector                                                            X
1388   Governmental and Taxing Authorities      Oregon City Police Department                                                          X
1389   Governmental and Taxing Authorities      Oregon Liquor Control Commission                                                       X
1390   Governmental and Taxing Authorities      Oregon Secretary of State                                                              X
1391   Governmental and Taxing Authorities      Oregon Department of Revenue                                                           X
1392   Governmental and Taxing Authorities      OR-PORTLAND                                                                            X
1393   Governmental and Taxing Authorities      Osceola County Tax Collector                                                           X
1394   Governmental and Taxing Authorities      OXFORD CITY COUNCIL                                                     X
1395   Governmental and Taxing Authorities      PA City of Philadelphia Admissions Tax                                                X
1396   Governmental and Taxing Authorities      PA Dept of Labor & Industry - E                                                       X
1397   Governmental and Taxing Authorities      PA State Sales and Use Tax Return                                                     X
1398   Governmental and Taxing Authorities      Palm Beach County                                                       X
1399   Governmental and Taxing Authorities      Palm Beach County Sheriffs Office                                                     X
1400   Governmental and Taxing Authorities      Panhandle Health District                                                             X
1401   Governmental and Taxing Authorities      Parish of St Helier                                                                   X
1402   Governmental and Taxing Authorities      Pasco County Florida                                                                  X
1403   Governmental and Taxing Authorities      Pasco County Tax Collector                                                            X
1404   Governmental and Taxing Authorities      Pavilion at Port Orange PIF                                                           X
1405   Governmental and Taxing Authorities      Peninsula Health District                                                             X
1406   Governmental and Taxing Authorities      Peninsula Health District-Newport News                                                X
1407   Governmental and Taxing Authorities      Pennsylvania Department of Revenue                                                    X
1408   Governmental and Taxing Authorities      Pennsylvania Liquor Control Board                                                     X
1409   Governmental and Taxing Authorities      PFM Group Consulting LLC PUF                                                          X
1410   Governmental and Taxing Authorities      Phelps County Collector Of                                                            X
1411   Governmental and Taxing Authorities      Phelps County Health Dept                                                             X
1412   Governmental and Taxing Authorities      PHILADELPHIA                                                            X
1413   Governmental and Taxing Authorities      Pierce County                                                           X
1414   Governmental and Taxing Authorities      Pierce County Alarm Program                                                           X
1415   Governmental and Taxing Authorities      Pierce County Budget & Finance Dept.                                                  X
1416   Governmental and Taxing Authorities      Pinellas County Utilities                                                             X
1417   Governmental and Taxing Authorities      Pitt County Tax Collector                                                             X
1418   Governmental and Taxing Authorities      Placer County Environmental Health                                                    X
1419   Governmental and Taxing Authorities      Placer County Tax Collector                                                           X
1420   Governmental and Taxing Authorities      Plymouth City Council                                                   X
1421   Governmental and Taxing Authorities      Plymouth Township                                                                     X
1422   Governmental and Taxing Authorities      Polk County                                                                           X
1423   Governmental and Taxing Authorities      Polk County Health Department                                                         X
1424   Governmental and Taxing Authorities      Portland Police Alarms                                                                X
1425   Governmental and Taxing Authorities      PPL PRS LTD - UK music license                                                        X
1426   Governmental and Taxing Authorities      Prince George County Health Department                                                X
1427   Governmental and Taxing Authorities      Prince George's County Health Department -                                            X
                                                Prince George's County Health Department - Prince George's County
1428   Governmental and Taxing Authorities      Health Dept.                                                                          X
1429   Governmental and Taxing Authorities      Prince William County                                                                 X
1430   Governmental and Taxing Authorities      Prince William County Department of Public Works                                      X
1431   Governmental and Taxing Authorities      Prince William County False Alarm Reduction Unit                                      X
1432   Governmental and Taxing Authorities      Public Works Saniation                                                                X
1433   Governmental and Taxing Authorities      Randy H. Riggs, CPA, PCC                                                              X
1434   Governmental and Taxing Authorities      Rankin County                                                                         X
1435   Governmental and Taxing Authorities      Rensselaer County Dept. of Health                                                     X
1436   Governmental and Taxing Authorities      Revenue Commissioners – Dublin Payroll Taxes                                          X
1437   Governmental and Taxing Authorities      Rhode Island Department of Revenue                                                    X
1438   Governmental and Taxing Authorities      Richland County Government Treasury/Hospitality Tax                                   X
1439   Governmental and Taxing Authorities      Richland Township                                                                     X
1440   Governmental and Taxing Authorities      Richmond County Health Dept. Environmental Health                                     X
1441   Governmental and Taxing Authorities      Riverside County Clerk                                                                X
1442   Governmental and Taxing Authorities      Riverside County Tax CollectorS Office                                                X
1443   Governmental and Taxing Authorities      Roanoke City Health Department                                                        X
1444   Governmental and Taxing Authorities      Roanoke Fire                                                                          X



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 No.                    Category                                   Entity Name (Full Name as per PIIL)   Connection   No Connection
1445   Governmental and Taxing Authorities      Rock Island County Collector                                                X
1446   Governmental and Taxing Authorities      Rockland County Dept of Health                                              X
1447   Governmental and Taxing Authorities      Rose Tree Media School District                                             X
1448   Governmental and Taxing Authorities      Royal Borough of Greenwich                                                  X
1449   Governmental and Taxing Authorities      ROYAL BOROUGH OF KC                                          X
1450   Governmental and Taxing Authorities      ROYAL GREENWICH BOROUGH                                                    X
1451   Governmental and Taxing Authorities      Rugby Borough Council                                        X
1452   Governmental and Taxing Authorities      Rushden Town Council                                                       X
1453   Governmental and Taxing Authorities      Rushmoor Borough Council                                     X
1454   Governmental and Taxing Authorities      S.C. Department of Health                                                  X
1455   Governmental and Taxing Authorities      Sacramento County                                                          X
1456   Governmental and Taxing Authorities      Sacramento Metropolitan Air Quality Mgmt. Dist.                            X
1457   Governmental and Taxing Authorities      Sacramento Police Alarm Billing Unit                                       X
1458   Governmental and Taxing Authorities      Saint Louis County                                           X
1459   Governmental and Taxing Authorities      Saipan Division of Revenue &                                               X
1460   Governmental and Taxing Authorities      Salt Lake County                                             X
1461   Governmental and Taxing Authorities      San Antonio Police Department                                              X
1462   Governmental and Taxing Authorities      San Bernardino County                                                      X
1463   Governmental and Taxing Authorities      San Diego County Recorder                                                  X
1464   Governmental and Taxing Authorities      San Diego County Tax Collector                                             X
1465   Governmental and Taxing Authorities      San Francisco Tax Collector - 7427                                         X
1466   Governmental and Taxing Authorities      San Joaquin County                                                         X
1467   Governmental and Taxing Authorities      San Joaquin Valley Air Pollution Control District                          X
1468   Governmental and Taxing Authorities      San Joaquin Valley Unified Air Pollution                                   X
1469   Governmental and Taxing Authorities      San Luis Obispo County Tax Collector                                       X
1470   Governmental and Taxing Authorities      San Miguel Fire Protection District                                        X
1471   Governmental and Taxing Authorities      San Ramon Valley Fire Protection District                                  X
1472   Governmental and Taxing Authorities      Santa Barbara County                                         X
1473   Governmental and Taxing Authorities      Santa Barbara County Air Pollution                                         X
1474   Governmental and Taxing Authorities      Santa Fe County Treasurer                                                  X
1475   Governmental and Taxing Authorities      Sarasota County Tax Collector                                              X
1476   Governmental and Taxing Authorities      SC City of Aiken                                                           X
1477   Governmental and Taxing Authorities      SC City of Spartanburg                                                     X
1478   Governmental and Taxing Authorities      SC Department of Revenue                                                   X
1479   Governmental and Taxing Authorities      SC Dept. of Labor, Licensing and Regulation                                X
1480   Governmental and Taxing Authorities      Seattle Department of Transportation                                       X
1481   Governmental and Taxing Authorities      Seattle-King County/Environmental Health                                   X
1482   Governmental and Taxing Authorities      Secretary of State, Commercial Division                                    X
1483   Governmental and Taxing Authorities      Shay Luedeke TAC                                                           X
1484   Governmental and Taxing Authorities      Sheffield City Council                                       X
1485   Governmental and Taxing Authorities      Sheriff Of Monongalia County                                               X
1486   Governmental and Taxing Authorities      Sheriff Of Wood County K.D. Merritt                                        X
1487   Governmental and Taxing Authorities      Shropshire Council                                                         X
1488   Governmental and Taxing Authorities      Smith County Tax Collector                                                 X
1489   Governmental and Taxing Authorities      Snohomish County Health Department                                         X
1490   Governmental and Taxing Authorities      Snohomish County Treasurer                                                 X
1491   Governmental and Taxing Authorities      Solano Department of Enviromental Management                               X
1492   Governmental and Taxing Authorities      Solihull Metropolitan Borough Council                                      X
1493   Governmental and Taxing Authorities      South Carolina Department of Revenue                                       X
1494   Governmental and Taxing Authorities      South Coast Air Quality Management District                                X
1495   Governmental and Taxing Authorities      South Gloucestershire Council                                X
1496   Governmental and Taxing Authorities      SOUTH OXFORDSHIRE C                                          X
1497   Governmental and Taxing Authorities      South Oxfordshire District Council                           X
1498   Governmental and Taxing Authorities      South Plainfield Health Dept.                                              X
1499   Governmental and Taxing Authorities      South Somerset District Council                                            X
1500   Governmental and Taxing Authorities      South Tyneside Council                                       X
1501   Governmental and Taxing Authorities      SOUTHAMPTON CC                                                             X
1502   Governmental and Taxing Authorities      Southern Nevada Health District                                            X
1503   Governmental and Taxing Authorities      Southwest District Health Department                                       X
1504   Governmental and Taxing Authorities      Spalding County Environmental Health                                       X
1505   Governmental and Taxing Authorities      Spokane County Treasurer                                                   X
1506   Governmental and Taxing Authorities      Spokane Regional Health District                                           X
1507   Governmental and Taxing Authorities      Spokane Valley Fire Department                                             X
1508   Governmental and Taxing Authorities      Springfield Dept. of Health & Human Services                               X
1509   Governmental and Taxing Authorities      Springfield-Greene County                                                  X
1510   Governmental and Taxing Authorities      Spring-Ford Area School District                                           X
1511   Governmental and Taxing Authorities      St Charles County Department of Health                                     X
1512   Governmental and Taxing Authorities      St Helens Borough Council                                                  X



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 No.                    Category                                    Entity Name (Full Name as per PIIL)             Connection   No Connection
1513   Governmental and Taxing Authorities      St Tammany Parish Tax                                                                  X
1514   Governmental and Taxing Authorities      St. Louis County Treasurer                                                             X
1515   Governmental and Taxing Authorities      St. Louis Department of Health                                                         X
1516   Governmental and Taxing Authorities      Stanislaus County                                                                      X
1517   Governmental and Taxing Authorities      Stanislaus County Dept. Of                                                             X
1518   Governmental and Taxing Authorities      State of Alabama Treasurers Office                                                     X
1519   Governmental and Taxing Authorities      State of Alaska                                                                        X
1520   Governmental and Taxing Authorities      State of California                                                     X
1521   Governmental and Taxing Authorities      State of Connecticut                                                    X
1522   Governmental and Taxing Authorities      State of Delaware                                                       X
1523   Governmental and Taxing Authorities      State of Hawaii                                                         X
1524   Governmental and Taxing Authorities      State of Hawaii Department of Health                                                  X
1525   Governmental and Taxing Authorities      State of Idaho                                                                        X
1526   Governmental and Taxing Authorities      State of Maine                                                                        X
1527   Governmental and Taxing Authorities      State of Maryland                                                       X
1528   Governmental and Taxing Authorities      State of Michigan                                                       X
1529   Governmental and Taxing Authorities      State of Michigan Collection Service                                                  X
1530   Governmental and Taxing Authorities      State of Nevada - OSHA Mechanical Unit                                                X
1531   Governmental and Taxing Authorities      State of New Hampshire                                                                X
1532   Governmental and Taxing Authorities      State of New Hampshire (REFERENCE ONLY)                                               X
1533   Governmental and Taxing Authorities      State of New Jersey                                                     X
1534   Governmental and Taxing Authorities      State of New Jersey DCA BFCE-DORES                                                    X
1535   Governmental and Taxing Authorities      State of New York Department of Health                                                X
1536   Governmental and Taxing Authorities      State of New York Dept. of Health                                                     X
1537   Governmental and Taxing Authorities      State of New York Dept. of Labor                                                      X
1538   Governmental and Taxing Authorities      State of Tennessee                                                      X
1539   Governmental and Taxing Authorities      State of Tennessee Dept. of Health                                                    X
1540   Governmental and Taxing Authorities      State of Washington                                                     X
1541   Governmental and Taxing Authorities      State Tax Commission ID                                                               X
1542   Governmental and Taxing Authorities      State Tax Commission MS                                                               X
1543   Governmental and Taxing Authorities      State Tax Commission UT                                                               X
1544   Governmental and Taxing Authorities      Stevenage Borough Council                                               X
1545   Governmental and Taxing Authorities      Stonington Tax Collector                                                              X
1546   Governmental and Taxing Authorities      Suffolk County Department of Health Services                                          X
1547   Governmental and Taxing Authorities      Suffolk County Health Department                                                      X
1548   Governmental and Taxing Authorities      Summit County Health Dept.                                                            X
1549   Governmental and Taxing Authorities      Susquehanna Twp. Treasurers Office                                                    X
1550   Governmental and Taxing Authorities      Swindon Borough Council                                                               X
1551   Governmental and Taxing Authorities      Tacoma-Pierce County Health Dept.                                                     X
1552   Governmental and Taxing Authorities      Tameside Metropolitan Borough Council                                   X
1553   Governmental and Taxing Authorities      Tammy J. McRae                                                                        X
1554   Governmental and Taxing Authorities      Tax Collector Lauderdale County                                                       X
1555   Governmental and Taxing Authorities      Tax Collector Multnomah County                                                        X
1556   Governmental and Taxing Authorities      Tax Collector Palm Beach County                                                       X
1557   Governmental and Taxing Authorities      Tax Commission OK                                                                     X
1558   Governmental and Taxing Authorities      Tax Trust Account MuniServices                                                        X
1559   Governmental and Taxing Authorities      Taxation and Revenue Department NM                                                    X
1560   Governmental and Taxing Authorities      Telford & Wrekin Council                                                              X
1561   Governmental and Taxing Authorities      Tennessee Alcoholic Beverage Commission                                               X
1562   Governmental and Taxing Authorities      Tennessee B&E Division                                                                X
1563   Governmental and Taxing Authorities      Tennessee Department of Revenue                                                       X
1564   Governmental and Taxing Authorities      Texas Alcoholic Beverage Commission                                                   X
1565   Governmental and Taxing Authorities      Texas Department of Licensing                                                         X
1566   Governmental and Taxing Authorities      Texas Employment Commission TX                                                        X
1567   Governmental and Taxing Authorities      Texas Department of Revenue                                                           X
1568   Governmental and Taxing Authorities      The City of Edinburgh Council                                           X
1569   Governmental and Taxing Authorities      The City of Midwest City                                                              X
1570   Governmental and Taxing Authorities      The Town of East Greenbush                                                            X
1571   Governmental and Taxing Authorities      The Treasurer of the States – Jersey Payroll Taxes & GST Payments                     X
1572   Governmental and Taxing Authorities      Thurston County Public Health                                                         X
1573   Governmental and Taxing Authorities      Thurston County Treasurer                                                             X
1574   Governmental and Taxing Authorities      TN State Sales and Use Tax Return                                                     X
1575   Governmental and Taxing Authorities      Tompkins County Department of Health                                                  X
1576   Governmental and Taxing Authorities      Tower Hamlets council                                                                 X
1577   Governmental and Taxing Authorities      Town of Babylon                                                                       X
1578   Governmental and Taxing Authorities      Town of Barnstable                                                                    X
1579   Governmental and Taxing Authorities      Town of Bellingham                                                                    X
1580   Governmental and Taxing Authorities      Town of Berlin                                                                        X



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 No.                    Category                                   Entity Name (Full Name as per PIIL)   Connection   No Connection
1581   Governmental and Taxing Authorities      Town of Branford                                                            X
1582   Governmental and Taxing Authorities      Town of Brookhaven Long Island                                              X
1583   Governmental and Taxing Authorities      Town of Brunswick                                                           X
1584   Governmental and Taxing Authorities      Town of Cary                                                                X
1585   Governmental and Taxing Authorities      Town of Cheektowaga                                                         X
1586   Governmental and Taxing Authorities      Town of Christiansburg                                                      X
1587   Governmental and Taxing Authorities      Town of Clarkstown                                                          X
1588   Governmental and Taxing Authorities      Town of Culpeper                                                            X
1589   Governmental and Taxing Authorities      Town of Cutler Bay                                                          X
1590   Governmental and Taxing Authorities      Town of Fishkill                                                            X
1591   Governmental and Taxing Authorities      Town of Garner                                                              X
1592   Governmental and Taxing Authorities      Town of Gilbert                                                             X
1593   Governmental and Taxing Authorities      Town of Granville                                                           X
1594   Governmental and Taxing Authorities      Town of Greece                                                              X
1595   Governmental and Taxing Authorities      Town of Guilderland                                                         X
1596   Governmental and Taxing Authorities      Town of Henrietta                                                           X
1597   Governmental and Taxing Authorities      Town of Hooksett                                                            X
1598   Governmental and Taxing Authorities      Town of Kingston                                                            X
1599   Governmental and Taxing Authorities      Town of Lancaster                                                           X
1600   Governmental and Taxing Authorities      Town of Lanesborough                                                        X
1601   Governmental and Taxing Authorities      Town of Lexington                                                           X
1602   Governmental and Taxing Authorities      Town of Mashpee                                                             X
1603   Governmental and Taxing Authorities      Town of Mount Pleasant                                                      X
1604   Governmental and Taxing Authorities      Town of Oyster Bay                                                          X
1605   Governmental and Taxing Authorities      Town of Plattsburgh                                                         X
1606   Governmental and Taxing Authorities      Town of Poughkeepsie                                                        X
1607   Governmental and Taxing Authorities      Town of Southampton                                                         X
1608   Governmental and Taxing Authorities      Town of Stonington                                                          X
1609   Governmental and Taxing Authorities      Town of Summerville                                                         X
1610   Governmental and Taxing Authorities      Town of Swansea                                                             X
1611   Governmental and Taxing Authorities      Town of Victor                                                              X
1612   Governmental and Taxing Authorities      Township Of Burlington                                                      X
1613   Governmental and Taxing Authorities      Township of Hamilton                                                        X
1614   Governmental and Taxing Authorities      Township of Middletown                                                      X
1615   Governmental and Taxing Authorities      Township of Moorestown                                                      X
1616   Governmental and Taxing Authorities      Township of Pohatcong                                                       X
1617   Governmental and Taxing Authorities      Township of Stafford                                                        X
1618   Governmental and Taxing Authorities      Township of Washington                                                      X
1619   Governmental and Taxing Authorities      Travis A. Hulsey Director                                                   X
1620   Governmental and Taxing Authorities      Travis County Tax Office                                                    X
1621   Governmental and Taxing Authorities      Treasurer and Tax Collector LA County                                       X
1622   Governmental and Taxing Authorities      Treasurer Arlington County                                                  X
1623   Governmental and Taxing Authorities      Treasurer Chesterfield County                                               X
1624   Governmental and Taxing Authorities      Treasurer City Of Roanoke                                                   X
1625   Governmental and Taxing Authorities      Treasurer of Arlington County                                               X
1626   Governmental and Taxing Authorities      Treasurer of Nassau County                                                  X
1627   Governmental and Taxing Authorities      Treasurer State of New Hampshire                                            X
1628   Governmental and Taxing Authorities      Treasurer State of New Jersey                                               X
1629   Governmental and Taxing Authorities      Treasurer State of Ohio                                                     X
1630   Governmental and Taxing Authorities      Treasurer Virginia Beach Va                                                 X
1631   Governmental and Taxing Authorities      Tri-County Health Department                                                X
1632   Governmental and Taxing Authorities      Trumbull County Combined Health District                                    X
1633   Governmental and Taxing Authorities      Tulare County                                                               X
1634   Governmental and Taxing Authorities      Tulare County Environmental                                                 X
1635   Governmental and Taxing Authorities      Tuolumne County                                                             X
1636   Governmental and Taxing Authorities      Tuolumne County Tax Collector                                               X
1637   Governmental and Taxing Authorities      TX State Regal Licensing Mixed Beverage Sales Tax                           X
1638   Governmental and Taxing Authorities      TX State Sales and Use Tax                                                  X
1639   Governmental and Taxing Authorities      Tyler Police Dept.                                                          X
1640   Governmental and Taxing Authorities      UK cinemas association                                                      X
1641   Governmental and Taxing Authorities      Ukiah Valley Fire Authority                                                 X
1642   Governmental and Taxing Authorities      Upper Merion Township                                                       X
1643   Governmental and Taxing Authorities      UT State Sales and Use Tax                                                  X
1644   Governmental and Taxing Authorities      Utah Department of Revenue                                                  X
1645   Governmental and Taxing Authorities      VA City of Arlington F&B Return                                             X
1646   Governmental and Taxing Authorities      VA City of Lynchburg VA ADM                                                 X
1647   Governmental and Taxing Authorities      VA City of Norfolk Meals Tax                                                X
1648   Governmental and Taxing Authorities      VA County of Albemarle                                                      X



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1649   Governmental and Taxing Authorities      VA County of Henrico Meals Tax                                              X
1650   Governmental and Taxing Authorities      VA Dept of Alcoholic Beverage Control                                       X
1651   Governmental and Taxing Authorities      VA PRINCE WILLIAM COUNTY                                                    X
1652   Governmental and Taxing Authorities      VA State Sales and Use Tax                                                  X
1653   Governmental and Taxing Authorities      Ventura County Treasurer-Tax Collector                                      X
1654   Governmental and Taxing Authorities      Vermont Department of Taxes                                                 X
1655   Governmental and Taxing Authorities      Village of Bolingbrook                                                      X
1656   Governmental and Taxing Authorities      Village of Bolingbrook F&B Return                                           X
1657   Governmental and Taxing Authorities      Village of East Hampton                                                     X
1658   Governmental and Taxing Authorities      Village of Lake Zurich                                                      X
1659   Governmental and Taxing Authorities      Village of Lincolnshire                                                     X
1660   Governmental and Taxing Authorities      Village of Lincolnshire Admissions Return                                   X
1661   Governmental and Taxing Authorities      Village of Lynbrook                                                         X
1662   Governmental and Taxing Authorities      Village of Round Lake Beach                                                 X
1663   Governmental and Taxing Authorities      Village of Roundlake Beach Amusement Return                                 X
1664   Governmental and Taxing Authorities      Village of Royal Palm Beach                                                 X
1665   Governmental and Taxing Authorities      Virginia Beach Department of Public Health                                  X
1666   Governmental and Taxing Authorities      Virginia Department of Taxation                                             X
1667   Governmental and Taxing Authorities      Virginia Department of Revenue                                              X
1668   Governmental and Taxing Authorities      Visalia Police Department                                                   X
1669   Governmental and Taxing Authorities      Volusia County                                                              X
1670   Governmental and Taxing Authorities      Volusia County Health Dept                                                  X
1671   Governmental and Taxing Authorities      Volusia County Revenue Division                                             X
1672   Governmental and Taxing Authorities      WA City of Bellevue Monthly ADM                                             X
1673   Governmental and Taxing Authorities      WA City of Seattle Admissions Return                                        X
1674   Governmental and Taxing Authorities      WA State Sales and Use Tax                                                  X
1675   Governmental and Taxing Authorities      Waco-Mclennan County Health                                                 X
1676   Governmental and Taxing Authorities      Wake County Revenue Department                                              X
1677   Governmental and Taxing Authorities      Wake County Revenue Dept.                                                   X
1678   Governmental and Taxing Authorities      Wakefield Council                                                           X
1679   Governmental and Taxing Authorities      Wandsworth Council                                           X
1680   Governmental and Taxing Authorities      Warren County Clerk                                                        X
1681   Governmental and Taxing Authorities      Warren County Environmental Health                                         X
1682   Governmental and Taxing Authorities      Warren County Health Department                                            X
1683   Governmental and Taxing Authorities      Warrington Borough Council                                   X
1684   Governmental and Taxing Authorities      Washington County                                            X
1685   Governmental and Taxing Authorities      Washington County Division of Emergency Services                           X
1686   Governmental and Taxing Authorities      Washington County Health                                                   X
1687   Governmental and Taxing Authorities      Washington County Health Department                                        X
1688   Governmental and Taxing Authorities      Washington County Sheriff's Office                                         X
1689   Governmental and Taxing Authorities      Washington DC Office of Tax and Revenue                                    X
1690   Governmental and Taxing Authorities      Waterbury Health Department                                                X
1691   Governmental and Taxing Authorities      Waterford Tax Collector                                                    X
1692   Governmental and Taxing Authorities      Watford Borough Council                                      X
1693   Governmental and Taxing Authorities      West Northhamptonshire Council                                             X
1694   Governmental and Taxing Authorities      West Oxfordshire District Council                                          X
1695   Governmental and Taxing Authorities      West Pierce Fire and Rescue                                                X
1696   Governmental and Taxing Authorities      West Suffolk Council                                         X
1697   Governmental and Taxing Authorities      West Sussex County Council                                   X
1698   Governmental and Taxing Authorities      West Virginia Department of Revenue                                        X
1699   Governmental and Taxing Authorities      Westchester County Health Department                                       X
1700   Governmental and Taxing Authorities      WESTMINSTER BC                                               X
1701   Governmental and Taxing Authorities      Westminster City Council                                     X
1702   Governmental and Taxing Authorities      Whatcom County Health & Human Services                                     X
1703   Governmental and Taxing Authorities      Whatcom County Treasurer                                                   X
1704   Governmental and Taxing Authorities      Wichita Alarm Program                                                      X
1705   Governmental and Taxing Authorities      Wicomico County Health                                                     X
1706   Governmental and Taxing Authorities      Wigan Council                                                              X
1707   Governmental and Taxing Authorities      Will County Collector                                                      X
1708   Governmental and Taxing Authorities      Will County Health Dept                                                    X
1709   Governmental and Taxing Authorities      Wilson County Trustee                                                      X
1710   Governmental and Taxing Authorities      Winchester City Council                                      X
1711   Governmental and Taxing Authorities      Wisconsin Department of Revenue                                            X
1712   Governmental and Taxing Authorities      Workforce Development IA                                                   X
1713   Governmental and Taxing Authorities      WV State Sales and Use Return                                              X
1714   Governmental and Taxing Authorities      WY State Sales and Use Tax Return                                          X
1715   Governmental and Taxing Authorities      Wyoming Dept of Agriculture                                                X
1716   Governmental and Taxing Authorities      Yolo County                                                  X



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 No.                      Category                                  Entity Name (Full Name as per PIIL)   Connection   No Connection
1717   Governmental and Taxing Authorities      Yolo County Clerk                                                            X
1718   Governmental and Taxing Authorities      Yolo County Clerk/Recorder                                                   X
1719   Governmental and Taxing Authorities      Yorba Linda Water District                                                   X
1720   Governmental and Taxing Authorities      York Area Tax BureauPRS - music license                                      X
1721   Governmental and Taxing Authorities      YORK CITY COUNCIL                                                            X
1722   Insurance                                ACE American Insurance Co.                                    X
1723   Insurance                                AIG                                                           X
1724   Insurance                                AIG (UK)                                                      X
1725   Insurance                                AIG Specialty Insurance Company                                             X
1726   Insurance                                AIU Insurance Company                                         X
1727   Insurance                                Allianz Global Corporate and Specialty SE                     X
1728   Insurance                                Allianz Global Risks US Insurance Co.                         X
1729   Insurance                                Aon UK Limited (GBC)                                          X
1730   Insurance                                Aon Underwriting                                                            X
1731   Insurance                                Aon Underwriting Managers                                     X
1732   Insurance                                Arcadian (Worldwide)                                                        X
1733   Insurance                                Aspen Insurance Ltd                                           X
1734   Insurance                                Assicurazioni Generali S.pA UK Branch                         X
1735   Insurance                                Assicurazioni Generali SPA                                    X
1736   Insurance                                AWAC – Allied World Global Markets                                          X
1737   Insurance                                AXA XL Catlin                                                               X
1738   Insurance                                Axis Insurance                                                X
1739   Insurance                                Axis Insurance Company                                        X
1740   Insurance                                AXIS Surplus Insurance Company                                X
1741   Insurance                                Beazley                                                       X
1742   Insurance                                C N A - Continental Casualty Company                          X
1743   Insurance                                Canopius                                                      X
1744   Insurance                                Chubb                                                         X
1745   Insurance                                Chubb - Homeland Insurance Co. of NY                          X
1746   Insurance                                Dept. of Workforce Services                                                 X
1747   Insurance                                Everest Indemnity Insurance Company                                         X
1748   Insurance                                First Insurance Funding                                                     X
1749   Insurance                                General Security Indemnity Co. of Arizona                                   X
1750   Insurance                                Hartford Insurance Company of the Midwest                                   X
1751   Insurance                                Helmsman Management Services LLC                                            X
1752   Insurance                                Independent Specialty Insurance Company                                     X
1753   Insurance                                Interstate Fire & Casualty Co.                                              X
1754   Insurance                                KI Insurance                                                  X
1755   Insurance                                Liberty Mutual                                                X
1756   Insurance                                Liberty Surplus Insurance Corp.                                             X
1757   Insurance                                Lloyd's Syndicate No. 2357                                                  X
1758   Insurance                                Lloyd's Syndicate No. 33                                                    X
1759   Insurance                                Markel Bermuda (Worldwide)                                                  X
1760   Insurance                                Migdal Bit (ROW)                                                            X
1761   Insurance                                National Union Fire Insurance Company of Pittsburg, PA                      X
1762   Insurance                                Navigators Underwriting Agency Ltd                            X
1763   Insurance                                Ohio Bureau of Workers' Compensation                          X
1764   Insurance                                Progressive Insurance Company                                 X
1765   Insurance                                QBE Specialty Insurance Company                                             X
1766   Insurance                                RenaissanceRe Specialty U.S. Ltd.                                           X
1767   Insurance                                Sedgwick Group Rating / Group Retro                                         X
1768   Insurance                                Selective Insurance Company                                   X
1769   Insurance                                Sompo International                                           X
1770   Insurance                                Starstone Specialty Insurance Company                                       X
1771   Insurance                                Steadfast Insurance Company                                                 X
1772   Insurance                                Swiss Re Corp Solutions Elite Ins. Corp.                                    X
1773   Insurance                                Travelers Casualty & Surety Co of America                                   X
1774   Insurance                                Travelers Casualty and Surety Co. of America                                X
1775   Insurance                                Volante International Limited                                               X
1776   Insurance                                WA State Dept of Labor & Industries                                         X
1777   Insurance                                XL Insurance America, Inc.                                    X
1778   Insurance                                Zurich (UK)                                                                 X
1779   Insurance                                Zurich American Insurance Company                             X
1780   Lease Counterparties                     309 Venture Partners                                                        X
1781   Lease Counterparties                     422 Marketplace. L.P.                                                       X
1782   Lease Counterparties                     5th & G Plaza, Inc.                                                         X
1783   Lease Counterparties                     7-11                                                                        X
1784   Lease Counterparties                     78 First Street, LLC                                                        X



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1785   Lease Counterparties                        A&B Properties Inc.                                                            X
1786   Lease Counterparties                        A/H Harrisonburg Regal                                                         X
1787   Lease Counterparties                        Acadia Realty                                                   X
1788   Lease Counterparties                        AEG Worldwide                                                                 X
1789   Lease Counterparties                        Agree Limited Partnership                                                     X
1790   Lease Counterparties                        American Asset Corp.                                                          X
1791   Lease Counterparties                        American Assets Trust                                           X
1792   Lease Counterparties                        American Continental Properties                                               X
1793   Lease Counterparties                        AnMarCo                                                                       X
1794   Lease Counterparties                        Anthony Properties                                                            X
1795   Lease Counterparties                        Apartment: Joshua Tills                                                       X
1796   Lease Counterparties                        Apollo Global Management                                        X
1797   Lease Counterparties                        Arby's                                                                        X
1798   Lease Counterparties                        Arciterra Real Estate Investment & Development                                X
1799   Lease Counterparties                        Armada Hoffler                                                  X
                                                   Article 5 Trust U/A Dated 12/16/1994 and Chuck Thomas DBA
1800   Lease Counterparties                        Lakewood Cinema Plaza                                                         X
1801   Lease Counterparties                        AT&T Network                                                                  X
1802   Lease Counterparties                        Atlas Properties, INC.                                          X
1803   Lease Counterparties                        Austell Promenade - Firehouse Subs - Lot 2                                    X
1804   Lease Counterparties                        AVG Partners                                                                  X
1805   Lease Counterparties                        AZT Corporation/Tabani                                                        X
1806   Lease Counterparties                        B.H. GTS, LLC                                                                 X
1807   Lease Counterparties                        Bank of America                                                 X
1808   Lease Counterparties                        Barkley Company                                                               X
1809   Lease Counterparties                        BBC Plaza, LLC                                                                X
1810   Lease Counterparties                        BE UTC GSA Theatre LLC                                                        X
1811   Lease Counterparties                        Beartree, LLC                                                                 X
1812   Lease Counterparties                        Becky's Hallmark                                                              X
1813   Lease Counterparties                        Bedrock Capital                                                               X
1814   Lease Counterparties                        Beelows Steakhouse                                                            X
1815   Lease Counterparties                        Beelows Steakhouse - Lot 3                                                    X
1816   Lease Counterparties                        Bella Bottega Partners                                                        X
1817   Lease Counterparties                        Benderson Development                                                         X
1818   Lease Counterparties                        Berengaria Development                                                        X
1819   Lease Counterparties                        Bergey's Truck Center                                                         X
1820   Lease Counterparties                        Biltmore Farms                                                                X
1821   Lease Counterparties                        BJ's Wholesale Club #112                                                      X
1822   Lease Counterparties                        BKM Production Company                                          X
1823   Lease Counterparties                        Blumenfeld Development Group, Ltd.                                            X
1824   Lease Counterparties                        Body Design                                                                   X
1825   Lease Counterparties                        Boone Movie Parcel, LLC                                                       X
1826   Lease Counterparties                        Boston PRoperties                                               X
1827   Lease Counterparties                        Boyd Gaming                                                     X
1828   Lease Counterparties                        Brambleton Town Center Associates, LLC                                        X
1829   Lease Counterparties                        Brandywine Square, LLC                                                        X
1830   Lease Counterparties                        Brick Capital                                                                 X
1831   Lease Counterparties                        Brinker International - Chilis #351                             X
1832   Lease Counterparties                        Brixmor                                                         X
1833   Lease Counterparties                        Brixton Capital                                                 X
1834   Lease Counterparties                        Brookfield                                                      X
1835   Lease Counterparties                        Brookfield Retail                                               X
1836   Lease Counterparties                        Brunswick MZL, LLC                                                            X
1837   Lease Counterparties                        Buffalo Wild Wings - Lot 4                                                    X
1838   Lease Counterparties                        Butler Enterprises                                                            X
1839   Lease Counterparties                        C.E. John                                                                     X
1840   Lease Counterparties                        Cabo Coffee                                                                   X
1841   Lease Counterparties                        Calamigo Investment                                                           X
1842   Lease Counterparties                        Caldwell-Mooney Partners, L.P.                                                X
1843   Lease Counterparties                        CAPREF Acquisitions, LLC                                                      X
1844   Lease Counterparties                        Carfaro                                                                       X
1845   Lease Counterparties                        Carnegie Management                                                           X
1846   Lease Counterparties                        Casa Bar & Grill - Lot 3                                                      X
1847   Lease Counterparties                        Castle & Cooke                                                  X
1848   Lease Counterparties                        Casto DW II, LLC                                                              X
1849   Lease Counterparties                        CBL & Associates Management, Inc.                                             X
1850   Lease Counterparties                        CBRE - Parking Garage                                           X
1851   Lease Counterparties                        CCM Associates fo Clifton Park, LLC                                           X



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1852   Lease Counterparties                        Cedar Riverview LP                                                                     X
1853   Lease Counterparties                        CenterCal Properties, LLC                                                              X
1854   Lease Counterparties                        Century Capital Group, LLC                                                             X
1855   Lease Counterparties                        Chase Enterprises                                                                      X
1856   Lease Counterparties                        Chick-Fil-A                                                             X
1857   Lease Counterparties                        Chino Promenade III, Inc.                                                             X
1858   Lease Counterparties                        Cinema Old Town LLC                                                                   X
1859   Lease Counterparties                        City North - Green Exchange                                                           X
1860   Lease Counterparties                        City of Indio, Successor Agency to the Indio Redevelopment Agency                     X
1861   Lease Counterparties                        City of San Bernardino                                                                X
1862   Lease Counterparties                        Clarion Partners                                                        X
1863   Lease Counterparties                        College Station, LLC                                                                  X
1864   Lease Counterparties                        Collett Capital                                                                       X
1865   Lease Counterparties                        Consolidated Realty Company, Inc.                                                     X
1866   Lease Counterparties                        Continental Realty Corp.                                                              X
1867   Lease Counterparties                        Costco                                                                  X
1868   Lease Counterparties                        Craig Danielson                                                                       X
1869   Lease Counterparties                        CRC (California Resources Corp)                                                       X
1870   Lease Counterparties                        Crossroads Enterprises, LLC                                                           X
1871   Lease Counterparties                        Crown Valley Holdings                                                                 X
1872   Lease Counterparties                        Crystal Lake                                                            X
1873   Lease Counterparties                        CS (Clapham) Limited                                                                  X
1874   Lease Counterparties                        CS (Exeter) Limited                                                     X
1875   Lease Counterparties                        Curuso Company                                                                        X
1876   Lease Counterparties                        Denver Pavilions Ownerco, LLC                                                         X
1877   Lease Counterparties                        Developers Realty Corp.                                                               X
1878   Lease Counterparties                        Dimond Center                                                                         X
1879   Lease Counterparties                        Dizzy Dragons Soft Play Ltd 100001063                                                 X
1880   Lease Counterparties                        DJM Capital                                                                           X
1881   Lease Counterparties                        Donahue Schriber                                                                      X
1882   Lease Counterparties                        Dow Pac                                                                               X
1883   Lease Counterparties                        Dugan Park, LLC and Tom Moyer Theatres LLC                                            X
1884   Lease Counterparties                        Durga Property Holdings, Inc.                                                         X
1885   Lease Counterparties                        Dutchess Holdings, LLC                                                                X
1886   Lease Counterparties                        ECD-Lincolnshire Theatre II, LLC                                                      X
1887   Lease Counterparties                        EIG - Mainplace Merced, LLC                                                           X
1888   Lease Counterparties                        El Dorado Hills Theatre, LLC                                                          X
1889   Lease Counterparties                        El Paseo South Gate, LLC                                                              X
1890   Lease Counterparties                        EMF Investments                                                                       X
1891   Lease Counterparties                        Epic Games                                                              X
1892   Lease Counterparties                        EPR Properties                                                          X
1893   Lease Counterparties                        Everyman Media Ltd                                                                    X
1894   Lease Counterparties                        FedEx Distribution Terminal                                                           X
1895   Lease Counterparties                        Fee Owned                                                                             X
1896   Lease Counterparties                        First Interstate Willoughby, Ltd.                                                     X
1897   Lease Counterparties                        Flake and Kelly                                                                       X
1898   Lease Counterparties                        Frederick Westview Properties LLC                                                     X
1899   Lease Counterparties                        Frog Co., LLC                                                                         X
1900   Lease Counterparties                        Fuego Taps and Tequila, Inc.                                                          X
1901   Lease Counterparties                        Fullard-Leo                                                                           X
1902   Lease Counterparties                        G&I IX Empire JV DLC LLC                                                              X
1903   Lease Counterparties                        Gallatin Mall Group Llc                                                               X
1904   Lease Counterparties                        Gameworks Seattle                                                       X
1905   Lease Counterparties                        Garland Support and Training Limited                                                  X
1906   Lease Counterparties                        Gary Zentmyer Development                                                             X
1907   Lease Counterparties                        Gator Swansea Partners LLLP                                                           X
1908   Lease Counterparties                        GB Gyms DBA One Life Fitness                                                          X
1909   Lease Counterparties                        Gillespie Trading Limited                                                             X
1910   Lease Counterparties                        Glascow Shopping Center Corp.                                                         X
1911   Lease Counterparties                        Glazer Properties                                                                     X
1912   Lease Counterparties                        Goldman Sachs                                                           X
1913   Lease Counterparties                        Goodale & Barbieri                                                                    X
1914   Lease Counterparties                        Goodman Properties                                                                    X
1915   Lease Counterparties                        Grant Plaza Acquisition                                                               X
1916   Lease Counterparties                        Graybar Financial Services                                                            X
1917   Lease Counterparties                        Great Hills Market                                                                    X
1918   Lease Counterparties                        Greenberg Gibbons                                                                     X
1919   Lease Counterparties                        Gumberg Asset Management                                                              X



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1920   Lease Counterparties                        H.E.B.                                                           X
1921   Lease Counterparties                        Halpern                                                                        X
1922   Lease Counterparties                        Hamilton Mill Theatre Development, LLC                                         X
1923   Lease Counterparties                        Handel's Homemade Ice Cream (Lone Star)                                        X
1924   Lease Counterparties                        Harrisburg Mall LP                                                             X
1925   Lease Counterparties                        Hawkins Companies                                                              X
1926   Lease Counterparties                        Heitman                                                          X
1927   Lease Counterparties                        HELF Pavilion, LLC                                                             X
1928   Lease Counterparties                        Hendricks Commercial Properties, LLC                                           X
1929   Lease Counterparties                        Hichi Huynh                                                                    X
1930   Lease Counterparties                        Hillcrest Renaissance                                                          X
1931   Lease Counterparties                        Hinkle Income Properties                                                       X
1932   Lease Counterparties                        Hollie's Flatiron Steakhouse                                                   X
1933   Lease Counterparties                        Horizons Management Associates                                                 X
1934   Lease Counterparties                        Howard Hughes                                                    X
1935   Lease Counterparties                        Hughes Investments                                                             X
1936   Lease Counterparties                        IBV Immobilienfonds International                                              X
1937   Lease Counterparties                        IGP Business Group                                                             X
1938   Lease Counterparties                        Industrial Development Board of City of Knoxville                              X
1939   Lease Counterparties                        Interquest Marketplace, LLC                                                    X
1940   Lease Counterparties                        Interstate Development Co.                                                     X
1941   Lease Counterparties                        InvenTrust                                                       X
1942   Lease Counterparties                        IP Associates , LLC                                                            X
1943   Lease Counterparties                        Irondequoit TK Owner                                                           X
1944   Lease Counterparties                        Irvine Company                                                   X
1945   Lease Counterparties                        Jiffy Lube                                                                     X
1946   Lease Counterparties                        Joan Randolp                                                                   X
1947   Lease Counterparties                        Jonwill LLC                                                                    X
1948   Lease Counterparties                        K F Chang (Jack)                                                               X
1949   Lease Counterparties                        Kamehameha Schools                                               X
1950   Lease Counterparties                        Kane Realty                                                                    X
1951   Lease Counterparties                        Kangaroo Express                                                               X
1952   Lease Counterparties                        KB Parkside                                                                    X
1953   Lease Counterparties                        Kimco Realty Corporation                                         X
1954   Lease Counterparties                        KOTA Properties - Lot 1                                                        X
1955   Lease Counterparties                        Lamar Companies                                                                X
1956   Lease Counterparties                        Lance-Kashian & Company                                                        X
1957   Lease Counterparties                        LaSalle Investment Management                                    X
1958   Lease Counterparties                        Last Regal Investments, LLC                                                    X
1959   Lease Counterparties                        Lerner                                                                         X
1960   Lease Counterparties                        Lerner Sibling & Briar Ridge                                                   X
1961   Lease Counterparties                        Levcor, Inc                                                                    X
1962   Lease Counterparties                        Lewis Retail                                                                   X
1963   Lease Counterparties                        LGE Lockheed Credit Union - Lot 4                                              X
1964   Lease Counterparties                        Liberty University                                                             X
1965   Lease Counterparties                        Lincoln Asb Colorado Center                                                    X
1966   Lease Counterparties                        Lincoln Harris                                                                 X
1967   Lease Counterparties                        Lionstone Investments                                                          X
1968   Lease Counterparties                        LNR Partners, LLC/Brixmor                                                      X
1969   Lease Counterparties                        Longview Regional Med. Center                                                  X
1970   Lease Counterparties                        LPC Investments, LLC                                                           X
1971   Lease Counterparties                        Lyle Cinemas, LLC                                                              X
1972   Lease Counterparties                        M&J Wilkow/Met Life                                                            X
1973   Lease Counterparties                        Madison Investments, LLC                                                       X
1974   Lease Counterparties                        Madison Marquette                                                              X
1975   Lease Counterparties                        MAMO LBMP Investors I, LLC                                                     X
1976   Lease Counterparties                        Manchester Mall Assoc                                                          X
1977   Lease Counterparties                        Manhattan Skyline Management (Zucker)                                          X
1978   Lease Counterparties                        Mark Cunningham and O.P. Theatre Centre Owners Association                     X
1979   Lease Counterparties                        Mark William Whittlesey, Trustee                                               X
1980   Lease Counterparties                        Mashpee Commons Ii Llc                                                         X
1981   Lease Counterparties                        MasterCard                                                       X
1982   Lease Counterparties                        McGowin Properties                                                             X
1983   Lease Counterparties                        MCM Properties, Ltd.                                                           X
1984   Lease Counterparties                        Mehta Investments Ltd.                                                         X
1985   Lease Counterparties                        Melohn Capital                                                                 X
1986   Lease Counterparties                        Menin Development                                                              X
1987   Lease Counterparties                        Merced Mall LP                                                                 X



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1988   Lease Counterparties                        Merlone Geier                                                X
1989   Lease Counterparties                        Met Life                                                     X
1990   Lease Counterparties                        Metro Pointe Retail Associates Ii Lp                                       X
1991   Lease Counterparties                        Metro Storage - Lot 6                                                      X
1992   Lease Counterparties                        Metropolitan Life                                            X
1993   Lease Counterparties                        MGM Springfield                                                            X
1994   Lease Counterparties                        Michael Berkowitz                                                          X
1995   Lease Counterparties                        Mike Kohen                                                                 X
1996   Lease Counterparties                        MIR Court Street LLC                                                       X
1997   Lease Counterparties                        Mira Mesa Marketplace East                                                 X
1998   Lease Counterparties                        Morlin Asset Management, LP                                                X
1999   Lease Counterparties                        MRM Auburn, LLC                                                            X
2000   Lease Counterparties                        MSA Montrose LP                                                            X
2001   Lease Counterparties                        Namdar                                                                     X
2002   Lease Counterparties                        National Realty & Development                                              X
2003   Lease Counterparties                        National Realty Corporation                                  X
2004   Lease Counterparties                        National Retail Properties, Inc.                             X
2005   Lease Counterparties                        Net Lease Capital Advisors                                                 X
2006   Lease Counterparties                        NewMark Merrill                                                            X
2007   Lease Counterparties                        Newport Association dba Hilton Garden Inn                                  X
2008   Lease Counterparties                        Nichols Dry Goods                                                          X
2009   Lease Counterparties                        North American Development Group                                           X
2010   Lease Counterparties                        North American Properties                                                  X
2011   Lease Counterparties                        North Anchorage Real Estate                                                X
2012   Lease Counterparties                        Northgate South Commons, LLC                                               X
2013   Lease Counterparties                        Northwoods (San Antonio), LLC                                              X
2014   Lease Counterparties                        Novogroder Companies Inc                                                   X
2015   Lease Counterparties                        Nuveen Real Estate                                           X
2016   Lease Counterparties                        OAC Group, LLC                                               X
2017   Lease Counterparties                        Ocean Place Retail VII, LLC                                                X
2018   Lease Counterparties                        O'Connor Capital                                                           X
2019   Lease Counterparties                        O'Hering Properties                                                        X
2020   Lease Counterparties                        Ohio Teachers                                                              X
2021   Lease Counterparties                        One Liberty Properties                                       X
2022   Lease Counterparties                        One Liberty Properties/CBL                                   X
2023   Lease Counterparties                        OPS 1 LLC                                                                  X
2024   Lease Counterparties                        Oxford BIT Gallery Place REIT, LLC                                         X
2025   Lease Counterparties                        Oxford Development Company                                                 X
2026   Lease Counterparties                        Pacific Realty Associates, LP                                              X
2027   Lease Counterparties                        Pacific Square Holdings, LLC                                               X
2028   Lease Counterparties                        Park Meadows Trust                                                         X
2029   Lease Counterparties                        Pencoyd Crossing, LP                                                       X
2030   Lease Counterparties                        Point Orlando                                                              X
2031   Lease Counterparties                        PREIT Associates, LP                                                       X
2032   Lease Counterparties                        Prestige Properties & Development Co., Inc.                                X
2033   Lease Counterparties                        Pryse Shoes                                                                X
2034   Lease Counterparties                        Pyramid Walden Company, LP                                                 X
2035   Lease Counterparties                        QC Properties, LLC                                                         X
2036   Lease Counterparties                        Queen Lili'uokalani Trust                                                  X
2037   Lease Counterparties                        Radiant Partners New York                                                  X
2038   Lease Counterparties                        RCG Ventures                                                               X
2039   Lease Counterparties                        RD Management                                                              X
2040   Lease Counterparties                        Readco                                                                     X
2041   Lease Counterparties                        Realty Income                                                X
2042   Lease Counterparties                        RE-Fred, LLC                                                               X
2043   Lease Counterparties                        Regal 1, LLC                                                               X
2044   Lease Counterparties                        Regal Hudson LLC                                                           X
2045   Lease Counterparties                        Regency Centers                                              X
2046   Lease Counterparties                        Related and Ohio Teachers                                                  X
2047   Lease Counterparties                        Rensselaer County Plaza Associates, L.P.                                   X
2048   Lease Counterparties                        Retail Opportunity Investments                               X
2049   Lease Counterparties                        Rita E. Tornetta Partnership, Inc.                                         X
2050   Lease Counterparties                        River Shops                                                                X
2051   Lease Counterparties                        Rochford Company                                                           X
2052   Lease Counterparties                        Rockstep Capital                                                           X
2053   Lease Counterparties                        RPAI Pacific Property Services LLC                                         X
2054   Lease Counterparties                        RPT Realty, LP                                                             X
2055   Lease Counterparties                        RSS JPMCC2012LC19-OR SCL, LLC                                              X



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2056   Lease Counterparties                        RTD - Park-N-Ride                                                            X
2057   Lease Counterparties                        Russo's Pizza                                                                X
2058   Lease Counterparties                        S199 SPE, LLC                                                                X
2059   Lease Counterparties                        Saisake Chinese Restaurant                                                   X
2060   Lease Counterparties                        Samuels & Associates                                                         X
2061   Lease Counterparties                        San Isidro I, LLC                                                            X
2062   Lease Counterparties                        Schubert Family, LP                                                          X
2063   Lease Counterparties                        SDPS Real Estate Investments III                                             X
2064   Lease Counterparties                        Service Properties Trust                                      X
2065   Lease Counterparties                        Shoppingtown Mall NY, LLC                                                   X
2066   Lease Counterparties                        Shore Parkway                                                               X
2067   Lease Counterparties                        Signature Real Estate Equities I, LLC                                       X
2068   Lease Counterparties                        Silver City Holdings WT, LLC                                                X
2069   Lease Counterparties                        Simi Entertainment Plaza, LLC                                               X
2070   Lease Counterparties                        Simon Property Group                                          X
2071   Lease Counterparties                        Site 2 DSA Theatre, LLC                                                     X
2072   Lease Counterparties                        Site Centers                                                  X
2073   Lease Counterparties                        Smith Family Properties                                                     X
2074   Lease Counterparties                        South Central Missouri Com. Health Cntr.                                    X
2075   Lease Counterparties                        SouthGlenn Property Holdings, LLC                                           X
2076   Lease Counterparties                        Southold Properties Inc                                                     X
2077   Lease Counterparties                        Spar Investment Company                                                     X
2078   Lease Counterparties                        Spinoso Real Estate Group                                                   X
2079   Lease Counterparties                        Spirit Realty, LP                                             X
2080   Lease Counterparties                        Sportsdirect Fitness (Huntingdon) Ltd - 100000166                           X
2081   Lease Counterparties                        Stanchion Asset Partners                                                    X
2082   Lease Counterparties                        Starbucks - Lot 5                                                           X
2083   Lease Counterparties                        Stark Enterprises                                                           X
2084   Lease Counterparties                        Starwood Retail                                               X
2085   Lease Counterparties                        Station Casinos                                               X
2086   Lease Counterparties                        Staybridge - Lot 3                                                          X
2087   Lease Counterparties                        Stellar                                                       X
2088   Lease Counterparties                        Stirling Properties                                                         X
2089   Lease Counterparties                        Stockbridge Madison, LLC                                                    X
2090   Lease Counterparties                        Stoltz Realty                                                               X
2091   Lease Counterparties                        STORE Master Funding VIII, LLC                                              X
2092   Lease Counterparties                        SugarOak Realty, LLC                                                        X
2093   Lease Counterparties                        Tacke, LLC and LAF, LLC                                                     X
2094   Lease Counterparties                        Tahquitz Canyon Investors, LLC                                              X
2095   Lease Counterparties                        Tanger Management                                                           X
2096   Lease Counterparties                        Tanger Properties Limited Partnership                                       X
2097   Lease Counterparties                        Terranova                                                     X
2098   Lease Counterparties                        The Estes Group                                                             X
2099   Lease Counterparties                        The Lamar Companies                                                         X
2100   Lease Counterparties                        The Light Cambridge                                                         X
2101   Lease Counterparties                        The Macerich Company                                                        X
2102   Lease Counterparties                        The MacNaughton Group                                                       X
2103   Lease Counterparties                        The Peterson Companies                                                      X
2104   Lease Counterparties                        Three Rivers Village LLC                                                    X
2105   Lease Counterparties                        Time Equities, Inc.                                                         X
2106   Lease Counterparties                        Tishman Real Estate Services LP                                             X
2107   Lease Counterparties                        TMT Development                                                             X
2108   Lease Counterparties                        Town of Culpeper                                                            X
2109   Lease Counterparties                        TownPlace Suites by Marriott - Lot 2                                        X
2110   Lease Counterparties                        TriGate                                                                     X
2111   Lease Counterparties                        Trudy's Lone Star - Lot 5                                                   X
2112   Lease Counterparties                        Tutor Time Child Care - Lot 2                                               X
2113   Lease Counterparties                        UBS Realty                                                    X
2114   Lease Counterparties                        UD Theater Group                                                            X
2115   Lease Counterparties                        Unauk Corporation                                                           X
2116   Lease Counterparties                        United Realty M.T.A.                                                        X
2117   Lease Counterparties                        Universal Content Productions                                               X
2118   Lease Counterparties                        Urban Edge                                                    X
2119   Lease Counterparties                        Urban Retail                                                                X
2120   Lease Counterparties                        Urban Retail Properties                                                     X
2121   Lease Counterparties                        Valley View Wesleyan Church                                                 X
2122   Lease Counterparties                        VEREIT Operating Partnership, L.P.                                          X
2123   Lease Counterparties                        Vestar/AEW Capital Management, L.P.                           X



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2124   Lease Counterparties                       Vestar/Long Beach Town Center LLP                                           X
2125   Lease Counterparties                       Vine Street Investors, LLC                                                  X
2126   Lease Counterparties                       Vintage Realty Company                                                      X
2127   Lease Counterparties                       Vornado Realty Trust                                                        X
2128   Lease Counterparties                       W.P. Carey                                                                  X
2129   Lease Counterparties                       Walker Brothers Pancake House - Lot 4                                       X
2130   Lease Counterparties                       Wallace Theatres Management Corporation                                     X
2131   Lease Counterparties                       Walnut Creek Holdings, Inc.                                                 X
2132   Lease Counterparties                       Washington Prime                                             X
2133   Lease Counterparties                       WDP Enterprise Inc.                                          X
2134   Lease Counterparties                       Weingarten                                                                 X
2135   Lease Counterparties                       Wendy's                                                                    X
2136   Lease Counterparties                       West Brook Plaza, LLC                                                      X
2137   Lease Counterparties                       Westfield                                                    X
2138   Lease Counterparties                       Wharton Realty Group Inc                                     X
2139   Lease Counterparties                       Willard Retail                                                             X
2140   Lease Counterparties                       Williams Magnolia Properties                                               X
2141   Lease Counterparties                       Wilmorite                                                                  X
2142   Lease Counterparties                       Woolbright                                                                 X
2143   Lease Counterparties                       WPC Broadway, LLC                                                          X
2144   Lease Counterparties                       WS Development                                                             X
2145   Lease Counterparties                       WTN CoEx II, LLC                                                           X
2146   Lease Counterparties                       XTO Energy                                                   X
2147   Lease Counterparties                       Zaser & Longston                                                           X
2148   Lease Counterparties                       Zelman Development Group                                                   X
2149   Lease Counterparties                       Zenith Investment Grantor Trust                                            X
2150   Lease Counterparties                       Zimmer Development Company                                                 X
2151   Lenders and Secured Parties                ACE American Insurance Company                               X
2152   Lenders and Secured Parties                AIG                                                          X
2153   Lenders and Secured Parties                Arvest Bank                                                  X
2154   Lenders and Secured Parties                Bank-Mizrahi Tefahot                                                       X
2155   Lenders and Secured Parties                Barclays Bank PLC                                            X
2156   Lenders and Secured Parties                BNY Mellon Corporate Trustee Services Limited                X
2157   Lenders and Secured Parties                HSBC                                                         X
2158   Lenders and Secured Parties                Kroll Agency Services Limited                                X
2159   Lenders and Secured Parties                Liberty Mutual Insurance Company                             X
2160   Lenders and Secured Parties                National Union Fire Insurance Co. Pittsburgh, PA (AIG)       X
2161   Lenders and Secured Parties                Wilmington Trust, National Association                       X
2162   Litigation Parties/Competitors             A. King Aminpour                                                           X
2163   Litigation Parties/Competitors             Adam Calvert                                                               X
2164   Litigation Parties/Competitors             Adam Philpott                                                              X
2165   Litigation Parties/Competitors             Adam R. Martin, Esq.                                                       X
2166   Litigation Parties/Competitors             Adam Yarussi                                                               X
2167   Litigation Parties/Competitors             Aimee Christianson                                                         X
2168   Litigation Parties/Competitors             Albert Carocci                                                             X
2169   Litigation Parties/Competitors             Alec Leslie                                                                X
2170   Litigation Parties/Competitors             Alexander Hernandez                                                        X
2171   Litigation Parties/Competitors             Alfred Gemma                                                               X
2172   Litigation Parties/Competitors             Allen Cooper                                                               X
2173   Litigation Parties/Competitors             ALYSSA NOVAK                                                               X
2174   Litigation Parties/Competitors             AMC Entertainment                                            X
2175   Litigation Parties/Competitors             AMY GARCIA                                                                 X
2176   Litigation Parties/Competitors             Andrew Martinez                                                            X
2177   Litigation Parties/Competitors             Angela Zimmerman                                                           X
2178   Litigation Parties/Competitors             ANNE MASON                                                                 X
2179   Litigation Parties/Competitors             Anthony Ameduri                                                            X
2180   Litigation Parties/Competitors             ANTHONY RAMOS                                                              X
2181   Litigation Parties/Competitors             ANTHONY WARD                                                 X
2182   Litigation Parties/Competitors             ANTHONY WOODS                                                              X
2183   Litigation Parties/Competitors             Aron Wolf                                                                  X
2184   Litigation Parties/Competitors             ASHLEY STEWART                                                             X
2185   Litigation Parties/Competitors             B&B Theaters                                                               X
2186   Litigation Parties/Competitors             Bank of New York Mellon (International) Limited)             X
2187   Litigation Parties/Competitors             BARRY MILLER                                                               X
2188   Litigation Parties/Competitors             Bethany Blood                                                              X
2189   Litigation Parties/Competitors             BETTY SOWELL-CODY                                                          X
2190   Litigation Parties/Competitors             Blake Green                                                                X
2191   Litigation Parties/Competitors             Bobby Phipps                                                               X



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                                                        Results of Connections Check

 No.                        Category                                 Entity Name (Full Name as per PIIL)     Connection   No Connection
2192   Litigation Parties/Competitors             BOGUSLAW SZYCIK                                                               X
2193   Litigation Parties/Competitors             BONNIE HICKS                                                                  X
2194   Litigation Parties/Competitors             Brad Lewis                                                                    X
2195   Litigation Parties/Competitors             Brandon Brouillette                                                           X
2196   Litigation Parties/Competitors             Brandon Carroll                                                               X
2197   Litigation Parties/Competitors             Breandan Nemec                                                                X
2198   Litigation Parties/Competitors             BRENDA STILES                                                                 X
2199   Litigation Parties/Competitors             Brian Alexander                                                               X
2200   Litigation Parties/Competitors             Brian Kou                                                                     X
2201   Litigation Parties/Competitors             Brian P Downey, Esq                                                           X
2202   Litigation Parties/Competitors             British Overseas Bank Nominees Ltd and WGTC Nominees Ltd                      X
2203   Litigation Parties/Competitors             Bruan Gunn                                                                    X
2204   Litigation Parties/Competitors             Bryan Cleary                                                                  X
2205   Litigation Parties/Competitors             C.J. Czaia                                                                    X
2206   Litigation Parties/Competitors             Caitlin O'Donnell                                                             X
2207   Litigation Parties/Competitors             CAMERON KUNST                                                                 X
2208   Litigation Parties/Competitors             CARL STAPP                                                                    X
2209   Litigation Parties/Competitors             CAROLYN KUCHMAN                                                               X
2210   Litigation Parties/Competitors             Carrie LaBrec                                                                 X
2211   Litigation Parties/Competitors             Cary Ichter, Esq.                                                             X
2212   Litigation Parties/Competitors             CATHRYN O'BRIEN                                                               X
2213   Litigation Parties/Competitors             Charles Kondla                                                                X
2214   Litigation Parties/Competitors             CHARLOTTE CHARIPAR                                                            X
2215   Litigation Parties/Competitors             Chris Wiemken                                                                 X
2216   Litigation Parties/Competitors             Christopher Flood                                                             X
2217   Litigation Parties/Competitors             Christopher McCool                                                            X
2218   Litigation Parties/Competitors             Christopher Mesaros                                                           X
2219   Litigation Parties/Competitors             Christopher Reeser                                                            X
2220   Litigation Parties/Competitors             Cindy Robinson                                                                X
2221   Litigation Parties/Competitors             Cinemark Theaters                                                             X
2222   Litigation Parties/Competitors             Citrus Park Mall Owner, LLC                                                   X
2223   Litigation Parties/Competitors             CLARA MARTINEZ                                                                X
2224   Litigation Parties/Competitors             CLARESSA JOHNSON                                                              X
2225   Litigation Parties/Competitors             Colly Roberts                                                                 X
2226   Litigation Parties/Competitors             Conrad Reynoldson                                                             X
2227   Litigation Parties/Competitors             Cori A. Rosen, Esq                                                            X
2228   Litigation Parties/Competitors             Costas Eliades                                                                X
2229   Litigation Parties/Competitors             Craig H Handler                                                               X
2230   Litigation Parties/Competitors             Criterion Capital Group                                                       X
2231   Litigation Parties/Competitors             CRYSTAL PEREZ                                                                 X
2232   Litigation Parties/Competitors             CYNTHIA GANDY                                                                 X
2233   Litigation Parties/Competitors             Daly City Serramonte Center, LLC                                              X
2234   Litigation Parties/Competitors             Dan Totah                                                                     X
2235   Litigation Parties/Competitors             Dana S. Plon, Esq.                                                            X
2236   Litigation Parties/Competitors             DANESSA RUFFIN                                                                X
2237   Litigation Parties/Competitors             Daniel Azizi                                                                  X
2238   Litigation Parties/Competitors             Darius Marzec                                                                 X
2239   Litigation Parties/Competitors             Darren Newberry                                                               X
2240   Litigation Parties/Competitors             DAVID BOGLE                                                                   X
2241   Litigation Parties/Competitors             David Hernandez                                                               X
2242   Litigation Parties/Competitors             David J. Hollander                                                            X
2243   Litigation Parties/Competitors             DAVID MANGER                                                                  X
2244   Litigation Parties/Competitors             David Smith                                                    X
2245   Litigation Parties/Competitors             David T. Richards, Esq                                                       X
2246   Litigation Parties/Competitors             David White                                                                  X
2247   Litigation Parties/Competitors             DDRTC Overlook King of Prussia LLC                                           X
2248   Litigation Parties/Competitors             DEBRA MADDOX                                                                 X
2249   Litigation Parties/Competitors             DEIDRE BROWN                                                                 X
2250   Litigation Parties/Competitors             Dennis Baier                                                                 X
2251   Litigation Parties/Competitors             DE'QUAN DAVIS                                                                X
2252   Litigation Parties/Competitors             Destin Santacrose                                                            X
2253   Litigation Parties/Competitors             Devon Rivera                                                                 X
2254   Litigation Parties/Competitors             DIAMOND SPANN                                                                X
2255   Litigation Parties/Competitors             Dietrich Lake                                                                X
2256   Litigation Parties/Competitors             DOMINICK SPAGNUOLO                                                           X
2257   Litigation Parties/Competitors             Donald DeSimone                                                              X
2258   Litigation Parties/Competitors             DORIS MORDECAI                                                               X
2259   Litigation Parties/Competitors             Ed Arango                                                                    X



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                                                         Results of Connections Check

 No.                        Category                                 Entity Name (Full Name as per PIIL)   Connection   No Connection
2260   Litigation Parties/Competitors             Ed Lantis                                                                   X
2261   Litigation Parties/Competitors             Eden Commercial Limited                                                     X
2262   Litigation Parties/Competitors             Edward Bauer                                                                X
2263   Litigation Parties/Competitors             Eldridge Suggs                                                              X
2264   Litigation Parties/Competitors             Elise Cassar                                                                X
2265   Litigation Parties/Competitors             ELIZABETH CHANG                                                             X
2266   Litigation Parties/Competitors             ELIZABETH SANTOS                                                            X
2267   Litigation Parties/Competitors             Emily Stottlemyer                                                           X
2268   Litigation Parties/Competitors             ERIC DAVIS                                                                  X
2269   Litigation Parties/Competitors             Eric Rossman                                                                X
2270   Litigation Parties/Competitors             Erik Velie                                                                  X
2271   Litigation Parties/Competitors             ERNEST BERNARD                                                              X
2272   Litigation Parties/Competitors             ETHEL PRESTWICH                                                             X
2273   Litigation Parties/Competitors             EUNICE EVANS                                                                X
2274   Litigation Parties/Competitors             FRANK AGUILAR                                                               X
2275   Litigation Parties/Competitors             FRANK PARK                                                                  X
2276   Litigation Parties/Competitors             Frank Toher                                                                 X
2277   Litigation Parties/Competitors             Frog Co., LLC                                                               X
2278   Litigation Parties/Competitors             FRUMA KOROL                                                                 X
2279   Litigation Parties/Competitors             Gail Galfo                                                                  X
2280   Litigation Parties/Competitors             Gary Nitsche                                                                X
2281   Litigation Parties/Competitors             Gary Pillersdorf                                                            X
2282   Litigation Parties/Competitors             Gary S. Edinger, Esq.                                                       X
2283   Litigation Parties/Competitors             Gate Portfolio Ltd                                                          X
2284   Litigation Parties/Competitors             GHENET MCKINNEY                                                             X
2285   Litigation Parties/Competitors             Grand Ridge Plaza II, LLC                                                   X
2286   Litigation Parties/Competitors             Hamilton Mill Theatre Development, LLC                                      X
2287   Litigation Parties/Competitors             Hank Crane                                                                  X
2288   Litigation Parties/Competitors             Harrisburg Investors Group                                                  X
2289   Litigation Parties/Competitors             HAZEL MEAUX                                                                 X
2290   Litigation Parties/Competitors             HELEN SCHIFFMAN                                                             X
2291   Litigation Parties/Competitors             Ian Russell, Esq                                                            X
2292   Litigation Parties/Competitors             IOLANDA ALVES                                                               X
2293   Litigation Parties/Competitors             Irondequoit TK Owner LLC                                                    X
2294   Litigation Parties/Competitors             Jack Oswald                                                                 X
2295   Litigation Parties/Competitors             Jack Steigelfest                                                            X
2296   Litigation Parties/Competitors             Jacob Alford                                                                X
2297   Litigation Parties/Competitors             JACQUELINE STEWART                                                          X
2298   Litigation Parties/Competitors             JADDEN CRUZ                                                                 X
2299   Litigation Parties/Competitors             JAE BAE                                                                     X
2300   Litigation Parties/Competitors             James Herr, Esq                                                             X
2301   Litigation Parties/Competitors             James Murphy                                                                X
2302   Litigation Parties/Competitors             James Myhre                                                                 X
2303   Litigation Parties/Competitors             James W. Hawkins, Esq                                                       X
2304   Litigation Parties/Competitors             Jamie Corcoran                                                              X
2305   Litigation Parties/Competitors             JAMIE KING                                                                  X
2306   Litigation Parties/Competitors             Jamie Martinez                                                              X
2307   Litigation Parties/Competitors             JANET BRAND                                                                 X
2308   Litigation Parties/Competitors             Jared Brownfield                                                            X
2309   Litigation Parties/Competitors             Jared Comstock                                                              X
2310   Litigation Parties/Competitors             Jason Chermela                                                              X
2311   Litigation Parties/Competitors             Jason Greenberg                                                             X
2312   Litigation Parties/Competitors             JAYCE COOPER                                                                X
2313   Litigation Parties/Competitors             JEANNETTE EMIGH                                                             X
2314   Litigation Parties/Competitors             Jeffrey Golomb                                                              X
2315   Litigation Parties/Competitors             Jeffrey Meunier                                                             X
2316   Litigation Parties/Competitors             Jeffrey R. Albregts, Esq.                                                   X
2317   Litigation Parties/Competitors             Jeffrey Roebuck                                                             X
2318   Litigation Parties/Competitors             JEFFREY ROSENBERG                                                           X
2319   Litigation Parties/Competitors             JENNIFER MAAS                                                               X
2320   Litigation Parties/Competitors             Jeremy Markman                                                              X
2321   Litigation Parties/Competitors             Jesse Ryan Loffler, Esq.                                                    X
2322   Litigation Parties/Competitors             JESSICA LUNJA                                                               X
2323   Litigation Parties/Competitors             JESSICA RAMIREZ                                                             X
2324   Litigation Parties/Competitors             Joanne Freeman                                                              X
2325   Litigation Parties/Competitors             John Del Casale                                                             X
2326   Litigation Parties/Competitors             John F. Waldo                                                               X
2327   Litigation Parties/Competitors             John Stevens                                                 X



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 No.                        Category                                Entity Name (Full Name as per PIIL)   Connection   No Connection
2328   Litigation Parties/Competitors             JOSE RIVERA                                                                X
2329   Litigation Parties/Competitors             Joseph E. Sarachek, Esq.                                                   X
2330   Litigation Parties/Competitors             Joseph Lento                                                               X
2331   Litigation Parties/Competitors             Joy Misrendino                                                             X
2332   Litigation Parties/Competitors             Just G. Weber, Esq                                                         X
2333   Litigation Parties/Competitors             Justin Turner                                                              X
2334   Litigation Parties/Competitors             KALEO SOLORZANO                                                            X
2335   Litigation Parties/Competitors             Kamalolo Koanui-Kong                                                       X
2336   Litigation Parties/Competitors             KAREN JOHNSON                                               X
2337   Litigation Parties/Competitors             KATHERINE DALTON                                                          X
2338   Litigation Parties/Competitors             Katherine Kmiec                                                           X
2339   Litigation Parties/Competitors             KATHLEEN MURRAY                                                           X
2340   Litigation Parties/Competitors             Kathryn Guinn, Esq                                                        X
2341   Litigation Parties/Competitors             KECIA BLACKWELL                                                           X
2342   Litigation Parties/Competitors             Keith J. Keogh and                                                        X
2343   Litigation Parties/Competitors             Kelly Irish                                                               X
2344   Litigation Parties/Competitors             Kendra Therrell                                                           X
2345   Litigation Parties/Competitors             Kevin Cornel                                                              X
2346   Litigation Parties/Competitors             Kevin Crockett                                                            X
2347   Litigation Parties/Competitors             Kone Corporation                                            X
2348   Litigation Parties/Competitors             Krista Bartholomew                                                        X
2349   Litigation Parties/Competitors             Landmark Theaters                                                         X
2350   Litigation Parties/Competitors             LAQUITTA FLETCHER-MATTHEWS                                                X
2351   Litigation Parties/Competitors             Laurel Martinez                                                           X
2352   Litigation Parties/Competitors             LAURIE FULTON                                                             X
2353   Litigation Parties/Competitors             Laurie Pecora                                                             X
2354   Litigation Parties/Competitors             LEAH BUMBALOW                                                             X
2355   Litigation Parties/Competitors             Levi Lipton                                                               X
2356   Litigation Parties/Competitors             LIDIA MCKINNEY                                                            X
2357   Litigation Parties/Competitors             LISA KASTON                                                               X
2358   Litigation Parties/Competitors             Lisa Lee                                                                  X
2359   Litigation Parties/Competitors             LIVAN SUAREZ-LEONARD                                                      X
2360   Litigation Parties/Competitors             LUISA TORRES                                                              X
2361   Litigation Parties/Competitors             LUKE MRAMER                                                               X
2362   Litigation Parties/Competitors             LUZ RODRIGUEZ                                                             X
2363   Litigation Parties/Competitors             Manny Rodriguez                                                           X
2364   Litigation Parties/Competitors             Marc Dorman                                                               X
2365   Litigation Parties/Competitors             Marc Greenfield                                                           X
2366   Litigation Parties/Competitors             Marcus Theaters                                                           X
2367   Litigation Parties/Competitors             Marianne Bartko                                                           X
2368   Litigation Parties/Competitors             Marina Developments Ltd                                                   X
2369   Litigation Parties/Competitors             Mark A. Ozzello and                                                       X
2370   Litigation Parties/Competitors             Mark D. Walters                                                           X
2371   Litigation Parties/Competitors             Mark Kochanowicz                                                          X
2372   Litigation Parties/Competitors             Mark Williams                                               X
2373   Litigation Parties/Competitors             Martins Commercial Limited                                                X
2374   Litigation Parties/Competitors             MARY SCINTA                                                               X
2375   Litigation Parties/Competitors             Matthew A Hodel                                                           X
2376   Litigation Parties/Competitors             Matthew E. Fischer, Esq                                                   X
2377   Litigation Parties/Competitors             Matthew Stumf                                                             X
2378   Litigation Parties/Competitors             Mauro Fiore                                                               X
2379   Litigation Parties/Competitors             MAURY HERRERA                                                             X
2380   Litigation Parties/Competitors             MELISSA LUMBARD                                                           X
2381   Litigation Parties/Competitors             Michael A. Kahn                                                           X
2382   Litigation Parties/Competitors             Michael B Weitman, Esq                                                    X
2383   Litigation Parties/Competitors             Michael Cook                                                              X
2384   Litigation Parties/Competitors             Michael Galvin                                              X
2385   Litigation Parties/Competitors             Michael Hetey                                                             X
2386   Litigation Parties/Competitors             MICHAEL JUNGA                                                             X
2387   Litigation Parties/Competitors             Michael R Limrick, Esq                                                    X
2388   Litigation Parties/Competitors             Mike Hemlepp                                                              X
2389   Litigation Parties/Competitors             Milagros Alvarez                                                          X
2390   Litigation Parties/Competitors             MIR Court Street Associates LLC                                           X
2391   Litigation Parties/Competitors             Mitchell W. Berger, Esq                                                   X
2392   Litigation Parties/Competitors             Monica Banet                                                              X
2393   Litigation Parties/Competitors             NANCY ACKERSON                                                            X
2394   Litigation Parties/Competitors             Natalie Guerrero                                                          X
2395   Litigation Parties/Competitors             Natasha Pargas                                                            X



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 No.                        Category                                  Entity Name (Full Name as per PIIL)                  Connection   No Connection
2396   Litigation Parties/Competitors             Nick Vocino                                                                                 X
2397   Litigation Parties/Competitors             NIKITA VALENTINE                                                                            X
2398   Litigation Parties/Competitors             NOAH GIUSIANA                                                                               X
2399   Litigation Parties/Competitors             Oliver Melgar                                                                               X
2400   Litigation Parties/Competitors             Oshea Jenkins                                                                               X
2401   Litigation Parties/Competitors             P. Raul Alvarez, Jr.                                                                        X
2402   Litigation Parties/Competitors             PAMELA COAKLEY                                                                              X
2403   Litigation Parties/Competitors             PAMELA FLOYD                                                                                X
2404   Litigation Parties/Competitors             PATRICIA RODRIGUEZ                                                                          X
2405   Litigation Parties/Competitors             PATSEY THOMAS                                                                               X
2406   Litigation Parties/Competitors             Paul Diambri                                                                                X
2407   Litigation Parties/Competitors             Pebble Commercial Center, LLC / Regal I, LLC                                                X
2408   Litigation Parties/Competitors             Peter Sartorious, Esq                                                                       X
2409   Litigation Parties/Competitors             Rayeanne Streets                                                                            X
2410   Litigation Parties/Competitors             Regal Cinemas, Inc                                                           X
2411   Litigation Parties/Competitors             REGINA JUNIOR                                                                              X
2412   Litigation Parties/Competitors             Richard Fodera                                                                             X
2413   Litigation Parties/Competitors             Richard N Franco Esq                                                                       X
2414   Litigation Parties/Competitors             Richard Weisbeck                                                                           X
2415   Litigation Parties/Competitors             RICKY DODSON                                                                               X
2416   Litigation Parties/Competitors             Robert Banas                                                                               X
2417   Litigation Parties/Competitors             Robert Berkun                                                                              X
2418   Litigation Parties/Competitors             Robert Hanski                                                                              X
2419   Litigation Parties/Competitors             Robert Healy                                                                               X
2420   Litigation Parties/Competitors             Robert Thornton                                                                            X
2421   Litigation Parties/Competitors             Robert Williams                                                                            X
2422   Litigation Parties/Competitors             ROBYN JARDINE                                                                              X
2423   Litigation Parties/Competitors             RODRIGO VALLE                                                                              X
2424   Litigation Parties/Competitors             RONALD COLLINS                                                                             X
2425   Litigation Parties/Competitors             Roopal Ruparelia                                                                           X
2426   Litigation Parties/Competitors             ROSEMARY ORDUNEZ                                                                           X
2427   Litigation Parties/Competitors             Ross Sheely                                                                                X
2428   Litigation Parties/Competitors             Royal London                                                                               X
2429   Litigation Parties/Competitors             Ryan King                                                                                  X
2430   Litigation Parties/Competitors             RYLEE GOODRICH                                                                             X
2431   Litigation Parties/Competitors             SABRA RICHARDSON                                                                           X
2432   Litigation Parties/Competitors             Samantha Bigonger                                                                          X
2433   Litigation Parties/Competitors             Sandra Av                                                                                  X
2434   Litigation Parties/Competitors             Sarmen Tahmasian                                                                           X
2435   Litigation Parties/Competitors             Sean O'Sullivan                                                                            X
2436   Litigation Parties/Competitors             SHARON PARIS                                                                               X
2437   Litigation Parties/Competitors             Simon Property Group, L.P.                                                   X
2438   Litigation Parties/Competitors             Simon Property Group, LP                                                     X
2439   Litigation Parties/Competitors             Simon Property Group, LP, Etc                                                X
                                                  SLFAQ, LLC, as general assignee of claims held by VIP Cinema Holdings,
2440   Litigation Parties/Competitors             Inc.                                                                                       X
2441   Litigation Parties/Competitors             Southold Properties, Inc                                                                   X
2442   Litigation Parties/Competitors             Staff Counsel for Liberty Mutual                                                           X
2443   Litigation Parties/Competitors             Stephen C. Willey, Esq                                                                     X
2444   Litigation Parties/Competitors             Stephen Leary                                                                              X
2445   Litigation Parties/Competitors             Steve Seal                                                                                 X
2446   Litigation Parties/Competitors             Steven Barbera                                                                             X
2447   Litigation Parties/Competitors             Steven Cholden                                                                             X
2448   Litigation Parties/Competitors             SUSAN FACER-KREIDLER                                                                       X
2449   Litigation Parties/Competitors             SUZANNE LINGELBACH                                                                         X
2450   Litigation Parties/Competitors             TAKEEMA YOUNG                                                                              X
2451   Litigation Parties/Competitors             TAMMY LITTLE                                                                               X
2452   Litigation Parties/Competitors             Tanya Gendelman                                                                            X
2453   Litigation Parties/Competitors             Tegan Schlatter                                                                            X
2454   Litigation Parties/Competitors             TERESA JACKSON                                                                             X
2455   Litigation Parties/Competitors             The Bank of New York Mellon                                                  X
2456   Litigation Parties/Competitors             THELMA RACE                                                                                X
2457   Litigation Parties/Competitors             Theodore H. Kuyper                                                                         X
2458   Litigation Parties/Competitors             THERESA MONROY                                                                             X
2459   Litigation Parties/Competitors             Tim Shanahan                                                                               X
2460   Litigation Parties/Competitors             TIMOTHY ALVAREZ                                                                            X
2461   Litigation Parties/Competitors             Timothy R. Dudderar, Esq.                                                                  X
2462   Litigation Parties/Competitors             Tom Gmelich                                                                                X



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 No.                        Category                                  Entity Name (Full Name as per PIIL)   Connection   No Connection
2463   Litigation Parties/Competitors             Tyler Everett                                                                X
2464   Litigation Parties/Competitors             Unauk Corporation                                                            X
2465   Litigation Parties/Competitors             Valerie Morris                                                               X
2466   Litigation Parties/Competitors             Varun Rammnarine                                                             X
2467   Litigation Parties/Competitors             VIKTORYIA MALAYEVA                                                           X
2468   Litigation Parties/Competitors             Walter Klekotka                                                              X
2469   Litigation Parties/Competitors             WANDA OGUNDIPE                                                               X
2470   Litigation Parties/Competitors             Washington Crown Center Realty Holding LLC                                   X
2471   Litigation Parties/Competitors             Waterfront (LC) Limited and Cine-UK Limited                                  X
2472   Litigation Parties/Competitors             Wendy Scott                                                                  X
2473   Litigation Parties/Competitors             Wesley Addington                                                             X
2474   Litigation Parties/Competitors             Whit Bertch                                                                  X
2475   Litigation Parties/Competitors             WILLIA MAE HOLLAND                                                           X
2476   Litigation Parties/Competitors             YASMIN LOPEZ                                                                 X
2477   Litigation Parties/Competitors             Yitzchak Kopel                                                               X
2478   Litigation Parties/Competitors             ZACHARY BERMAN                                                               X
2479   Litigation Parties/Competitors             Zachary E. Mazur, Esq.                                                       X
2480   Litigation Parties/Competitors             ZACHARY PAUL                                                                 X
2481   Litigation Parties/Competitors             Zack Chikovksy                                                               X
2482   Litigation Parties/Competitors             Zare Khorozian                                                               X
2483   Professionals                              AlixPartners LLP                                              X
2484   Professionals                              Arnold & Porter Kaye Scholer LLP                              X
2485   Professionals                              Centerview Partners                                           X
2486   Professionals                              Davis Polk & Wardwell LLP                                     X
2487   Professionals                              FGS Global                                                    X
2488   Professionals                              Houlihan Lokey, Inc.                                          X
2489   Professionals                              Jackson Walker LLP                                            X
2490   Professionals                              Kirkland & Ellis LLP                                          X
2491   Professionals                              KPMG US LLP                                                                 X
2492   Professionals                              Kroll Restructuring Administration                                          X
2493   Professionals                              Lazard Ltd                                                    X
2494   Professionals                              PJT Partners                                                  X
2495   Professionals                              Quinn Emanuel Urquhart & Sullivan, LLP                        X
2496   Professionals                              Slaughter & May                                               X
2497   Professionals                              Wills Towers Watson                                                         X
2498   Royalties                                  AC JV, LLC – Fathom Events                                                  X
2499   Royalties                                  CJ 4DPLEX Americas LLC - 4DX and ScreenX                                    X
2500   Royalties                                  D-Box USA Inc - D-Box                                                       X
2501   Royalties                                  Imax Corporation - IMAX                                       X
2502   Royalties                                  Lavazza Premium Coffees Corp - Lavazza                        X
2503   Royalties                                  Niv Cohen and Liad Almog - B Fresh                                          X
2504   Royalties                                  Real D - Real D                                                             X
2505   Shareholder Advisory Services              Goldman Sachs                                                 X
2506   Shareholder Advisory Services              Investec                                                      X
2507   Shareholders (5% or Greater)               A J Bell Securities (Tunbridge Wells)                         X
2508   Shareholders (5% or Greater)               abrdn (Standard Life) (Edinburgh)                                           X
2509   Shareholders (5% or Greater)               Aviva Investors (London)                                      X
2510   Shareholders (5% or Greater)               Barclays Wealth (London)                                                    X
2511   Shareholders (5% or Greater)               BlackRock Investment Mgt - Index (London)                                   X
2512   Shareholders (5% or Greater)               Columbia Threadneedle Investments (London)                    X
2513   Shareholders (5% or Greater)               Global City Holdings (Regional (Netherlands))                               X
2514   Shareholders (5% or Greater)               Goldman Sachs International (London)                          X
2515   Shareholders (5% or Greater)               GVQ Investment Mgt (London)                                                 X
2516   Shareholders (5% or Greater)               Halifax Share Dealing (Halifax)                               X
2517   Shareholders (5% or Greater)               Hargreaves Lansdown Asset Mgt (Bristol)                       X
2518   Shareholders (5% or Greater)               IG Markets (London)                                           X
2519   Shareholders (5% or Greater)               Interactive Brokers (London)                                                X
2520   Shareholders (5% or Greater)               Interactive Investor (Glasgow)                                X
2521   Shareholders (5% or Greater)               Jangho Group Company (Beijing)                                X
2522   Shareholders (5% or Greater)               Legal & General Investment Mgt (London)                       X
2523   Shareholders (5% or Greater)               Morgan Stanley (London)                                       X
2524   Shareholders (5% or Greater)               Norges Bank Investment Mgt (Oslo)                                           X
2525   Shareholders (5% or Greater)               Polaris Capital Mgt (Boston)                                                X
2526   Shareholders (5% or Greater)               Vanguard Group (Philadelphia)                                               X
2527   Surety Bonds                               Aon                                                           X
2528   Surety Bonds                               Baltimore Gas and Electric Company                                          X
2529   Surety Bonds                               Bowling Green Municipal Utilities (BGMU)                                    X
2530   Surety Bonds                               CDE Lightband                                                               X



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                                                        Results of Connections Check

No.                      Category                                 Entity Name (Full Name as per PIIL)                  Connection   No Connection

2531   Surety Bonds                               Department of Homeland Security - US Customs and Border Protection                     X
2532   Surety Bonds                               Jackson Electric Membership Corporation                                                X
2533   Surety Bonds                               Mecklenburg County Alcoholic Beverage Control Board                                    X
2534   Surety Bonds                               New York State Liquor Authority                                                        X
2535   Surety Bonds                               Old Republic Surety Co.                                                                X
2536   Surety Bonds                               People of the State of New York                                                        X
2537   Surety Bonds                               Southwest Marine and General Insurance Company                                         X
2538   Surety Bonds                               State of Kansas - Dept. of Revenue                                                     X
2539   Surety Bonds                               State of Oklahoma - Taxpayer Assistance Division                         X
2540   Surety Bonds                               State of Tennessee                                                       X
2541   Surety Bonds                               Tampa Electric Company                                                   X
2542   Surety Bonds                               The State of Texas                                                       X
2543   Top 200 and Significant Vendors            10 Michael Drive Associates, LP                                                        X
2544   Top 200 and Significant Vendors            30 West Pershing LLC                                                                   X
2545   Top 200 and Significant Vendors            30 West Pershing, LLC                                                                  X
2546   Top 200 and Significant Vendors            30 West Pershing, LLC (0347)                                                           X
2547   Top 200 and Significant Vendors            30 West Pershing, LLC (0357)                                                           X
2548   Top 200 and Significant Vendors            30 West Pershing, LLC (1310)                                                           X
2549   Top 200 and Significant Vendors            30 West Pershing, LLC (1855)                                                           X
2550   Top 200 and Significant Vendors            4852-Mall Of Georgia, LLC                                                              X
2551   Top 200 and Significant Vendors            9896-Treasure Coast-Jcp Associates, Ltd                                                X
2552   Top 200 and Significant Vendors            A24 Films LLC                                                            X
2553   Top 200 and Significant Vendors            AC JV LLC                                                                              X
2554   Top 200 and Significant Vendors            Acadia Town Center Holdco LLC                                                          X
2555   Top 200 and Significant Vendors            ACH - SHOOSMITHS                                                                       X
2556   Top 200 and Significant Vendors            ACS Enterprises Inc                                                                    X
2557   Top 200 and Significant Vendors            AEW Core Property Trust Inc                                                            X
2558   Top 200 and Significant Vendors            Alexandria Real Estate Equities, Inc.                                    X
2559   Top 200 and Significant Vendors            AMAS Limited T/A Jones Lang Lasalle                                                    X
2560   Top 200 and Significant Vendors            AMAS LIMITED T/A JONES LANG LASALLE - Stevenage                                        X
2561   Top 200 and Significant Vendors            AMAS LTD T/A Jones Lang Lasalle                                                        X
2562   Top 200 and Significant Vendors            American Assets Trust, LP                                                X
2563   Top 200 and Significant Vendors            Annapurna Releasing, LLC                                                               X
2564   Top 200 and Significant Vendors            Ardnos, Inc.                                                                           X
2565   Top 200 and Significant Vendors            ASHDOWN PHILLIPS RENT                                                                  X
2566   Top 200 and Significant Vendors            Aspen Builders Inc                                                                     X
2567   Top 200 and Significant Vendors            Avison Young Workplace Limited                                           X
2568   Top 200 and Significant Vendors            Bailey Construction & Consulting, LLC                                                  X
2569   Top 200 and Significant Vendors            Bidvest Noonan (UK) Ltd                                                                X
2570   Top 200 and Significant Vendors            Blalock Building Company Inc                                                           X
2571   Top 200 and Significant Vendors            BOOKER LIMITED                                                           X
2572   Top 200 and Significant Vendors            Boston Properties Lp                                                     X
2573   Top 200 and Significant Vendors            BR UK FRANCHISING                                                                      X
2574   Top 200 and Significant Vendors            Brandywine Square Llc                                                                  X
2575   Top 200 and Significant Vendors            Bricktown Pass LLC-1419                                                                X
2576   Top 200 and Significant Vendors            BROADGATE ESTATES                                                                      X
2577   Top 200 and Significant Vendors            BuildCraft Inc.                                                                        X
2578   Top 200 and Significant Vendors            Bv Centercal Llc                                                                       X
2579   Top 200 and Significant Vendors            Cantera 30 Theatre Lp                                                                  X
2580   Top 200 and Significant Vendors            Carousel Center Company L.P.                                                           X
2581   Top 200 and Significant Vendors            CBRE                                                                     X
2582   Top 200 and Significant Vendors            Cezary Renovation Inc                                                                  X
2583   Top 200 and Significant Vendors            Christie Digital Systems Canada Inc. - USD                               X
2584   Top 200 and Significant Vendors            Christie Digital Systems USA Inc RCM                                     X
2585   Top 200 and Significant Vendors            Cimanetwork Inc                                                                        X
2586   Top 200 and Significant Vendors            Cinescape Property, LLC                                                                X
2587   Top 200 and Significant Vendors            Cinionic Inc                                                                           X
2588   Top 200 and Significant Vendors            CJ 4DPLEX                                                                X
2589   Top 200 and Significant Vendors            CJ 4DPLEX Americas LLC                                                   X
2590   Top 200 and Significant Vendors            Cobbocala Realty LP                                                                    X

2591   Top 200 and Significant Vendors            Columbia Pictures Corporation Limited T/A SONY PICTURES RELEASING                      X
2592   Top 200 and Significant Vendors            Commerce Center Nb Llc                                                                 X
2593   Top 200 and Significant Vendors            County Of Orange                                                         X
2594   Top 200 and Significant Vendors            CRC Mount Pleasant Reit LLC                                                            X
2595   Top 200 and Significant Vendors            CREA/PPC Long Beach Towne Center PO, LLC                                               X
2596   Top 200 and Significant Vendors            Crocker Park Llc                                                                       X



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                                                      Results of Connections Check

 No.                       Category                                  Entity Name (Full Name as per PIIL)   Connection   No Connection
2597   Top 200 and Significant Vendors           Crossgate Mall General Company Newco Llc                                     X
2598   Top 200 and Significant Vendors           DCTN3 389 Fresno CA, LLC                                                     X
2599   Top 200 and Significant Vendors           Ddr Southeast Short Pump Llc                                                 X
2600   Top 200 and Significant Vendors           DDRTC Overlook At King of Prussia, LLC                                       X
2601   Top 200 and Significant Vendors           DeltCorp Industry, LLC                                                       X
2602   Top 200 and Significant Vendors           Denver Pavillions Ownerco, LLC                                               X
2603   Top 200 and Significant Vendors           Disney Fox                                                                   X
2604   Top 200 and Significant Vendors           Disney Searchlight                                                           X
2605   Top 200 and Significant Vendors           Douglas Emmett 2016, LLC                                                     X
2606   Top 200 and Significant Vendors           Dream Team Associates Llc                                                    X
2607   Top 200 and Significant Vendors           Dsrg - Natomas Marketplace                                                   X
2608   Top 200 and Significant Vendors           Ecova Inc                                                     X
2609   Top 200 and Significant Vendors           El Dorado Hills Theatre Llc                                                 X
2610   Top 200 and Significant Vendors           El Paseo South Gate Llc                                                     X
2611   Top 200 and Significant Vendors           Ept Aliso Viejo Inc                                                         X
2612   Top 200 and Significant Vendors           Fc Ballston Common Llc                                                      X
2613   Top 200 and Significant Vendors           FC QIC Promenade in Temecula JV LLC                                         X
2614   Top 200 and Significant Vendors           Flik Inc                                                                    X
2615   Top 200 and Significant Vendors           Focus Features                                                              X
2616   Top 200 and Significant Vendors           Funimation Global Group LLC                                   X
2617   Top 200 and Significant Vendors           Funimation Production Ltd                                                   X
2618   Top 200 and Significant Vendors           G&I IX Empire JV DLC LLC                                                    X
2619   Top 200 and Significant Vendors           GCTC Holdings LLC                                                           X
2620   Top 200 and Significant Vendors           Gerp 12 LLC                                                                 X
2621   Top 200 and Significant Vendors           Green Hills Commons Llc                                                     X
2622   Top 200 and Significant Vendors           Gs Site 25 Retail Llc                                                       X
2623   Top 200 and Significant Vendors           Hall Realty Service, Inc.                                                   X
2624   Top 200 and Significant Vendors           Hamilton Commons TEI Equities LLC                                           X
2625   Top 200 and Significant Vendors           HAP Property Owner, L.P.                                                    X
2626   Top 200 and Significant Vendors           Hart Tc I-Iii Llc                                                           X
2627   Top 200 and Significant Vendors           HCL-MarqE GP, LLC                                                           X
2628   Top 200 and Significant Vendors           Helf Pavilion Llc                                                           X
2629   Top 200 and Significant Vendors           Hillcrest Renaissance Associates Lp                                         X
2630   Top 200 and Significant Vendors           Imax Corporation                                              X
2631   Top 200 and Significant Vendors           IMAX Theatres International Ltd                                             X
2632   Top 200 and Significant Vendors           IMAX Theatres International Ltd.                                            X
2633   Top 200 and Significant Vendors           Innova Entertainment Investment Partners Lp                                 X
2634   Top 200 and Significant Vendors           Intertrust Technologies Corporation                           X
2635   Top 200 and Significant Vendors           Jp Morgan Chase                                               X
2636   Top 200 and Significant Vendors           Kaufman Bedrock Astoria I LLC                                               X
2637   Top 200 and Significant Vendors           KBM, Inc                                                                    X
2638   Top 200 and Significant Vendors           Kendall Village Associates Ltd                                              X
2639   Top 200 and Significant Vendors           Lancaster Development Company Llc                                           X
2640   Top 200 and Significant Vendors           Liberty Mutual Insurance Co                                   X
2641   Top 200 and Significant Vendors           Liberty Mutual Services Inc                                   X
2642   Top 200 and Significant Vendors           Lino Sonego & C.srl                                                         X
2643   Top 200 and Significant Vendors           Lionsgate Film Inc                                                          X
2644   Top 200 and Significant Vendors           Lionsgate Film Inc.                                                         X
2645   Top 200 and Significant Vendors           Lionsgate Releasing                                                         X
2646   Top 200 and Significant Vendors           Lpf 100 Oaks Inc                                                            X
2647   Top 200 and Significant Vendors           LTCI Ltd                                                                    X
2648   Top 200 and Significant Vendors           Lumen Qwest Communications, LLC                                             X
2649   Top 200 and Significant Vendors           M&H Realty Partners VI L.P.                                                 X
2650   Top 200 and Significant Vendors           Maeve Contractors Limited                                                   X
2651   Top 200 and Significant Vendors           Magnolia Park Greenville Venture, LLC                                       X
2652   Top 200 and Significant Vendors           MAPLES TEESDALE LLP CLIENTS                                                 X
2653   Top 200 and Significant Vendors           MAPP PROPERTY MANAGEMENT LIMITED                                            X
2654   Top 200 and Significant Vendors           Mark Cunningham                                               X
2655   Top 200 and Significant Vendors           Martin Village Holdings LLC                                                 X
2656   Top 200 and Significant Vendors           MAYFIELD ASSET & PROPERTY MANAGEMENT                                        X
2657   Top 200 and Significant Vendors           MCCABE MCGINN CONSTRUCTION AND MANAGEMENT LIMITED                           X
2658   Top 200 and Significant Vendors           McCarthy Tetrault LLP                                         X
2659   Top 200 and Significant Vendors           MDC Magnolia Park, LLC                                                      X
2660   Top 200 and Significant Vendors           Medlock Crossing Shopping Center                                            X
2661   Top 200 and Significant Vendors           Meta Platforms, Inc                                           X
2662   Top 200 and Significant Vendors           Millian-Aire Enterprises Corporation                                        X
2663   Top 200 and Significant Vendors           MIR Court Street LLC                                                        X
2664   Top 200 and Significant Vendors           MMM East, Inc.                                                              X



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                                                        Results of Connections Check

 No.                       Category                                  Entity Name (Full Name as per PIIL)   Connection   No Connection
2665   Top 200 and Significant Vendors           Movie (Va) Qrs 14-24 Inc                                                     X
2666   Top 200 and Significant Vendors           NBC UNIVERSAL LLC                                             X
2667   Top 200 and Significant Vendors           New Roc Associates Lp                                                       X
2668   Top 200 and Significant Vendors           North Anchorage Real Estate Investors Llc                                   X
2669   Top 200 and Significant Vendors           Norton Rose Fulbright US LLP                                  X
2670   Top 200 and Significant Vendors           Novogroder Companies Inc                                                    X
2671   Top 200 and Significant Vendors           Oherring Properties Inc                                                     X
2672   Top 200 and Significant Vendors           Opry Mills Mall Limited Partnership                                         X
2673   Top 200 and Significant Vendors           Osram Sylvania Inc                                            X
2674   Top 200 and Significant Vendors           Oxford BIT Gallery Place REIT, LLC                                          X
2675   Top 200 and Significant Vendors           Paramount Pictures                                            X
2676   Top 200 and Significant Vendors           Paramount Pictures UK                                         X
2677   Top 200 and Significant Vendors           Pepsi-Cola                                                                  X
2678   Top 200 and Significant Vendors           Pfa-B Silver Spring Llc                                                     X
2679   Top 200 and Significant Vendors           PJT Partners (UK) Limited                                     X
2680   Top 200 and Significant Vendors           Pointe Orlando Development Company                                          X
2681   Top 200 and Significant Vendors           Poughkeepsie Galleria Llc                                                   X
2682   Top 200 and Significant Vendors           PPL PRS Ltd                                                                 X
2683   Top 200 and Significant Vendors           Pricewaterhouse Coopers Llp                                   X
2684   Top 200 and Significant Vendors           Pried Holding Company Llc                                                   X
2685   Top 200 and Significant Vendors           Prime Property Fund, LLC                                                    X
2686   Top 200 and Significant Vendors           Pyramid Walden Comapny Lp                                                   X
2687   Top 200 and Significant Vendors           Quaker Crossing L.P.                                                        X
2688   Top 200 and Significant Vendors           Realty Income Properties 10, LLC (6775)                                     X
2689   Top 200 and Significant Vendors           Realty Income Properties 11 Llc                                             X
2690   Top 200 and Significant Vendors           Realty Income Properties 9 Llc                                              X
2691   Top 200 and Significant Vendors           Realty Income Trust 4                                                       X
2692   Top 200 and Significant Vendors           Regency Meridian LLC                                                        X
2693   Top 200 and Significant Vendors           RG CARTER PROJECTS LTD                                                      X
2694   Top 200 and Significant Vendors           River Park Properties III                                                   X
2695   Top 200 and Significant Vendors           Royal Paper Corporation - Purchasing                                        X
2696   Top 200 and Significant Vendors           Rpai Pacific Property Services Llc                                          X
2697   Top 200 and Significant Vendors           RPI Carlsbad, L.P.                                                          X
2698   Top 200 and Significant Vendors           RPT Realty LP                                                               X
2699   Top 200 and Significant Vendors           S&S Management Group, LLC                                                   X
2700   Top 200 and Significant Vendors           Salisbury Mall Realty Holding LLC                                           X
2701   Top 200 and Significant Vendors           SAVILLS                                                       X
2702   Top 200 and Significant Vendors           Schindler Elevator Corporation                                X
2703   Top 200 and Significant Vendors           Simi Entertainment Plaza Llc                                                X
2704   Top 200 and Significant Vendors           Site 2 DSA Commercial LLC                                                   X
2705   Top 200 and Significant Vendors           Skadden, Arps, Slate, Meagher & Flom LLP                      X
2706   Top 200 and Significant Vendors           SLAUGHTER AND MAY                                             X
2707   Top 200 and Significant Vendors           Sony Pictures Releasing                                       X
2708   Top 200 and Significant Vendors           STARBUCKS                                                     X
2709   Top 200 and Significant Vendors           Starcom Worldwide Ltd (dba Spark Foundry)                                   X
2710   Top 200 and Significant Vendors           Stockton City Center 16 Llc                                                 X
2711   Top 200 and Significant Vendors           Stonestown Galleria JV LLC                                                  X
2712   Top 200 and Significant Vendors           Sunrise Mills (Mlp) L.P.                                                    X
2713   Top 200 and Significant Vendors           Tanger Properties Limited Partnership                                       X
2714   Top 200 and Significant Vendors           The Irvine Company Llc                                        X
2715   Top 200 and Significant Vendors           THE WALT DISNEY COMPANY LTD                                   X
2716   Top 200 and Significant Vendors           TotalEnergies                                                 X
2717   Top 200 and Significant Vendors           Town Square West Llc                                                        X
2718   Top 200 and Significant Vendors           Trail Properties Llc                                                        X
2719   Top 200 and Significant Vendors           Trias AVI                                                                   X
2720   Top 200 and Significant Vendors           Umb Bank                                                                    X
2721   Top 200 and Significant Vendors           Union Square Retail Lessee Llc                                              X
2722   Top 200 and Significant Vendors           Universal Pictures                                            X
2723   Top 200 and Significant Vendors           Universum Construction LTD                                                  X
2724   Top 200 and Significant Vendors           UP Construction and Restoration Inc                                         X
2725   Top 200 and Significant Vendors           Urban Edge Properties LP                                      X
2726   Top 200 and Significant Vendors           Ushio America Inc                                             X
2727   Top 200 and Significant Vendors           Valencia Town Center Venture Lp                                             X
2728   Top 200 and Significant Vendors           Vcp Lincoln Road Llc                                                        X
2729   Top 200 and Significant Vendors           Vertex Trust Investment LP                                                  X
2730   Top 200 and Significant Vendors           Vervantis, Inc.                                                             X
2731   Top 200 and Significant Vendors           Vista Entertainment Solutions (Usa) Inc                                     X
2732   Top 200 and Significant Vendors           Vistar Of N California                                                      X



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                                                             Results of Connections Check

 No.                       Category                                    Entity Name (Full Name as per PIIL)     Connection   No Connection
2733   Top 200 and Significant Vendors                Walt Disney Studios Motion Pictures                                         X
2734   Top 200 and Significant Vendors                WARNER BROS ENTERTAINMENT UK LIMITED                         X
2735   Top 200 and Significant Vendors                Warner Bros Pictures Inc                                     X
2736   Top 200 and Significant Vendors                WARNER BROS. ENTERTAINMENT                                   X
2737   Top 200 and Significant Vendors                Waste Harmonics LLC - National Accounts                                    X
2738   Top 200 and Significant Vendors                Waterford Lakes Town Center, LLC                                           X
2739   Top 200 and Significant Vendors                Winter Park Town Center Ltd                                                X
2740   Top 200 and Significant Vendors                Wmap Llc                                                                   X
2741   Top 200 and Significant Vendors                Workman LLP - Feltham                                                      X
2742   Top 200 and Significant Vendors                YHata & Co Limited                                                         X
2743   Top 200 and Significant Vendors                ZP No. 328, LLC                                                            X

2744 U.S. Trustee Personnel, Judges, and Court Staff Alonzo, Albert                                                              X

2745 U.S. Trustee Personnel, Judges, and Court Staff BNY Mellon Corporate Trustee Services Limited – Trustee       X

2746 U.S. Trustee Personnel, Judges, and Court Staff Castro, Ana                                                                 X

2747 U.S. Trustee Personnel, Judges, and Court Staff Chavez, Jeannie                                                             X

2748 U.S. Trustee Personnel, Judges, and Court Staff Conrad, Tracey                                                              X

2749 U.S. Trustee Personnel, Judges, and Court Staff Do, Linhthu                                                                 X

2750 U.S. Trustee Personnel, Judges, and Court Staff Duran, Adrian                                                               X

2751 U.S. Trustee Personnel, Judges, and Court Staff Duran, Hector                                                               X

2752 U.S. Trustee Personnel, Judges, and Court Staff Epstein, Kevin M.                                                           X

2753 U.S. Trustee Personnel, Judges, and Court Staff Goodwin, Valerie                                                            X

2754 U.S. Trustee Personnel, Judges, and Court Staff Griffin, Barbara                                                            X

2755 U.S. Trustee Personnel, Judges, and Court Staff Henicke, Genny                                                              X

2756 U.S. Trustee Personnel, Judges, and Court Staff Isgur, Marvin                                                               X

2757 U.S. Trustee Personnel, Judges, and Court Staff Johnson-Davis, Luci                                                         X

2758 U.S. Trustee Personnel, Judges, and Court Staff Jones, David R.                                                             X

2759 U.S. Trustee Personnel, Judges, and Court Staff Laws, Tyler                                                                 X

2760 U.S. Trustee Personnel, Judges, and Court Staff Lopez, Christopher M.                                                       X

2761 U.S. Trustee Personnel, Judges, and Court Staff Millie Sall                                                                 X

2762 U.S. Trustee Personnel, Judges, and Court Staff Motton, Linda                                                               X

2763 U.S. Trustee Personnel, Judges, and Court Staff Nguyen, Ha                                                                  X

2764 U.S. Trustee Personnel, Judges, and Court Staff Norman, Jeffrey P.                                                          X

2765 U.S. Trustee Personnel, Judges, and Court Staff Otto, Glenn                                                                 X

2766 U.S. Trustee Personnel, Judges, and Court Staff Picota, Kimberly                                                            X

2767 U.S. Trustee Personnel, Judges, and Court Staff Portillo, Vriana                                                            X

2768 U.S. Trustee Personnel, Judges, and Court Staff Rios, Mario                                                                 X

2769 U.S. Trustee Personnel, Judges, and Court Staff Rodriguez, Eduardo V                                                        X

2770 U.S. Trustee Personnel, Judges, and Court Staff Ruff, Jayson B.                                                             X

2771 U.S. Trustee Personnel, Judges, and Court Staff Saldana, Rosario                                                            X




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                                                               Results of Connections Check

No.                       Category                                        Entity Name (Full Name as per PIIL)              Connection   No Connection

2772 U.S. Trustee Personnel, Judges, and Court Staff Schmidt, Patricia                                                                       X

2773 U.S. Trustee Personnel, Judges, and Court Staff Simmons, Christy                                                                        X

2774 U.S. Trustee Personnel, Judges, and Court Staff Smith, Gwen                                                                             X

2775 U.S. Trustee Personnel, Judges, and Court Staff Statham, Stephen                                                                        X

2776 U.S. Trustee Personnel, Judges, and Court Staff Waxton, Clarissa                                                                        X

2777 U.S. Trustee Personnel, Judges, and Court Staff Whitworth, Jana                                                                         X

2778   U.S. Trustee Personnel, Judges, and Court Staff   Yasmine Rivera                                                                      X
2779   UCC Search                                        Arvest Bank                                                           X
2780   UCC Search                                        Barclays Bank PLC, as Administrative Agent                            X
2781   UCC Search                                        CHAMPLAIN CENTRE NORTH LLC                                                          X
2782   UCC Search                                        CHG-Meridian USA Corp.                                                              X
2783   UCC Search                                        Credit Suisse AG, Cayman Islands Branch as Administrative Agent                     X
2784   UCC Search                                        EPR Properties, as Agent                                              X
2785   UCC Search                                        FINANCIAL SERVICING, LLC AND/OR ITS ASSIGNS                                         X
2786   UCC Search                                        SMBC Leasing and Finance, Inc.                                        X
2787   UCC Search                                        Societe Generale, New York Branch as Collateral Agent                 X
2788   UCC Search                                        Sony Electronics Inc.                                                               X
2789   UCC Search                                        Store Master Funding VIII, LLC                                                      X
2790   UCC Search                                        The Hoyt's (MD) Trust                                                               X
2791   UCC Search                                        Wells Fargo Bank, N.A.                                                X
2792   UCC Search                                        Wilmington Trust Company                                              X
2793   Utilities                                         Commonwealth Edison Company                                                         X
2794   Utilities                                         FSG Electric                                                                        X
2795   Utility Providers                                 ABCWUA -ALBUQUERQUE BERNALILLO                                                      X
2796   Utility Providers                                 ACSA ALBEMARLE CNTY SV AUTY                                                         X
2797   Utility Providers                                 AEP-APPALACHIAN POWER                                                               X
2798   Utility Providers                                 AEP-INDIANA MICHIGAN POWER                                                          X
2799   Utility Providers                                 AEP-OHIO POWER                                                                      X
2800   Utility Providers                                 AIKEN ELECTRIC COOP                                                                 X
2801   Utility Providers                                 Airtricity Gas Supply (NI) Ltd                                        X
2802   Utility Providers                                 ALABAMA POWER-BIRMINGHAM                                                            X
2803   Utility Providers                                 ALLEN COUNTY TREASURER (OH)                                                         X
2804   Utility Providers                                 AMEREN MISSOURI                                                                     X
2805   Utility Providers                                 AMERIGAS - DALLAS                                                                   X
2806   Utility Providers                                 Anchorage Water and Wastewater Utility                                              X
2807   Utility Providers                                 ANDERSON COUNTY SEWER                                                               X
2808   Utility Providers                                 Applied Energy Services Indiana / AES                                               X
2809   Utility Providers                                 AQUA INDIANA                                                                        X
2810   Utility Providers                                 AQUA OHIO INC                                                                       X
2811   Utility Providers                                 AQUA PENNSYLVANIA                                                                   X
2812   Utility Providers                                 ARTESIAN WATER CO INC.                                                              X
2813   Utility Providers                                 ATLANTIC CITY ELECTRIC                                                              X
2814   Utility Providers                                 ATMOS ENERGY                                                          X
2815   Utility Providers                                 AUGUSTA UTILITIES DEPARTMENT                                                        X
2816   Utility Providers                                 AUSTELL NATURAL GAS                                                                 X
2817   Utility Providers                                 AVISTA UTILITIES                                                      X
2818   Utility Providers                                 Baltimors Gas & Electric                                                            X
2819   Utility Providers                                 BEDFORD CITY UTILITIES                                                              X
2820   Utility Providers                                 BELLEVUE CITY TREASURER                                                             X
2821   Utility Providers                                 BERKHEIMER TAX ADMINISTRATOR                                                        X
2822   Utility Providers                                 BLACK HILLS ENERGY                                                    X
2823   Utility Providers                                 BOISE CITY UTILITY BILLING                                                          X
2824   Utility Providers                                 BONITA SPRINGS UTILITIES INC                                                        X
2825   Utility Providers                                 Bord Gáis Eireann                                                     X
2826   Utility Providers                                 BOROUGH OF SOUTH PLAINFIELD                                                         X
2827   Utility Providers                                 BOSSIER CITY UTILITIES DEPT                                                         X
2828   Utility Providers                                 BOWLING GREEN MUNI UTILITIES                                                        X
2829   Utility Providers                                 BROWARD COUNTY WATER AND WSTWT                                                      X
2830   Utility Providers                                 BRUNSWICK & TOPSHAM WATER                                                           X
2831   Utility Providers                                 BRUNSWICK SEWER DISTRICT                                                            X
2832   Utility Providers                                 Bucks County Water&Sewer Authority                                                  X



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                                                          Results of Connections Check

 No.                       Category                                  Entity Name (Full Name as per PIIL)   Connection   No Connection
2833   Utility Providers                            Business Stream                                                           X
2834   Utility Providers                            CALIFORNIA AMERICAN WATER                                                 X
2835   Utility Providers                            CALIFORNIA WATER SERVICE CO                                X
2836   Utility Providers                            CAPE FEAR PUBLIC UTILITY AUTH                                            X
2837   Utility Providers                            CARROLL EMC (GA)                                                         X
2838   Utility Providers                            CASCADE NATURAL GAS CORP                                                 X
2839   Utility Providers                            Castle Water Ltd                                           X
2840   Utility Providers                            CDE - CLARKSVILLE DEPT OF ELEC                                           X
2841   Utility Providers                            CENTERPOINT (03) - OF OHIO                                 X
2842   Utility Providers                            CENTERPOINT ENERGY                                         X
2843   Utility Providers                            CENTERPOINT(02) - INDIANA GAS DIVISION                                   X
2844   Utility Providers                            CENTRAL HUDSON GAS & ELECTRIC                              X
2845   Utility Providers                            CENTRAL MAINE POWER                                                      X
2846   Utility Providers                            CHARLOTTE COUNTY UTILITIES                                               X
2847   Utility Providers                            CHATTANOOGA GAS COMPANY                                                  X
2848   Utility Providers                            CHEROKEE COUNTY WATER AUTHORIT                                           X
2849   Utility Providers                            CHESAPEAKE UTILITIES                                       X
2850   Utility Providers                            CHUGACH ELECTRIC ASSOC INC                                               X
2851   Utility Providers                            CITIZENS ENERGY GROUP                                                    X
2852   Utility Providers                            CITIZENS WESTFIELD                                                       X
2853   Utility Providers                            CITRUS COUNTY UTILITIES                                                  X
2854   Utility Providers                            CITRUS HEIGHTS WATER DIST                                                X
2855   Utility Providers                            CITY FINANCE DIRECTOR                                                    X
2856   Utility Providers                            CITY OF AIKEN                                                            X
2857   Utility Providers                            CITY OF AKRON                                                            X
2858   Utility Providers                            CITY OF ALBANY                                                           X
2859   Utility Providers                            CITY OF ALHAMBRA                                                         X
2860   Utility Providers                            CITY OF AMARILLO                                                         X
2861   Utility Providers                            CITY OF AMMON                                                            X
2862   Utility Providers                            CITY OF ANAHEIM                                                          X
2863   Utility Providers                            CITY OF ARROYO GRANDE                                                    X
2864   Utility Providers                            CITY OF AUBURN                                                           X
2865   Utility Providers                            CITY OF AUSTIN                                             X
2866   Utility Providers                            CITY OF BAKERSFIELD CA                                                   X
2867   Utility Providers                            CITY OF BEAUMONT                                                         X
2868   Utility Providers                            CITY OF BONNEY LAKE WA                                                   X
2869   Utility Providers                            CITY OF BOZEMAN                                                          X
2870   Utility Providers                            CITY OF BRADENTON                                                        X
2871   Utility Providers                            CITY OF BREA                                                             X
2872   Utility Providers                            CITY OF BROKEN ARROW                                                     X
2873   Utility Providers                            CITY OF BROOKHAVEN                                                       X
2874   Utility Providers                            CITY OF BUFORD GA                                                        X
2875   Utility Providers                            CITY OF CAMARILLO                                                        X
2876   Utility Providers                            CITY OF CARROLLTON GA                                                    X
2877   Utility Providers                            CITY OF CERRITOS                                                         X
2878   Utility Providers                            CITY OF CHARLOTTE NC                                       X
2879   Utility Providers                            CITY OF CHARLOTTESVILLE VA                                               X
2880   Utility Providers                            CITY OF CHATTANOOGA TN                                                   X
2881   Utility Providers                            CITY OF CHICAGO -DEPT OF WATER                                           X
2882   Utility Providers                            CITY OF CLOVIS                                                           X
2883   Utility Providers                            CITY OF COEUR D'ALENE                                                    X
2884   Utility Providers                            CITY OF COLONIAL HEIGHTS                                                 X
2885   Utility Providers                            CITY OF COLUMBIA (SC)                                                    X
2886   Utility Providers                            CITY OF COLUMBIA, MISSOURI                                               X
2887   Utility Providers                            CITY OF CONCORD N H                                                      X
2888   Utility Providers                            CITY of CORONA                                                           X
2889   Utility Providers                            CITY OF CORVALLIS                                                        X
2890   Utility Providers                            CITY OF CRYSTAL LAKE IL                                                  X
2891   Utility Providers                            CITY OF DALLAS TX                                                        X
2892   Utility Providers                            CITY OF DAVIS                                                            X
2893   Utility Providers                            CITY OF EARLY                                                            X
2894   Utility Providers                            CITY OF ENGLEWOOD                                                        X
2895   Utility Providers                            CITY OF ESCONDIDO                                                        X
2896   Utility Providers                            CITY OF FLORENCE                                                         X
2897   Utility Providers                            CITY OF FLOWOOD                                                          X
2898   Utility Providers                            CITY OF FREDERICKSBURG                                                   X
2899   Utility Providers                            CITY OF FRESNO                                                           X
2900   Utility Providers                            CITY OF GAINESVILLE                                                      X



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                                                          Results of Connections Check

 No.                       Category                                  Entity Name (Full Name as per PIIL)   Connection   No Connection
2901   Utility Providers                            CITY OF GARDEN GROVE                                                      X
2902   Utility Providers                            CITY OF GASTONIA                                                          X
2903   Utility Providers                            CITY OF GLENDALE                                                          X
2904   Utility Providers                            CITY OF GRAND JUNCTION CO                                                 X
2905   Utility Providers                            CITY OF GREENSBORO                                                        X
2906   Utility Providers                            CITY OF GRESHAM                                                           X
2907   Utility Providers                            CITY OF GRIFFIN                                                           X
2908   Utility Providers                            CITY OF HARRISONBURG VA                                                   X
2909   Utility Providers                            CITY OF HEMET                                                             X
2910   Utility Providers                            CITY OF HIGH POINT                                                        X
2911   Utility Providers                            CITY OF HILLSBORO                                                         X
2912   Utility Providers                            CITY OF HOLLYWOOD UTIL. BILL                                              X
2913   Utility Providers                            CITY OF HOUSTON                                                           X
2914   Utility Providers                            CITY OF HUDSON OH                                                         X
2915   Utility Providers                            CITY OF ISSAQUAH WA                                                       X
2916   Utility Providers                            CITY OF JOPLIN                                                            X
2917   Utility Providers                            CITY OF KELSO UTILITY DEPT                                                X
2918   Utility Providers                            CITY OF KILLEEN TX                                                        X
2919   Utility Providers                            CITY OF LA HABRA                                                          X
2920   Utility Providers                            CITY OF LA VERNE                                                          X
2921   Utility Providers                            CITY OF LACEY                                                             X
2922   Utility Providers                            CITY OF LAKE CITY                                                         X
2923   Utility Providers                            CITY OF LAKE WALES                                                        X
2924   Utility Providers                            CITY OF LANCASTER                                                         X
2925   Utility Providers                            CITY OF LARAMIE                                                           X
2926   Utility Providers                            CITY OF LAREDO UTILITIES                                                  X
2927   Utility Providers                            CITY OF LAWRENCE                                           X
2928   Utility Providers                            CITY OF LEBANON AUTHORITY                                                X
2929   Utility Providers                            CITY OF LEESVILLE UTIL DEPT                                              X
2930   Utility Providers                            CITY OF LIMA UTILTIES                                                    X
2931   Utility Providers                            CITY OF LIVE OAK UTILITIES TX                                            X
2932   Utility Providers                            CITY OF LONG BEACH                                                       X
2933   Utility Providers                            CITY OF LONGMONT                                                         X
2934   Utility Providers                            CITY OF LONGVIEW                                                         X
2935   Utility Providers                            CITY OF LOUISVILLE                                                       X
2936   Utility Providers                            CITY OF LOWELL                                                           X
2937   Utility Providers                            CITY OF LYNCHBURG                                                        X
2938   Utility Providers                            CITY OF LYNNWOOD WA                                                      X
2939   Utility Providers                            CITY OF MARLBOUROUGH                                                     X
2940   Utility Providers                            CITY OF MARY ESTHER WATER DEPT                                           X
2941   Utility Providers                            CITY OF MARYSVILLE                                                       X
2942   Utility Providers                            CITY OF MASSILLON                                                        X
2943   Utility Providers                            CITY OF MEDINA                                                           X
2944   Utility Providers                            CITY OF MERCED FINANCE OFFICE                                            X
2945   Utility Providers                            CITY OF MERIDIAN                                                         X
2946   Utility Providers                            CITY OF MIAMI BEACH                                                      X
2947   Utility Providers                            CITY OF MIDLAND                                                          X
2948   Utility Providers                            CITY OF MIDWEST CITY                                                     X
2949   Utility Providers                            CITY OF MODESTO                                            X
2950   Utility Providers                            CITY OF MOLINE                                                           X
2951   Utility Providers                            CITY OF MOORE                                                            X
2952   Utility Providers                            CITY OF MOUNTLAKE TERRACE                                                X
2953   Utility Providers                            CITY OF MT JULIET                                                        X
2954   Utility Providers                            CITY OF NAMPA                                                            X
2955   Utility Providers                            CITY OF NEW LONDON                                                       X
2956   Utility Providers                            CITY OF NEWPORT BEACH                                                    X
2957   Utility Providers                            CITY OF NILES                                                            X
2958   Utility Providers                            CITY OF NOBLESVILLE UTILITIES                                            X
2959   Utility Providers                            CITY OF NORMAN-UTILITIES                                                 X
2960   Utility Providers                            CITY OF NORTH LAS VEGAS                                                  X
2961   Utility Providers                            CITY OF OCALA                                                            X
2962   Utility Providers                            CITY OF OCEANSIDE                                                        X
2963   Utility Providers                            CITY OF ODESSA                                                           X
2964   Utility Providers                            CITY OF OREGON CITY-UTILITIES                                            X
2965   Utility Providers                            CITY OF ORMOND BEACH                                                     X
2966   Utility Providers                            CITY OF PEMBROKE PINES                                                   X
2967   Utility Providers                            CITY OF PHILADELPHIA                                                     X
2968   Utility Providers                            CITY OF PINELLAS PARK FL                                                 X



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                                                           Results of Connections Check

 No.                       Category                                    Entity Name (Full Name as per PIIL)   Connection   No Connection
2969   Utility Providers                            CITY OF PLACERVILLE                                                         X
2970   Utility Providers                            CITY OF PLANTATION                                                          X
2971   Utility Providers                            CITY OF PORT ORANGE                                                         X
2972   Utility Providers                            CITY OF PORT ORCHARD                                                        X
2973   Utility Providers                            CITY OF PORT RICHEY                                                         X
2974   Utility Providers                            CITY OF PORTLAND                                             X
2975   Utility Providers                            CITY OF PORTSMOUTH WATER                                                   X
2976   Utility Providers                            CITY OF POULSBO                                                            X
2977   Utility Providers                            CITY OF PUYALLUP                                                           X
2978   Utility Providers                            CITY OF RALEIGH                                                            X
2979   Utility Providers                            CITY OF REDMOND                                                            X
2980   Utility Providers                            CITY OF RENTON                                                             X
2981   Utility Providers                            CITY OF RICHMOND                                                           X
2982   Utility Providers                            CITY OF ROCK HILL                                                          X
2983   Utility Providers                            CITY OF ROCKVILLE                                                          X
2984   Utility Providers                            CITY OF ROSEVILLE CA                                                       X
2985   Utility Providers                            CITY OF SACRAMENTO                                           X
2986   Utility Providers                            CITY OF SALEM (OR)                                                         X
2987   Utility Providers                            CITY OF SAN BERNARDINO                                                     X
2988   Utility Providers                            CITY OF SANTA FE NM                                                        X
2989   Utility Providers                            CITY OF SANTA MARIA                                                        X
2990   Utility Providers                            CITY OF SARASOTA                                                           X
2991   Utility Providers                            CITY OF SEATTLE - CITY LIGHTS                                              X
2992   Utility Providers                            CITY OF SHERWOOD                                                           X
2993   Utility Providers                            CITY OF SIMI VALLEY                                                        X
2994   Utility Providers                            CITY OF SOUTH GATE                                                         X
2995   Utility Providers                            CITY OF ST JOSEPH UTILITY                                                  X
2996   Utility Providers                            CITY OF STOCKTON CA                                                        X
2997   Utility Providers                            CITY OF SUNRISE                                                            X
2998   Utility Providers                            CITY OF TALLAHASSEE                                                        X
2999   Utility Providers                            CITY OF THOUSAND OAKS                                                      X
3000   Utility Providers                            CITY OF TIGARD                                                             X
3001   Utility Providers                            CITY OF TOPEKA                                               X
3002   Utility Providers                            CITY OF TUALATIN                                                           X
3003   Utility Providers                            CITY OF TUKWILA                                                            X
3004   Utility Providers                            CITY OF TURLOCK                                                            X
3005   Utility Providers                            CITY OF TYLER                                                              X
3006   Utility Providers                            CITY OF UKIAH PUBLIC SERV DEPT                                             X
3007   Utility Providers                            CITY OF VANCOUVER UTILITIES                                                X
3008   Utility Providers                            CITY OF VIENNA                                                             X
3009   Utility Providers                            CITY OF VIRGINIA BEACH VA                                                  X
3010   Utility Providers                            CITY OF VISALIA                                                            X
3011   Utility Providers                            CITY OF WARRENVILLE                                                        X
3012   Utility Providers                            CITY OF WESTFIELD                                                          X
3013   Utility Providers                            CITY OF WILSONVILLE OR                                                     X
3014   Utility Providers                            CITY OF WINTER PARK                                                        X
3015   Utility Providers                            CITY OF WOODWAY                                                            X
3016   Utility Providers                            CITY TREASURER-SAN DIEGO                                                   X
3017   Utility Providers                            CITY UTILITIES - FORT WAYNE,IN                                             X
3018   Utility Providers                            CITY UTILITIES -SPRINGFIELD MO                                             X
3019   Utility Providers                            CLARK COUNTY WATER RECL DIST                                               X
3020   Utility Providers                            CLARK PUBLIC UTILITIES                                                     X
3021   Utility Providers                            CLARK REGIONAL WASTEWATER DIST                                             X
3022   Utility Providers                            CLARKSVILLE GAS & WATER DEPT                                               X
3023   Utility Providers                            CLARKSVILLE WASTEWATER                                                     X
3024   Utility Providers                            CLAYTON COUNTY WATER AUTHORITY                                             X
3025   Utility Providers                            CLECO POWER LLC                                                            X
3026   Utility Providers                            Clifton Park Water Authority                                               X
3027   Utility Providers                            COACHELLA VALLEY WATER DIST.                                               X
3028   Utility Providers                            COBB COUNTY WATER SYSTEM                                                   X
3029   Utility Providers                            COBB EMC                                                     X
3030   Utility Providers                            COLLIER COUNTY-UTILITIES                                                   X
3031   Utility Providers                            COLORADO SPRINGS UTILITIES                                   X
3032   Utility Providers                            COLUMBIA GAS OF KENTUCKY                                                   X
3033   Utility Providers                            COLUMBIA GAS OF MARYLAND                                                   X
3034   Utility Providers                            COLUMBIA GAS OF OHIO                                                       X
3035   Utility Providers                            COLUMBIA GAS OF PENNSYLVANIA                                               X
3036   Utility Providers                            COLUMBIA GAS OF VIRGINIA                                                   X



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                                                          Results of Connections Check

 No.                       Category                                  Entity Name (Full Name as per PIIL)   Connection   No Connection
3037   Utility Providers                            Commonwealth Edsicon                                                      X
3038   Utility Providers                            CON ED (JAF STATION)                                                      X
3039   Utility Providers                            CONSERVICE                                                 X
3040   Utility Providers                            CONSOLIDATED IRRIGATION DIST                                             X
3041   Utility Providers                            CONSTELLATION ELECTRIC                                                   X
3042   Utility Providers                            CONSTELLATION GAS                                                        X
3043   Utility Providers                            CONSUMERS ENERGY                                           X
3044   Utility Providers                            COUNTY DIRECTOR OF FINANCE                                               X
3045   Utility Providers                            COUNTY OF HENRICO VA                                                     X
3046   Utility Providers                            COWLITZ PUD                                                              X
3047   Utility Providers                            CPS ENERGY                                                               X
3048   Utility Providers                            CUIVRE RIVER ELECTRIC COOP                                               X
3049   Utility Providers                            Dayton Power and Light Company                                           X
3050   Utility Providers                            DEKALB COUNTY FINANCE                                                    X
3051   Utility Providers                            Delaware County Water QC Authority                                       X
3052   Utility Providers                            DELMARVA POWER                                                           X
3053   Utility Providers                            DELTA CHARTER TOWNSHIP MI                                                X
3054   Utility Providers                            DENVER WATER                                                             X
3055   Utility Providers                            DEPT OF WATER SUPPLY                                                     X
3056   Utility Providers                            DESERT WATER AGENCY                                                      X
3057   Utility Providers                            DIRECT ENERGY BUSINESS NY                                                X
3058   Utility Providers                            DIRECT ENERGY BUSINESS PA                                                X
3059   Utility Providers                            DIRECT ENERGY BUSINESS TX                                                X
3060   Utility Providers                            DIRECTOR OF FINANCE                                                      X
3061   Utility Providers                            DOMINION ENERGY                                            X
3062   Utility Providers                            DOMINION ENERGY NORTH CAROLINA                                           X
3063   Utility Providers                            DOMINION ENERGY OHIO                                                     X
3064   Utility Providers                            DOMINION ENERGY SOUTH CAROLINA                                           X
3065   Utility Providers                            DOMINION ENERGY VA&NC POWER                                              X
3066   Utility Providers                            DOMINION ENERGY WEST VIRGINIA                                            X
3067   Utility Providers                            DOUGLASVILLE-DOUGLAS COUNTY                                              X
3068   Utility Providers                            DOYLESTOWN TOWNSHIP MUN AUTH                                             X
3069   Utility Providers                            DTE ENERGY                                                 X
3070   Utility Providers                            DUBLIN SAN RAMON SERVICES DIST                                           X
3071   Utility Providers                            DUCKETT CREEK SANITARY DIST                                              X
3072   Utility Providers                            DUKE ENERGY CAROLINAS                                                    X
3073   Utility Providers                            DUKE ENERGY FLORIDA                                                      X
3074   Utility Providers                            DUKE ENERGY INDIANA                                                      X
3075   Utility Providers                            DUKE ENERGY OHIO                                                         X
3076   Utility Providers                            DUKE ENERGY PROGRESS                                                     X
3077   Utility Providers                            Dwr Cymru Welsh Water                                      X
3078   Utility Providers                            EAST BAY MUN. UTILITY DISTRICT                                           X
3079   Utility Providers                            EAST CALN TOWNSHIP                                                       X
3080   Utility Providers                            EAST FARMINGDALE WATER DIST                                              X
3081   Utility Providers                            EASTON SUBURBAN WATER AUTHOR                                             X
3082   Utility Providers                            EDF Energy                                                 X
3083   Utility Providers                            EL DORADO IRRIGATION DIST                                                X
3084   Utility Providers                            Electric Ireland                                                         X
3085   Utility Providers                            ELIZABETHTOWN GAS                                                        X
3086   Utility Providers                            ELK RIVER PUBLIC UTILITY DISTR                                           X
3087   Utility Providers                            EMWD - EASTERN MUNICIPAL WATER                                           X
3088   Utility Providers                            ENERGY UNITED                                                            X
3089   Utility Providers                            ENGIE POWER & GAS LLC                                                    X
3090   Utility Providers                            ENSTAR PAYMENT PROCESSING                                                X
3091   Utility Providers                            ENTERGY ARKANSAS                                                         X
3092   Utility Providers                            ENTERGY LOUISIANA                                                        X
3093   Utility Providers                            ENTERGY MISSISSIPPI                                                      X
3094   Utility Providers                            ENTERGY TEXAS                                                            X
3095   Utility Providers                            EPB ELECTRIC POWER BOARD                                                 X
3096   Utility Providers                            ETOWAH WATER & SEWER AUTHORITY                                           X
3097   Utility Providers                            EUGENE WATER & ELECTRIC BOARD                                            X
3098   Utility Providers                            EVERETT UTILITIES                                                        X
3099   Utility Providers                            EVERGY                                                     X
3100   Utility Providers                            EVERGY METRO                                               X
3101   Utility Providers                            EVERSOURCE                                                 X
3102   Utility Providers                            EVERSOURCE CT ELECTRIC                                                   X
3103   Utility Providers                            EVERSOURCE CT GAS                                                        X
3104   Utility Providers                            EVERSOURCE NH                                                            X



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3105   Utility Providers                            EVERSOURCE NSTAR                                                            X
3106   Utility Providers                            EVERSOURCE WESTERN MASS ELEC                                                X
3107   Utility Providers                            FAIRFAX WATER                                                               X
3108   Utility Providers                            FAIRFIELD MUNICIPAL UTILITIES                                               X
3109   Utility Providers                            FIRGROVE MUTUAL WATER COMPANY                                               X
3110   Utility Providers                            FIRST UTILITY DIST OF KNOX CTY                                              X
3111   Utility Providers                            FLORIDA KEYS AQUEDUCT AUTH.                                                 X
3112   Utility Providers                            Florida Power and Light Company                              X
3113   Utility Providers                            FORT BEND COUNTY MUD #194                                                  X
3114   Utility Providers                            FORT WORTH WATER DEPT                                                      X
3115   Utility Providers                            FPL NORTHWEST FL                                                           X
3116   Utility Providers                            FRESNO FIRE DEPARTMENT                                                     X
3117   Utility Providers                            FRUITLAND MUTUAL WATER                                                     X
3118   Utility Providers                            FULTON COUNTY FINANCE DEPT.                                                X
3119   Utility Providers                            GAINESVILLE REGIONAL UTILITIES                                             X
3120   Utility Providers                            GAS SOUTH                                                    X
3121   Utility Providers                            GEORGIA POWER                                                X
3122   Utility Providers                            GOLDEN HEART UTILITIES                                                     X
3123   Utility Providers                            GOLDEN STATE WATER                                                         X
3124   Utility Providers                            GOLDEN VALLEY ELECTRIC                                                     X
3125   Utility Providers                            GREATER AUGUSTA UTILITY DISTRICT                                           X
3126   Utility Providers                            GREATER HAZLETON JOINT SEWER                                               X
3127   Utility Providers                            GREENE COUNTY SANI ENG DEPT                                                X
3128   Utility Providers                            GREENVILLE UTILITIES COMM                                                  X
3129   Utility Providers                            GREENVILLE WATER SYSTEM                                                    X
3130   Utility Providers                            GREENWOOD SANITATION DEPT                                                  X
3131   Utility Providers                            GWINNETT COUNTY PUBLIC UTILITY                                             X
3132   Utility Providers                            Hafren Dyfrdwy Severn Dee                                                  X
3133   Utility Providers                            HALLSDALE-POWELL UTIL DISTRICT                                             X
3134   Utility Providers                            HAMILTON TOWNSHIP MUNICIP                                                  X
3135   Utility Providers                            HAMPTON BAYS WATER DISTRICT                                                X
3136   Utility Providers                            HAMPTON ROADS UTILITY BILLING                                              X
3137   Utility Providers                            HARFORD COUNTY MARYLAND                                                    X
3138   Utility Providers                            HARRIS COUNTY M.U.D.                                                       X
3139   Utility Providers                            HARRISONBURG ELEC COMMISSION                                               X
3140   Utility Providers                            HAWAII ELECTRIC LIGHT COMPANY                                              X
3141   Utility Providers                            HAWAIIAN ELECTRIC COMPANY                                    X
3142   Utility Providers                            HAZLETON CITY AUTHORITY                                                    X
3143   Utility Providers                            HELIX WATER DISTRICT                                                       X
3144   Utility Providers                            HENDERSONVILLE UTILITY DIST                                                X
3145   Utility Providers                            HENRY COUNTY WATER AUTHORITY                                               X
3146   Utility Providers                            HYANNIS WATER SYSTEM                                                       X
3147   Utility Providers                            IDAHO POWER                                                                X
3148   Utility Providers                            ILLINOIS AMERICAN WATER                                                    X
3149   Utility Providers                            IMPERIAL IRRIGATION                                                        X
3150   Utility Providers                            INDIANA AMERICAN WATER                                                     X
3151   Utility Providers                            INTERIOR GAS UTILITY                                                       X
3152   Utility Providers                            INTERMOUNTAIN GAS CO                                                       X
3153   Utility Providers                            Irish Water                                                  X
3154   Utility Providers                            IRVINE RANCH WATER DISTRICT                                                X
3155   Utility Providers                            JACKSON EMC (GA)                                                           X
3156   Utility Providers                            JCP&L (FORMERLY GPU)                                                       X
3157   Utility Providers                            JEA - JACKSONVILLE ELECTRIC                                                X
3158   Utility Providers                            JEFFERSON COUNTY AL                                                        X
3159   Utility Providers                            JEFFERSON PARISH LA                                                        X
3160   Utility Providers                            JERICHO WATER DISTRICT                                                     X
3161   Utility Providers                            Jersey Electricity                                                         X
3162   Utility Providers                            Jersey Gas Company                                           X
3163   Utility Providers                            Jersey Water                                                 X
3164   Utility Providers                            KAMPS PROPANE INC                                                          X
3165   Utility Providers                            KANSAS GAS SERVICE                                                         X
3166   Utility Providers                            KENTUCKY UTILITIES CO                                                      X
3167   Utility Providers                            KEYS ENERGY SERVICES                                                       X
3168   Utility Providers                            KING COUNTY FINANCE                                                        X
3169   Utility Providers                            KISSIMMEE UTILITY AUTHORITY                                                X
3170   Utility Providers                            KUB- KNOXVILLE UTILITIES BOARD                                             X
3171   Utility Providers                            LA CANADA IRRIGATION DISTRICT                                              X
3172   Utility Providers                            LA DWP MUNICIPAL SERVICES                                                  X



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 No.                       Category                                      Entity Name (Full Name as per PIIL)   Connection   No Connection
3173   Utility Providers                            LACKAWANNA RIVER BASIN SEWER                                                  X
3174   Utility Providers                            LAKEVIEW LIGHT & POWER CO                                                     X
3175   Utility Providers                            LAKEWOOD WATER DISTRICT                                                       X
3176   Utility Providers                            LANDIS SEWERAGE AUTHORITY                                                     X
3177   Utility Providers                            LANSING BOARD OF WATER & LIGHT                                 X
3178   Utility Providers                            LAS VIRGENES MUNICIPAL WATER                                                 X
3179   Utility Providers                            LEE COUNTY UTILITIES                                                         X
3180   Utility Providers                            LENOIR CITY UTILITY BOARD                                                    X
3181   Utility Providers                            LIBERTY UTILITIES - STE 1032                                                 X
3182   Utility Providers                            LIBERTY UTILITIES (TX)                                         X
3183   Utility Providers                            Liberty Utilities / Algonquin Power & Utilities Corp.          X
3184   Utility Providers                            LIBERTY UTILITIES GEORGIA                                                    X
3185   Utility Providers                            LIBERTY UTILITIES-FALL RIVER                                                 X
3186   Utility Providers                            LOUDOUN WATER                                                                X
3187   Utility Providers                            LYCOMING COUNTY WTR & SWR AUTH                                               X
3188   Utility Providers                            MAHONING COUNTY SANITARY                                                     X
3189   Utility Providers                            MAINE NATURAL GAS                                                            X
3190   Utility Providers                            MANCHESTER WATER WORKS                                                       X
3191   Utility Providers                            MANSFIELD POWER AND GAS                                                      X
3192   Utility Providers                            MARTIN COUNTY UTILITIES                                                      X
3193   Utility Providers                            MASHPEE WATER DISTRICT                                                       X
3194   Utility Providers                            MEDINA COUNTY SANITATION ENG                                                 X
3195   Utility Providers                            MERCED IRRIGATION DISTRICT                                                   X
3196   Utility Providers                            MESA WATER DISTRICT                                                          X
3197   Utility Providers                            Met Ed / First Energy Corp                                     X
3198   Utility Providers                            METRO ST LOUIS SWR DIST                                                      X
3199   Utility Providers                            METRO WATER SERVICES                                                         X
3200   Utility Providers                            METROPOLITAN UTILITIES DIST                                                  X
3201   Utility Providers                            MIAMI-DADE WATER AND SWR DEPT                                                X
3202   Utility Providers                            MID CAROLINA ELEC COOP                                                       X
3203   Utility Providers                            MIDAMERICAN ENERGY COMPANY                                     X
3204   Utility Providers                            MIDAMERICAN ENERGY SVCS LLC                                    X
3205   Utility Providers                            MIDDLE TENNESSEE ELECTRIC                                      X
3206   Utility Providers                            MISSOURI AMERICAN WATER                                                      X
3207   Utility Providers                            MOBILE AREA WATER & SEWER SYS                                                X
3208   Utility Providers                            MODESTO IRRIGATION DISTRICT                                                  X
3209   Utility Providers                            Mon Power / First Energy Corp                                  X
3210   Utility Providers                            MONROE COUNTY WATER AUTHORITY                                                X
3211   Utility Providers                            MORGANTOWN UTILITY BOARD                                                     X
3212   Utility Providers                            MOULTON NIGUEL WATER                                                         X
3213   Utility Providers                            MOUNT PLEASANT WATERWORKS                                                    X
3214   Utility Providers                            MOUNTAINEER GAS COMPANY                                        X
3215   Utility Providers                            MUNICIPAL AUTH OF HAZLE TWP                                                  X
3216   Utility Providers                            NASHVILLE ELECTRIC SERVICE                                     X
3217   Utility Providers                            NATIONAL FUEL                                                  X
3218   Utility Providers                            NATIONAL GRID                                                  X
3219   Utility Providers                            NATIONAL GRID - LONG ISLAND                                    X
3220   Utility Providers                            NATIONAL GRID OF NY                                            X
3221   Utility Providers                            NATIONAL GRID-MASSACHUSETTS                                    X
3222   Utility Providers                            NEW ALBANY MUNCIPAL UTILITIES                                                X
3223   Utility Providers                            NEW JERSEY AMERICAN WATER                                                    X
3224   Utility Providers                            NEW MEXICO GAS COMPANY                                                       X
3225   Utility Providers                            NEW RIVER LIGHT & POWER C                                                    X
3226   Utility Providers                            NEWNAN UTILITIES                                                             X
3227   Utility Providers                            NEWPORT NEWS WATERWORKS                                                      X
3228   Utility Providers                            NIAGARA FALLS WATER BOARD                                                    X
3229   Utility Providers                            NICOR GAS                                                                    X
3230   Utility Providers                            NIPSCO                                                                       X
3231   Utility Providers                            NJ NATURAL GAS CO.                                                           X
3232   Utility Providers                            NORTH LEBANON TOWNSHIP                                                       X
3233   Utility Providers                            NORTH LITTLE ROCK ELECTRIC                                                   X
3234   Utility Providers                            NORTH SHORE GAS                                                              X
3235   Utility Providers                            NORTH SPRINGS IMPROVEMENT DIST                                               X
3236   Utility Providers                            NORTH WALES WATER AUTHORITY                                                  X
3237   Utility Providers                            NORTHERN KENTUCKY WTR DISTRICT                                               X
3238   Utility Providers                            NORTHERN VIRGINIA ELECTRIC COO                                               X
3239   Utility Providers                            NORTHWESTERN ENERGY                                                          X
3240   Utility Providers                            NV ENERGY SOUTH                                                              X



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3241   Utility Providers                            NW NATURAL                                                   X
3242   Utility Providers                            NYC WATER BOARD                                                            X
3243   Utility Providers                            NYSEG                                                                      X
3244   Utility Providers                            Oakland County Water Resources Com.                                        X
3245   Utility Providers                            OHIO EDISON CO                                                             X
3246   Utility Providers                            OKALOOSA COUNTY WATER & SEWER                                              X
3247   Utility Providers                            OKLAHOMA ELECTRIC COOPERATIVE                                              X
3248   Utility Providers                            OKLAHOMA ENERGY SOURCE LLC                                                 X
3249   Utility Providers                            Oklahoma Gas and Electric Company                            X
3250   Utility Providers                            OKLAHOMA NATURAL GAS                                         X
3251   Utility Providers                            OMAHA PUBLIC POWER DISTRICT                                  X
3252   Utility Providers                            ONTARIO MUNICIPAL UTIL CO                                                  X
3253   Utility Providers                            ORANGE & ROCKLAND UTILITIES                                                X
3254   Utility Providers                            ORANGE COUNTY UTILITIES                                                    X
3255   Utility Providers                            ORANGE WATER & SEWER                                                       X
3256   Utility Providers                            OTAY WATER DISTRICT                                                        X
3257   Utility Providers                            PACIFIC POWER                                                              X
3258   Utility Providers                            PALM BEACH COUNTY                                            X
3259   Utility Providers                            PALMETTO UTILITIES INC                                                     X
3260   Utility Providers                            PECO PAYMENT PROCESSING                                                    X
3261   Utility Providers                            PENNSYLVANIA AMERICAN WATER CO                                             X
3262   Utility Providers                            PEOPLES GAS                                                                X
3263   Utility Providers                            PEPCO                                                        X
3264   Utility Providers                            PG&E - CA                                                    X
3265   Utility Providers                            PHILADELPHIA GAS WORKS                                                     X
3266   Utility Providers                            PIEDMONT NATURAL GAS                                                       X
3267   Utility Providers                            PIERCE COUNTY SEWER                                                        X
3268   Utility Providers                            PINELLAS COUNTY UTILITIES                                                  X
3269   Utility Providers                            PLACER COUNTY WATER AGENCY                                                 X
3270   Utility Providers                            PLEASANT VIEW WATER AND SANITA                                             X
3271   Utility Providers                            PLYMOUTH TOWNSHIP                                                          X
3272   Utility Providers                            PORTLAND GENERAL ELEC - OR                                   X
3273   Utility Providers                            POTOMAC EDISON (RPPS)                                                      X
3274   Utility Providers                            PPL ELECTRIC UTILITIES MO                                                  X
3275   Utility Providers                            Prince William Couty Service Authority                                     X
3276   Utility Providers                            PSE&G                                                        X
3277   Utility Providers                            PSE&G LONG ISLAND (LIPA)                                                   X
3278   Utility Providers                            PUBLIC SERVICE CO OF OK                                                    X
3279   Utility Providers                            Public Service Company New Mexiso                            X
3280   Utility Providers                            PUBLIC WORKS & UTILITIES                                                   X
3281   Utility Providers                            PUGET SOUND ENERGY                                           X
3282   Utility Providers                            PWSD #2 OF ST CHARLES COUNTY                                               X
3283   Utility Providers                            RANCHO CALIFORNIA WATER DIST.                                              X
3284   Utility Providers                            REGIONAL WATER AUTHORITY                                                   X
3285   Utility Providers                            RICHLAND TOWNSHIP WATER AUTH                                               X
3286   Utility Providers                            RIVERSIDE PUBLIC UTILITIES                                                 X
3287   Utility Providers                            ROANOKE GAS CO                                                             X
3288   Utility Providers                            Rochester Gas and Electric Company                                         X
3289   Utility Providers                            ROCKY MOUNTAIN POWER                                         X
3290   Utility Providers                            ROLLA MUNI UTILITIES                                                       X
3291   Utility Providers                            Sacramento Municipal Utility District                                      X
3292   Utility Providers                            SALISBURY MALL REALTY HOLDING LLC                                          X
3293   Utility Providers                            Salt River Project                                           X
3294   Utility Providers                            SAN ANTONIO WATER SYSTEMS                                                  X
3295   Utility Providers                            SAN DIEGO GAS & ELEC                                         X
3296   Utility Providers                            SANDY SPRINGS WATER DISTRICT                                               X
3297   Utility Providers                            Sanitation District 1 Northern Kentucky                                    X
3298   Utility Providers                            SANTA CLARITA WATER DIVISION                                               X
3299   Utility Providers                            SAWNEE EMC                                                                 X
3300   Utility Providers                            SEA BREEZE & VICINITY WATR DIS                                             X
3301   Utility Providers                            SES Business Water                                           X
3302   Utility Providers                            SEYMOUR MUNICIPAL SANITATION                                               X
3303   Utility Providers                            SFPUC-WATER DEPARTMENT                                                     X
3304   Utility Providers                            SHEFFIELD VILLAGE WATER DEPT                                               X
3305   Utility Providers                            SHELBYVILLE MUNICIPAL WATER                                                X
3306   Utility Providers                            SHERIDAN SANITATION DIST NO 2                                              X
3307   Utility Providers                            Shipperless Supply                                                         X
3308   Utility Providers                            SILVER CREEK WATER CORP                                                    X



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3309   Utility Providers                            SNOHOMISH COUNTY PUD                                                        X
3310   Utility Providers                            SOUTH JERSEY GAS CO                                          X
3311   Utility Providers                            Southern California Edison                                   X
3312   Utility Providers                            Southern California Gas Company                              X
3313   Utility Providers                            SOUTHERN CONNECTICUT GAS (SCG)                                             X
3314   Utility Providers                            SOUTHWEST GAS CORPORATION                                    X
3315   Utility Providers                            SOUTHWESTERN ELECTRIC POWER                                                X
3316   Utility Providers                            SPARTANBURG WATER SYSTEM                                                   X
3317   Utility Providers                            Spire Inc. / Nayural Gas Company                             X
3318   Utility Providers                            SPIRE/ALAGASCO                                               X
3319   Utility Providers                            SPOKANE COUNTY UTILITIES                                                   X
3320   Utility Providers                            SPRING CREEK UD                                                            X
3321   Utility Providers                            STAFFORD MUNICIPAL UTILIT                                                  X
3322   Utility Providers                            SUBURBAN PROPANE                                                           X
3323   Utility Providers                            SUBURBAN WATER SYSTEMS                                                     X
3324   Utility Providers                            SUEZ WATER IDAHO                                                           X
3325   Utility Providers                            SUFFOLK COUNTY WATER AUTHORITY                               X
3326   Utility Providers                            SUMMERVILLE COMMISSIONERS OF                                               X
3327   Utility Providers                            Summit County Dept. of Sanitary Sewer                                      X
3328   Utility Providers                            SUSQUEHANNA TOWNSHIP AUTHORITY                                             X
3329   Utility Providers                            SWANSEA WATER DISTRICT                                                     X
3330   Utility Providers                            TAMPA ELECTRIC COMPANY                                       X
3331   Utility Providers                            TAYLORSVILLE-BENNION IMPV DIST                                             X
3332   Utility Providers                            TECO: PEOPLES GAS                                                          X
3333   Utility Providers                            TENNESSEE-AMERICAN WATER CO                                                X
3334   Utility Providers                            TEXAS GAS SERVICE                                                          X
3335   Utility Providers                            THE ILLUMINATING COMPANY                                                   X
3336   Utility Providers                            TOHO WATER AUTHORITY                                                       X
3337   Utility Providers                            Total Gas & Power                                            X
3338   Utility Providers                            TOWN OF APEX                                                               X
3339   Utility Providers                            TOWN OF BELLINGHAM                                                         X
3340   Utility Providers                            TOWN OF BIG FLATS WATER                                                    X
3341   Utility Providers                            TOWN OF BOONE                                                              X
3342   Utility Providers                            TOWN OF CARY                                                               X
3343   Utility Providers                            TOWN OF CHRISTIANSBURG                                                     X
3344   Utility Providers                            TOWN OF CULPEPER                                                           X
3345   Utility Providers                            TOWN OF DICKINSON, NY                                                      X
3346   Utility Providers                            TOWN OF EAST GREENBUSH                                                     X
3347   Utility Providers                            TOWN OF GILBERT                                                            X
3348   Utility Providers                            TOWN OF HENRIETTA                                                          X
3349   Utility Providers                            TOWN OF STONINGTON                                                         X
3350   Utility Providers                            TOWN OF WATERTOWN                                                          X
3351   Utility Providers                            TOWN OF WESTBOROUGH                                                        X
3352   Utility Providers                            TOWN OF WESTERLY                                                           X
3353   Utility Providers                            TOWNSHIP OF BURLINGTON                                                     X
3354   Utility Providers                            TOWNSHIP OF MOORESTOWN                                                     X
3355   Utility Providers                            TOWNSHIP OF NORTH BRUNSWICK                                                X
3356   Utility Providers                            TOWNSHIP OF PALMER                                                         X
3357   Utility Providers                            TREASURER CHESTERFIELD COUNTY                                              X
3358   Utility Providers                            TREASURER COUNTY OF YORK                                                   X
3359   Utility Providers                            TRENTON WATER WORKS                                                        X
3360   Utility Providers                            TRUE NATURAL GAS                                                           X
3361   Utility Providers                            TRUMBULL COUNTY WATER & SEWER                                              X
3362   Utility Providers                            TRUSSVILLE GAS AND WATER                                                   X
3363   Utility Providers                            Tualitin Valley Water District                                             X
3364   Utility Providers                            TULLAHOMA UTILITIES BOARD                                                  X
3365   Utility Providers                            TUOLUMNE UTILITIES DISTRI                                                  X
3366   Utility Providers                            TURLOCK IRRIGATION DISTRICT                                                X
3367   Utility Providers                            TXU ENERGY                                                                 X
3368   Utility Providers                            UGI ENERGY SERVICES INC.                                     X
3369   Utility Providers                            UGI UTILITIES INC                                            X
3370   Utility Providers                            UNION PUBLIC SERVICE DIST                                                  X
3371   Utility Providers                            UNITIL-CAPITAL                                                             X
3372   Utility Providers                            UNITIL-NH                                                    X
3373   Utility Providers                            UPPER MERION SEWER REVENUE                                                 X
3374   Utility Providers                            UTE WATER CONSERVANCY DIS                                                  X
3375   Utility Providers                            UTILITIES INC OF LOUISIANA                                                 X
3376   Utility Providers                            UTILITY BILLING SERVICES-AR                                                X



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3377   Utility Providers                            VALENCIA WATER COMPANY                                                     X
3378   Utility Providers                            VALLECITOS WATER DISTRICT                                                  X
3379   Utility Providers                            VEOLIA DELAWARE                                                            X
3380   Utility Providers                            VEOLIA WATER PENNSYLVANIA                                                  X
3381   Utility Providers                            VICINITY ENERGY ATLANTIC STATION LLC                                       X
3382   Utility Providers                            VILLAGE OF FISHKILL                                                        X
3383   Utility Providers                            VILLAGE OF LAKE ZURICH                                                     X
3384   Utility Providers                            VILLAGE OF LINCOLNSHIRE                                                    X
3385   Utility Providers                            VILLAGE OF ROUND LAKE BEACH IL                                             X
3386   Utility Providers                            VINELAND MUNICIPAL UTILITIES                                               X
3387   Utility Providers                            VIRGINIA NATURAL GAS                                                       X
3388   Utility Providers                            WARREN COUNTY W & S DEPT OH                                                X
3389   Utility Providers                            WASHINGTON GAS                                              X
3390   Utility Providers                            Washington Townplace Municipal Utilities Authority                        X
3391   Utility Providers                            Waste Harmonics                                                           X
3392   Utility Providers                            Water Plus Limited (United Utilities)                       X
3393   Utility Providers                            Wave Utilities                                              X
3394   Utility Providers                            Wave Utilities (Anglian Water)                                            X
3395   Utility Providers                            Wave Utilities (Northumbrian Water)                                       X
3396   Utility Providers                            WEST PENN POWER                                                           X
3397   Utility Providers                            WEST SOUND UTILITY DISTRICT                                               X
3398   Utility Providers                            WEST VA-AMERICAN WATER CO                                                 X
3399   Utility Providers                            WEST WILSON UTILITY DISTRICT                                              X
3400   Utility Providers                            WESTERN VIRGINIA WATER AUTHOR                                             X
3401   Utility Providers                            WSSC Water Utility Company                                                X
3402   Utility Providers                            XCEL ENERGY-NSP MN NDSD                                     X
3403   Utility Providers                            XCEL ENERGY-PUB SERV of CO                                                X
3404   Utility Providers                            XCEL-SOUTHWESTERN PUBLIC                                                  X
3405   Utility Providers                            YES ENERGY MANAGEMENT                                                     X
3406   Utility Providers                            YORBA LINDA WATER DIST                                                    X
3407   Utility Providers                            YORK COUNTY NATURAL GAS AUTHOR                                            X
3408   Utility Providers                            YOUNGSTOWN WATER DEPT (OH)                                                X




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